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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                       FT. LAUDERDALE DIVISION

                                            Case No.: 22-cv-__________

   SAFECO INSURANCE COMPANY OF ILLINOIS and
   SAFECO INSURANCE COMPANY OF AMERICA,

                     Plaintiffs,
   vs.

   TIMOTHY KEGEL, DALE ROMANS, and ROMANS
   RACING STABLES, INC.,

                     Defendants.
   _                                                                          /
                           COMPLAINT FOR DECLARATORY JUDGMENT

            Plaintiffs Safeco Insurance Company of Illinois (“Safeco Illinois”) and Safeco Insurance

  Company of America (“Safeco America”), sue Defendants Timothy Kegel (“Kegel”), Dale

  Romans (“Romans”), and Romans Racing Stables, Inc. (“Romans Racing”), and allege:

                                            Nature of Plaintiffs’ Claims

            1.      This is an action for a declaratory judgment pursuant to 28 U.S.C. § 2201, for the

  purpose of resolving a real and substantial controversy concerning the parties’ legal rights, duties,

  and relationships with respect to certain insurance policies issued by Safeco Illinois and Safeco

  America to Romans. The issues involve whether these policies provide coverage to Romans and

  Romans Racing for a personal injury lawsuit filed against Romans and Romans Racing by Kegel

  in Broward County, Florida Circuit Court, Case No. CACE-21-010343 Division 02 (“Underlying

  Suit”).




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                                                         Parties

         2.         Safeco Illinois is an insurance company incorporated under the laws of the State of

  Illinois, with its principal place of business in the State of Massachusetts. Safeco Illinois is duly

  authorized to transact business in Florida.

         3.         Safeco America is an insurance company incorporated under the laws of the State

  of New Hampshire, with its principal place of business in the State of Massachusetts. Safeco

  America is duly authorized to transact business in Florida.

         4.         Kegel is an adult with capacity to be sued, and is a resident of Broward County,

  Florida.

         5.         Romans is an adult with capacity to be sued, and is a resident of the State of

  Kentucky.

         6.         Romans Racing is a corporation incorporated under the laws of the State of

  Kentucky, with its principal place of business in the State of Kentucky.

                                               Jurisdiction and Venue

         7.         This Court has jurisdiction, pursuant to 28 U.S.C. § 1332(a), because the amount

  in controversy exceeds $75,000, exclusive of interest and costs, and there is complete diversity of

  citizenship between Safeco Illinois and Safeco America, on the one hand, and Kegel, Romans, and

  Romans Racing, on the other. Kegel seeks damages in excess of $75,000 in the Underlying Suit,

  and the limits of the policies issued by Safeco Illinois and Safeco America exceed $75,000.

         8.         Venue      is    proper     in    the    Southern       District    of    Florida      pursuant   to

  28 U.S.C. § 1332(b)(1) because Kegel resides in this judicial district, and a substantial part of the

  events or omissions giving rise to this claim occurred in this district.




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                                       The Various Insurance Policies

                                             The Safeco Illinois Auto Policy

          9.      Safeco Illinois issued an auto policy to named insured Romans with a policy period

  from July 17, 2020, to July 17, 2021. A genuine copy of the Safeco Illinois Auto Policy is attached

  as Exhibit A to this Complaint.

          10.     The liability coverage of the Safeco Illinois Auto Policy provides that “[Safeco

  Illinois] will pay damages for bodily injury … for which any insured becomes legally responsible

  because of an auto accident.” It also states Safeco Illinois “will settle or defend, as [Safeco Illinois]

  consider[s] appropriate, any claim or suit asking for these damages.”

          11.     The Safeco Illinois Auto Policy defines “[i]nsured” to mean Romans “for the

  ownership, maintenance or use of any auto.” It also means “[f]or any auto … other than [Romans’]

  covered auto, any other person or organization but only with respect to legal responsibility for

  acts or omissions of [Romans] …” And for these persons or organizations, they are insureds “only

  if the person or organization does not own or hire the auto…”

          12.     “[Romans’] covered auto” means, in the Safeco Illinois Auto Policy:

                  1. Any vehicle shown in the Declarations.

                  2. a. Any newly acquired vehicle …Any newly acquired vehicle must be
                     of the following types:

                       (1) a private passenger auto;

                       (2) a pickup or van that: …

                       (3) a motorhome or trailer.

                       b. Any newly acquired vehicle is subject to the following conditions:
                        ***




                                                           3
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                  3. Any auto or trailer you do not own while used as a temporary substitute
                     for any other vehicle described in this definition which is out of normal
                     use because of its:
         ***
         13.      The Safeco Illinois Auto Policy excludes from liability coverage “[a]ny vehicle,

  other than [Romans’] covered auto, which is … owned by [Romans] … or … furnished or

  available for [Romans’] regular use.” It also excludes “[a]ny vehicle which … (1) has fewer than

  four wheels; (2) is designed mainly for use off public roads; (3) is a vehicle not licensed for use

  on public roads.”

         14.      The Safeco Illinois Auto Policy also excludes, “[t]o the extent the limits of liability

  exceed the minimum limits required by the Kentucky Motor Vehicle Reparations Act … [a]ny

  insured maintaining or using any vehicle while that insured is employed or otherwise engaged in

  any business (other than farming or ranching).”

                                    The Safeco America Personal Umbrella Policy

         15.      Safeco America issued a personal umbrella policy to named insured Romans with

  a policy period from February 24, 2020, to February 24, 2021. A genuine copy of the Safeco

  America Personal Umbrella Policy is attached as Exhibit B to this Complaint.

         16.      The Safeco America Personal Umbrella Policy generally provides that “[Safeco

  America] will pay the ultimate net loss in excess of the retained limit that the insured is legally

  responsible for because of covered bodily injury … caused by an occurrence.” It also states that

  “[w]hen a claim covered by this policy is made against any insured, and such claim is not covered

  by the insured’s underlying insurance stated in the Declarations or by any other underlying

  insurance available to the insured, [Safeco America] will subject to the retained limits, defend

  any suit against any insured even if it is groundless or fraudulent.”

         17.      The Safeco America Personal Umbrella Policy includes the following definitions:




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         ***
         1. “Business” means:

                  a. a trade, profession or occupation engaged in on a full-time, part-time
                     or occasional basis; or
                  b. any other activity engaged in for money or other compensation other
                     than reimbursement for expenses incurred to perform the activity.
         ***
         8.       “Insured”

               a. means;

                  (1) you;

                  (2) any family member. …

                  (3) any person or organization using or having custody of animals owned
                      by you and with your express or implied permission…
         ***
         16.      “Retained limit” means either:

                  a. the limit of liability specified in the Schedule of Underlying Insurance
                     of the Declarations for each underlying policy, plus the limit of any
                     other underlying insurance collectible by the insured; or

                  b. the amount shown under retained limit in the Declarations, as the
                     result of an occurrence not covered by underlying policies of
                     insurance.

         17.      “Underlying insurance” means insurance policies providing the insured
                  with primary liability coverage meeting or exceeding the required
                  minimum limits. The types of policies and the required minimum liability
                  limits are listed in the policy Declarations.

         ***


         18.      The Safeco America Personal Umbrella Policy has exclusions that state “this policy

  does not apply to any:“

  ***
         5. bodily injury, personal injury or property damage:

               a. arising out of the ownership, maintenance, use, operation, loading or
                  unloading of:



                                                          5
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           ***
                 (5) any recreational vehicle.
                         Recreational vehicle means a motorized:

                         (a) all-terrain vehicle;

                         (b) dune buggy;

                         (c) golf cart;

                         (d) snowmobile; or

                         (e) any other vehicle designed for recreational use off public roads
                             other than described in 5.a.(2)(a) above.

                         (f) Unless with respect to 5.a.(5)(a) through 5.a.(5)(e) above, the
                             recreational vehicle is covered by underlying insurance and:

                              I.       Coverage is stated and a premium is charged on the
                                       Declaration of this policy; or

                              II.      Notice is given to us within forty-five days after
                                       acquisition of any newly acquired recreational vehicle
                                       and an additional premium is charged.

                         (g) We will, however, cover bodily injury or property damage
                             while any insured is operating a borrowed or rented
                             recreational vehicle:

                              I.       with the express or implied permission of the owner or
                                       other person having lawful possession. The actual use
                                       must be within the scope of that permission; and

                              II.      not furnished or available for the regular use of you or a
                                       family member or any other person who resides with
                                       you.

           b. arising out of:

                 (1) any business pursuits or business property of any insured, except for:

                     (a) the business use of a private passenger automobile or owned
                         watercraft, unless used as a public or livery conveyance.

                     ***



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               c. arising out of the maintenance or use, including loading or unloading, of
                  any non-owned vehicle regularly used or available for use by you or any
                  family member, if the vehicle is not covered by underlying insurance.

                  ***
                                       The Safeco America Homeowners Policy

         19.      Safeco America issued a homeowners policy to named insured Romans with a

  policy period from February 24, 2020, to February 24, 2021. A genuine copy of the Safeco

  America Homeowners Policy is attached as Exhibit C to this Complaint.

         20.      The Safeco America Homeowners Policy includes personal liability coverage that

  generally provides “[i]f a claim is made or suit is brought against any insured for damages because

  of bodily injury … caused by an occurrence to which this coverage applies, [Safeco America] will

  … pay up to our limit of liability for the damages for which the insured is legally liable … and …

  provide a defense at our expense by counsel of our choice even if the allegations are groundless,

  false or fraudulent.”

         21.      The Safeco America Homeowners Policy defines “Insured” to mean:

               (1) you; and

               (2) so long as you remain a resident of the residence premises, the following
                   residents of the residence premises:

                           (a) your relatives;

                           (b) any other person under the age of 24 who is in the care of any
                               person described in (1) or (2)(a) above. …

               Under Section II – Liability Coverage, “insured” also means:

               (3) with respect to animals or watercraft to which this policy applies, any
                   person or organization legally responsible for these animals or watercraft
                   which are owned by you or any person included in g.(2)(a) or (b). ….

               (4) with respect to any vehicle to which this policy applies:




                                                           7
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                          (a) any person while engaged in your employment or the
                              employment of any person included in g.(2)(a) or (b); or

                          (b) any other person using the vehicle on an insured location with
                              any insured’s permission.
         ***

         22.     The Safeco America Homeowners Policy contains the following exclusions:

         1.      Coverage E – Personal Liability and Coverage F – Medical Payments to
                 Others do not apply to bodily injury or property damage:

         ***
         c. arising out of business pursuits of any insured.
            This exclusion does not apply to:
             (1) activities which are ordinarily incident to non-business pursuits;

         ***
         f. arising out of the ownership, maintenance, use, loading or unloading of:

         ***
            (2) motorized land vehicles, including any trailers, owned or operated by or
                rented or loaned to any insured.

                This exclusion does not apply to:

                ***

                (b) a motorized land vehicle designed for recreational use off public roads,
                not subject to motor vehicle registration, licensing or permits and:

                          I.        not owned by any insured; or

  ***

                                                  The Underlying Suit

         23.     In the Underlying Suit, Kegel seeks damages for bodily injury he allegedly suffered

  when he was ejected from a motorized golf cart being operated by Romans while Kegel was a

  passenger.

         24.     Kegel alleges in the Underlying Suit that Romans was an employee of Romans

  Racing, and was working in the course and scope of his employment at all material times.



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         25.      Kegel further alleges in the Underlying Suit that Romans Racing was the owner of

  the motorized golf cart.

                               Facts About the Golf Cart Involved in the Accident

         26.      The golf cart being driven by Romans at the time of the accident was designed

  mainly for use off public roads, and was not licensed for use on public roads.

         27.      The golf cart was furnished or available for Romans’ regular use, at the time of the

  accident at issue in the Underlying Suit.

         28.      Based on Safeco Illinois and Safeco America’s investigation, the prior owner of the

  golf cart contends he gave the golf cart to Romans as a gift before the accident.

                                         Claim for Declaratory Relief

         29.      An actual controversy has arisen and now exists between Safeco Illinois and Safeco

  America, on the one hand, and Romans, Romans Racing, and Kegel, on the other.

         30.      Safeco Illinois and Safeco America are defending Romans against the Underlying

  Suit under a complete reservation of rights to deny coverage, and Safeco Illinois is defending

  Romans Racing against the Underlying Suit under a complete reservation of rights to deny

  coverage.

         31.      Upon information and belief, Romans, Romans Racing, and Kegel all contend there

  is coverage for Romans and Romans Racing against the Underlying Suit under one or more of the

  policies issued by Safeco Illinois and Safeco America.

         32.      There is a real and substantial need for Safeco Illinois and Safeco America to get a

  determination on coverage for Romans and Romans Racing against the Underlying Suit under the

  Safeco Illinois Auto Policy, the Safeco America Umbrella Policy, and the Safeco America

  Homeowners Policy.




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           WHEREFORE, Safeco Illinois and Safeco America respectfully request this Court declare

   that:

                               (1)    there is no duty to defend or indemnify Romans under the Safeco

                               Illinois Auto Policy with respect to the Underlying Suit;

                               (2)    there is no duty to defend or indemnify Romans Racing under the

                               Safeco Illinois Auto Policy;

                               (3)    there is no duty to defend or indemnify Romans under the Safeco

                               America Umbrella Policy;

                               (4) there is no duty to defend or indemnify Romans Racing under the

                                     Safeco America Umbrella Policy;

                               (5) there is no duty to defend or indemnify Romans under the Safeco

                                     America Homeowners Policy;

                               (6) there is no duty to defend or indemnify Romans Racing under the

                                     Safeco America Homeowners Policy;

   and grant such other and further relief as this Court deems just and appropriate.

                                          Respectfully submitted,

                                          LAPIN & LEICHTLING, LLP
                                          Attorneys for Plaintiffs
                                          255 Alhambra Circle
                                          Suite 600
                                          Coral Gables, Florida 33134
                                          Telephone No.:       (305) 569-4100

                                                    s/ Jeffrey S. Lapin
                                                    JEFFREY S. LAPIN (Fla. Bar No.: 993298)
                                                    JLapin@LL-Lawfirm.com
                                                    eservice@LL-Lawfirm.com




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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 11 of 133



                                                                                                                                       OLD KENTUCKY INSURANCE INC
                                                                                                                                       915 LILY CREEK RD
                                                                                                                                       LOUISVILLE     KY 40243-2808
                                                                                                                                                                                                    June 11, 2020

                                                                                                                                                                                                            Policy Number:       1790
                                                                                                                                                                                                           24-Hour Claims: 1-800-332-3226
                                                                                                                                                                                                            Policy Service: (502) 451-8800
                                                                                                                                                                                                  Online Account Services: www.safeco.com
                                                                                                                                                                                                 THIS IS NOT A BILL.
 0000072DEBDEV607204391765




                                                                                                                                       DALE ROMANS
                                                                                                                                       1812 PARKRIDGE PKWY
                                                                                                                                       LOUISVILLE KY 40214-5916




                                                                                                                                       Thank you for allowing us to continue serving your insurance needs.
                                                                                                                                       To ensure you are receiving the best coverage and value available, the following changes have
                                                                                                                                       been made to your 12-month automobile policy, including those requested by you or your agent or
                                                                                                                                       broker.
                                                                                                                                       This change is effective July 17, 2020. Please place this letter with your insurance policy.
                                                                                                                                       Information on coverages and limits can be found on the revised Declarations page, enclosed.
                                                                                                                                       The credit for this change is $2,693.68. The billing for this amount will be explained on your next
                                                                                                                                       billing statement. A $922.18 payment for the outstanding bill on your account will be deducted on
                                                                                                                                       June 24, 2020.
                                                                                                                                       If you have any questions or wish to make any changes to your policy, you can do so by calling
                                                                                                                                       your agent at (502) 451-8800.
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                                                                                                                                       We appreciate the opportunity to serve you. Thank you.




                                                                                                                                                                                    EXHIBIT A

                                                                                                                                                                      SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                       OC-429/EP 10/13
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 12 of 133
                                                                                                                                                                                                 POLICY NUMBER:            1790


                                                                                                                                                              SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                                              AUTOMOBILE POLICY DECLARATIONS

                                                                                                                                       NAMED INSURED:                                     POLICY CHANGE
                                                                                                                                       DALE ROMANS
                                                                                                                                       1812 PARKRIDGE PKWY
                                                                                                                                                                                            CHANGED EFFECTIVE: JULY 17 2020
                                                                                                                                       LOUISVILLE KY 40214-5916                           POLICY PERIOD FROM: JULY 17 2020
                                                                                                                                                                                                               TO: JULY 17 2021
                                                                                                                                                                                          at 12:01 A.M. standard time at
                                                                                                                                                                                          the address of the insured as
                                                                                                                                       AGENT:                                             stated herein.
 0000072DEBDEV607204391766




                                                                                                                                       OLD KENTUCKY INSURANCE INC                         AGENT TELEPHONE:
                                                                                                                                       915 LILY CREEK RD                                  (502) 451-8800
                                                                                                                                       LOUISVILLE       KY 40243-2808


                                                                                                                                       RATED DRIVERS DALE ROMANS, TAMMY FOX, BAILEY ROMANS, JACOB ROMANS
                                                                                                                                       2015 HYUNDAI    EQUUS SIGNATURE/UL 4 DOOR SEDAN            ID# KMHGH4JH2FU095628
                                                                                                                                       LOSS PAYEE      FIRST FINANCIAL BANK ISAOA/ATIMA
                                                                                                                                       2018 CHEVROLET TRAVERSE PREMIER 4 DOOR                     ID# 1GNERKKW6JJ129291
                                                                                                                                       LOSS PAYEE      G M FINANCIAL
                                                                                                                                       Insurance is afforded only for the coverages for which limits of liability or
                                                                                                                                       premium charges are indicated.
                                                                                                                                       COVERAGES              2015 HYUN LIMITS PREMIUMS         2018 CHEV LIMITS PREMIUMS
                                                                                                                                       COMBINED SINGLE LIMIT:
                                                                                                                                        BODILY INJURY &               $500,000 $ 483.70                 $500,000 $ 522.80
                                                                                                                                        PROPERTY DAMAGE        Each Occurrence                   Each Occurrence
                                                                                                                                        LIABILITY
                                                                                                                                       PERSONAL INJURY                             120.80                            155.30
                                                                                                                                       PROTECTION
                                                                                                                                       COMPREHENSIVE         Actual Cash Value     175.80      Actual Cash Value     121.80
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
                                                                                                                                                           Full Glass Coverage               Full Glass Coverage
                                                                                                                                       COLLISION             Actual Cash Value     481.50      Actual Cash Value     270.00
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                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
6766




                                                                                                                                       ADDITIONAL COVERAGES:
                                                                                                                                        LOSS OF USE      $35 Per Day/$1050 Max      11.90 $35 Per Day/$1050 Max       13.70
                                                                                                                                        CITY TAX              LOUISVILLE URBAN     131.61       LOUISVILLE URBAN      65.63
                                                                                                                                                                  CITY TAX AND                      CITY TAX AND
                                                                                                                                                                COLLECTION FEE                    COLLECTION FEE
                                                                                                                                        KENTUCKY SURCHG                             41.20                             20.55
                                                                                                                                        ROADSIDE ASSIST                              4.70                              3.20
                                                                                                                                       ENHANCED COVERAGE LEVEL                     110.30                             54.60
                                                                                                                                                                               ----------                        ----------
                                                                                                                                                                         TOTAL $ 1,561.51                  TOTAL $ 1,227.58
                                                                                                                                       You may pay your premium in full or in installments. There is no installment fee
                                                                                                                                       for the following billing plans: Full Pay. Installment fees for all other billing
                                                                                                                                       plans are listed below. If more than one policy is billed on the installment bill,
                                                                                                                                       only the highest fee is charged. The fee is:
                                                                                                                                         $2.00 per installment for recurring automatic deduction (EFT)
                                                                                                                                         $5.00 per installment for recurring credit card or debit card
                                                                                                                                         $5.00 per installment for all other payment methods



                                                                                                                                                                          -CONTINUED-
                                                                                                                                                              P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       SA-1697/EP 9/90                      Page 1 of 3               DATE PREPARED:   JUNE 11 2020
                                                                                                                                       G15
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 13 of 133
                                                                                                                                                                                                 POLICY NUMBER:            1790


                                                                                                                                                              SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                                              AUTOMOBILE POLICY DECLARATIONS
                                                                                                                                                                           (CONTINUED)

                                                                                                                                       NAMED INSURED:                                     POLICY CHANGE
                                                                                                                                       DALE ROMANS
                                                                                                                                       1812 PARKRIDGE PKWY
                                                                                                                                                                                            CHANGED EFFECTIVE: JULY 17 2020
                                                                                                                                       LOUISVILLE KY 40214-5916                           POLICY PERIOD FROM: JULY 17 2020
                                                                                                                                                                                                               TO: JULY 17 2021
                                                                                                                                                                                          at 12:01 A.M. standard time at
                                                                                                                                                                                          the address of the insured as
                                                                                                                                       AGENT:                                             stated herein.
 0000072DEBDEV607204391767




                                                                                                                                       OLD KENTUCKY INSURANCE INC                         AGENT TELEPHONE:
                                                                                                                                       915 LILY CREEK RD                                  (502) 451-8800
                                                                                                                                       LOUISVILLE       KY 40243-2808


                                                                                                                                       RATED DRIVERS DALE ROMANS, TAMMY FOX, BAILEY ROMANS, JACOB ROMANS
                                                                                                                                       2008 VOLKSWAGEN NEW BEETLE TRIPLE 2 DOOR                   ID# 3VWFW31C48M524681
                                                                                                                                       2017 NISSAN     MAXIMA 3.5S/3.5SV/ 4 DOOR SEDAN            ID# 1N4AA6AP3HC452878
                                                                                                                                       Insurance is afforded only for the coverages for which limits of liability or
                                                                                                                                       premium charges are indicated.
                                                                                                                                       COVERAGES              2008 VOLK LIMITS PREMIUMS         2017 NISS LIMITS PREMIUMS
                                                                                                                                       COMBINED SINGLE LIMIT:
                                                                                                                                        BODILY INJURY &               $500,000 $ 628.60                 $500,000 $ 545.00
                                                                                                                                        PROPERTY DAMAGE        Each Occurrence                   Each Occurrence
                                                                                                                                        LIABILITY
                                                                                                                                       PERSONAL INJURY                             136.30                            216.90
                                                                                                                                       PROTECTION
                                                                                                                                       COMPREHENSIVE         Actual Cash Value      66.70      Actual Cash Value     134.80
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
                                                                                                                                                           Full Glass Coverage               Full Glass Coverage
                                                                                                                                       COLLISION             Actual Cash Value     190.30      Actual Cash Value     379.10
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
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                                                                                                                                       ADDITIONAL COVERAGES:
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                                                                                                                                        LOSS OF USE      $35 Per Day/$1050 Max       7.30 $35 Per Day/$1050 Max       13.50
                                                                                                                                        CITY TAX              LOUISVILLE URBAN      62.54       LOUISVILLE URBAN      78.15
                                                                                                                                                                  CITY TAX AND                      CITY TAX AND
                                                                                                                                                                COLLECTION FEE                    COLLECTION FEE
                                                                                                                                        KENTUCKY SURCHG                             19.58                             24.46
                                                                                                                                        ROADSIDE ASSIST                              6.20                              4.80
                                                                                                                                       ENHANCED COVERAGE LEVEL                      52.10                             65.00
                                                                                                                                                                               ----------                        ----------
                                                                                                                                                                         TOTAL $ 1,169.62                  TOTAL $ 1,461.71

                                                                                                                                                                            UNINSURED MOTORISTS:
                                                                                                                                                                                 BODILY INJURY                         $ 382.10
                                                                                                                                                                            UNDERINSURED MOTORISTS:
                                                                                                                                                                                 BODILY INJURY                         $ 450.40
                                                                                                                                                                            ADDITIONAL PIP                             $    67.60
                                                                                                                                                                            TOTAL EACH VEHICLE:     2015 HYUN          $ 1,561.51
                                                                                                                                                                                                    2018 CHEV            1,227.58
                                                                                                                                                                                                    2008 VOLK            1,169.62
                                                                                                                                                                                                    2017 NISS            1,461.71
                                                                                                                                       PREMIUM SUMMARY                                                                    PREMIUM
                                                                                                                                        VEHICLE COVERAGES                 -CONTINUED-                                  $ 5,420.42
                                                                                                                                                              P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       SA-1697/EP 9/90                      Page 2 of 3               DATE PREPARED:   JUNE 11 2020
                                                                                                                                       G15
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                                                         POLICY NUMBER:      1790


                       SAFECO INSURANCE COMPANY OF ILLINOIS
                       AUTOMOBILE POLICY DECLARATIONS
                                    (CONTINUED)


 DISCOUNTS & SAFECO SAFETY REWARDS             You saved $1,623.80          Included
 POLICY COVERAGES                                                         $ 900.10
                                                                          ----------
TOTAL 12 MONTH PREMIUM FOR ALL VEHICLES ................................. $ 6,320.52
You may pay your premium in full or in installments. There is no installment fee
for the following billing plans: Full Pay. Installment fees for all other billing
plans are listed below. If more than one policy is billed on the installment bill,
only the highest fee is charged. The fee is:
  $2.00 per installment for recurring automatic deduction (EFT)
  $5.00 per installment for recurring credit card or debit card
  $5.00 per installment for all other payment methods
YOU SAVED $1,623.80 BY QUALIFYING FOR THE FOLLOWING DISCOUNTS:
    Account
    Theft Prevention Device
    Low Mileage
    Violation Free
    Coverage
    Homeowners
    Multi-Car
    Preferred Payment Method

YOUR POLICY INCLUDES UNINSURED MOTORISTS BODILY INJURY COVERAGE
WITH LIMITS OF $500,000 PER ACCIDENT. WE CHARGE ONE PREMIUM FOR
THIS COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON YOUR
POLICY. YOUR PREMIUM IS $382.10.
YOUR POLICY INCLUDES UNDERINSURED MOTORISTS: BODILY INJURY
COVERAGE WITH LIMITS OF $500,000 PER ACCIDENT. WE CHARGE ONE
PREMIUM FOR THIS COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON
YOUR POLICY. YOUR PREMIUM IS $450.40.
YOUR POLICY INCLUDES ADDITIONAL PERSONAL INJURY PROTECTION
COVERAGE WITH OPTION 4 LIMITS. WE CHARGE ONE PREMIUM FOR THIS
COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON YOUR POLICY.
YOUR PREMIUM IS $67.60.




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                                                                                                                                       OLD KENTUCKY INSURANCE INC
                                                                                                                                       915 LILY CREEK RD
                                                                                                                                       LOUISVILLE     KY 40243-2808
                                                                                                                                                                                                        April 28, 2020

                                                                                                                                                                                                                Policy Number:        1790
                                                                                                                                                                                                               24-Hour Claims: 1-800-332-3226
                                                                                                                                                                                                                 Policy Service: (502) 451-8800
                                                                                                                                                                                                       Online Account Services: www.safeco.com
                                                                                                                                                                                                     THIS IS NOT A BILL.
 0000072DEBDEV607204391768




                                                                                                                                       DALE ROMANS                                                   IDENTIFICATION CARDS ENCLOSED
                                                                                                                                       1812 PARKRIDGE PKWY
                                                                                                                                       LOUISVILLE KY 40214-5916




                                                                                                                                       Thank you for allowing Safeco to continue serving your auto insurance needs. We appreciate
                                                                                                                                       your business and the trust that you have placed in us.
                                                                                                                                       Please place the enclosed insurance identification cards in the vehicle listed on the card.
                                                                                                                                       Your new 12-month policy period will begin on July 17, 2020. Your policy will renew automatically
                                                                                                                                       if you continue to pay the premium. The renewal premium is:
                                                                                                                                            $8,092.27 if you pay in full or use the 2-pay billing plan (includes a $921.93 billing plan
                                                                                                                                            discount)
                                                                                                                                            $9,014.20 if you use the monthly or 4-pay billing plan
                                                                                                                                       This is not a bill. Your bill will be sent separately about 25 days before it is due. It will provide
                                                                                                                                       more information about amounts you may pay and your payment due date. For more information
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                                                                                                                                       about fees, please see the enclosed policy declarations page and the back of your billing
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                                                                                                                                       statement.
                                                                                                                                       The bill may reflect full or installment payment options and your payment will be due on the policy
                                                                                                                                       renewal date July 17, 2020. The total amount you pay may differ from the amounts above
                                                                                                                                       based on the fees associated with your chosen billing plan.
                                                                                                                                       If you have any questions or wish to make any changes to your policy, you can do so by calling
                                                                                                                                       your independent Safeco agent at (502) 451-8800.




                                                                                                                                                                               PLEASE SEE REVERSE
                                                                                                                                                                      SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                       OC-429/EP 10/13
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   Thank you for entrusting us with your insurance needs.




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                                                                                                                                      CUSTOMER ACCOUNT SUMMARY                                                                            APRIL 28, 2020
                                                                                                                                      AGENT:                                                               CUSTOMER:
                                                                                                                                      OLD KENTUCKY INSURANCE INC                                           DALE ROMANS
                                                                                                                                      915 LILY CREEK RD                                                    1812 PARKRIDGE PKWY
                                                                                                                                      LOUISVILLE     KY 40243-2808                                         LOUISVILLE KY 40214-5916

                                                                                                                                      (502) 451-8800                                                       Account Number:
                                                                                                                                                                                                                 3497
                                                                                                                                      OKI@OLDKYINS.COM
 0000072DEBDEV607204391769




                                                                                                                                                             Policy Services:           Online Account Services:                     24-Hour Claims:
                                                                                                                                        QUESTIONS?           (502) 451-8800            www.safeco.com/myaccount                      1-800-332-3226

                                                                                                                                      Thank you for being a valued customer.
                                                                                                                                      At Safeco, we partner with your agent to provide you with a broad portfolio of products, responsive
                                                                                                                                      customer service and options that are simple and convenient. Your Safeco Package is a
                                                                                                                                      comprehensive combination of convenience, savings and protection. And it's our priority to protect
                                                                                                                                      the things and people that matter most to you.
                                                                                                                                      Enclosed are important documents about your policy renewal. If you have questions regarding your
                                                                                                                                      coverage or other products offered by Safeco, please contact your agent.
                                                                                                                                      We appreciate your business and the trust you place in us to meet your insurance needs.
                                                                                                                                      YOUR POLICY DETAILS:
                                                                                                                                                                        Policy           Policy is Effective                     Term
                                                                                                                                      Policy                            Number              From               To                Premium
                                                                                                                                      -----------------------------------------------------------------
                                                                                                                                      AUTOMOBILE                              1790 07/17/2020 07/17/2021 $9,014.20
                                                                                                                                         If you pay in full or use the 2-pay plan                                            $8,092.27
                                                                                                                                         Discounts applied to this policy: Account, Theft Prevention Device, Low Mileage, Violation Free,
                                                                                                                                         Coverage, Homeowners, Multi-Car, Preferred Payment Method
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                                                                                                                                         Issued by: Safeco Insurance Company of Illinois
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                                                                                                                                      AUTOMOBILE                              4185 02/24/2020 02/24/2021                         $602.18
                                                                                                                                         Discounts applied to this policy: Account, Advance Quoting, Low Mileage, Violation Free,
                                                                                                                                         Coverage, Homeowners, Multi-Car, Preferred Payment Method
                                                                                                                                         Issued by: Safeco Insurance Company of Illinois
                                                                                                                                      UMBRELLA                                3622 02/24/2020 02/24/2021                         $960.42
                                                                                                                                         Discounts applied to this policy: No discounts applied
                                                                                                                                         Issued by: Safeco Insurance Company of America




                                                                                                                                      THIS IS NOT A BILL. Please do not send payment now. You will be receiving a separate invoice statement(s) based on the payment
                                                                                                                                      schedule you selected. Thank you for selecting us to service your insurance needs.
                                                                                                                                      OC-726/EPA 4/09
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                                                                                                                                                                          KENTUCKY POLICY COVER SHEET
                                                                                                                                                                        KENTUCKY PERSONAL AUTO POLICY
                                                                                                                                    Your policy is a legal contract between you and us. PLEASE READ YOUR POLICY CAREFULLY. This cover
                                                                                                                                    sheet provides only a brief outline of some of the important features of your policy. This is not the insurance
                                                                                                                                    contract and only the actual policy provisions will control. The policy itself sets forth, in detail, the rights and
                                                                                                                                    obligations of both you and your insurance company. IT IS THEREFORE IMPORTANT THAT YOU READ YOUR
                                                                                                                                    POLICY.
                                                                                                                                    MAJOR PROVISIONS OF THE POLICY
                                                                                                                                    Persons and cars insured and the coverages and limits purchased are shown on the Declarations.
                                                                                                                                    The policy is divided into five Coverage Parts:
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                                                                                                                                         Liability
                                                                                                                                         Personal Injury Protection
                                                                                                                                         Medical Payments
                                                                                                                                         Uninsured Motorists
                                                                                                                                         Comprehensive and Collision
                                                                                                                                    The first page of the contract lists the Definitions which will apply throughout the policy. In addition, each Part
                                                                                                                                    has a Definition section which applies only to that Part.
                                                                                                                                    The following sections are included under each of the Coverage Parts:
                                                                                                                                    1. Insuring Agreement which explains what coverages we will provide.
                                                                                                                                    2. Exclusions which list the reasons or circumstances when we will not provide coverage.
                                                                                                                                    3. Limits of Liability section explains how the limits for each coverage are determined.
                                                                                                                                    Your duties and responsibilities after an accident or loss are listed under Part E — Duties After an Accident or
                                                                                                                                    Loss. General Provisions explain certain conditions which apply to the policy which include but are not limited
                                                                                                                                    to:
                                                                                                                                         How changes by either you or us are applied
                                                                                                                                         Information regarding legal action against us
                                                                                                                                         Our right to recover payment from others
                                                                                                                                         Provisions governing cancellation or nonrenewal
                                                                                                                                         Territory, Policy Period and Billing Cycle
                                                                                                                                         Transfer of your interest in this policy
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                                                                                                                                    The final section of the policy provides the most common Optional Coverages available. If you have any
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                                                                                                                                    questions about these coverages, please contact your agent.
                                                                                                                                    Amendatory endorsements may be attached to your policy to modify these provisions or provide you with
                                                                                                                                    additional coverage(s).




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                                                                                                                                                                                Information about your Policy


                                                                                                                                    Policy Number:       1790
                                                                                                                                    DALE ROMANS
                                                                                                                                    1812 PARKRIDGE PKWY
                                                                                                                                    LOUISVILLE KY 40214-5916
 0000072DEBDEV607204391771




                                                                                                                                    Like many insurance companies, Safeco Insurance considers many factors, including information based on your
                                                                                                                                    credit history, claims and auto characteristics to determine your premium. You have the option to request that we
                                                                                                                                    re-evaluate your auto insurance rate with up-to-date factors using the same factors prior to your next renewal
                                                                                                                                    effective date. Policy re-evaluation is limited to one request per calendar year and it may result in a quoted
                                                                                                                                    premium either higher or lower than your current premium. Any changes will be applied upon re-evaluation.
                                                                                                                                    To submit a request, return this form to:
                                                                                                                                    Safeco Insurance
                                                                                                                                    Attn: UW Verification & Policy Support
                                                                                                                                    P.O. Box 515097
                                                                                                                                    Los Angeles, CA 90051-5097
                                                                                                                                    or
                                                                                                                                    Fax it to (877) 344-5107.
                                                                                                                                    By returning this form, you request Safeco Insurance to re-evaluate your policy based on your current credit
                                                                                                                                    information.
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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 20 of 133

                                                                                                                                                                             IMPORTANT NOTICE —

                                                                                                                                                                 EXTRAORDINARY LIFE CIRCUMSTANCES


                                                                                                                                       We use information from your credit history in underwriting or pricing your insurance policy. If your credit
                                                                                                                                       information has been adversely impacted by an extraordinary life circumstance, you may request in
                                                                                                                                       writing that we consider this when using your credit information. These extraordinary life circumstances
                                                                                                                                       include:
                                                                                                                                             ● A catastrophic event, as declared by the Federal or State Government;
                                                                                                                                             ● A serious illness or injury or serious illness or injury to an immediate family member;
                                                                                                                                             ● Divorce or involuntary interruption of legally-owed alimony or support payments;
                                                                                                                                             ● The death of a spouse, child or parent;
                                                                                                                                             ● The involuntary loss of employment for more than three consecutive months;
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                                                                                                                                             ● Identity theft;
                                                                                                                                             ● Military deployment overseas; or
                                                                                                                                             ● Any other circumstance we may choose to recognize.
                                                                                                                                       You must submit this request to us not more than 60 days after the date of your application for insurance
                                                                                                                                       or your policy’s renewal. We may require you to provide reasonable documentation of this circumstance
                                                                                                                                       and explain how it has negatively affected your credit history. If you would like to contact us, please
                                                                                                                                       provide your name and policy number: Safeco Imaging Center, PO Box 515097, Los Angeles, CA
                                                                                                                                       90051-5097 or via fax at 877-344-5107.
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                                                                                                                                          NOTICE OF AVAILABILITY OF ADDITIONAL AUTO INSURANCE COVERAGES

                                                                                                                                       Kentucky law requires that we let you know additional Uninsured Motorists Coverage, Underinsured Mo-
                                                                                                                                       torists Coverage and Personal Injury Protection Coverage are available.
                                                                                                                                             Your Uninsured Motorists Coverage pays for damages such as medical bills, death benefits and loss
                                                                                                                                             of wages caused by an accident with a driver who has no insurance or by an unknown hit-and-run
                                                                                                                                             driver. Uninsured Motorists Coverage is available on a per person/per accident basis up to the bodily
                                                                                                                                             injury liability limits of your policy as shown in the Policy Declarations enclosed with this renewal.
                                                                                                                                             Your Underinsured Motorists Coverage pays for damages such as medical bills, death benefits and
                                                                                                                                             loss of wages caused by an accident with a driver who has insurance, but not enough to pay for
                                                                                                                                             those losses. Underinsured Motorists Coverage is available on a per person/per accident basis up to
                                                                                                                                             the bodily injury liability limits of your policy as shown in the Policy Declarations enclosed with this
                                                                                                                                             renewal.
                                                                                                                                       Please note the following:
 0000072DEBDEV607204391773




                                                                                                                                       ● You may reject Uninsured Motorists Coverage and/or Underinsured Motorists Coverage completely.
                                                                                                                                       ● You may purchase Uninsured Motorists Coverage and/or Underinsured Motorists Coverage at vari-
                                                                                                                                             ous limits up to your bodily injury liability limits.
                                                                                                                                       ● If you purchase both Uninsured Motorists Coverage and Underinsured Motorists Coverage, you must
                                                                                                                                             purchase the same amount of coverage for both.
                                                                                                                                       ● The limits purchased for Uninsured Motorists Coverage and Underinsured Motorists Coverage ap-
                                                                                                                                             plies on a per policy basis. Only one limit applies to each coverage regardless of the number of vehi-
                                                                                                                                             cles insured under the policy.
                                                                                                                                       Personal injury protection benefits include reimbursement for medical expenses, replacement services
                                                                                                                                       loss, survivor s economic loss, survivor s replacement services loss, work loss and funeral expenses.
                                                                                                                                       These are payable under the policy whether or not you are responsible for the accident. The persons eli-
                                                                                                                                       gible for the benefits include those who would ordinarily be covered for medical payments coverage which
                                                                                                                                       should include you, your family members and passengers of the insured auto. Limits available over and
                                                                                                                                       above the basic limits are listed below. These limits are available only on a per policy basis.
                                                                                                                                       Please Consult Your Agent
                                                                                                                                       If you have any questions concerning these coverages or their costs or you would like to purchase higher
                                                                                                                                       limits than you currently have, please contact your agent at the number shown on the enclosed Policy
                                                                                                                                       Declarations page.
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                                                                                                                                       SA-2361/KYEP 10/19
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 22 of 133




                                                                                                                                       Consumer Privacy Statement

                                                                                                                                       Safeco appreciates the trust you place in us when you purchase insurance from one of our
                                                                                                                                       companies. We are committed to protecting your nonpublic personal information (“personal
                                                                                                                                       information”) and we value you as a customer.
                                                                                                                                       To learn more about how Safeco collects and uses your personal information, please read the
                                                                                                                                       following notice.
                                                                                                                                       Safeco’s sources of information about you
 0000072DEBDEV607204391774




                                                                                                                                       We collect personal information about you from different sources, including:
                                                                                                                                          ● The information you provide on applications or other forms (such as your name,
                                                                                                                                               address and Social Security number);
                                                                                                                                          ● Your transactions with us, our affiliates or others (such as your payment history and
                                                                                                                                               claims information);
                                                                                                                                          ● The information we receive from a consumer reporting agency or insurance support
                                                                                                                                               organization (such as your credit history, driving record or claims history); and
                                                                                                                                          ● Your independent insurance producer (such as updated information pertaining to your
                                                                                                                                               account).
                                                                                                                                       Safeco’s use of your personal information
                                                                                                                                       We only disclose personal information about our customers and former customers as permitted by
                                                                                                                                       law. Generally, this includes sharing it with third parties to administer your transactions with us,
                                                                                                                                       service your insurance policy or claim, detect and prevent fraud, or with your authorization. These
                                                                                                                                       third parties may include independent insurance producers authorized to sell Safeco insurance
                                                                                                                                       products, independent contractors (such as automobile repair facilities and property inspectors),
                                                                                                                                       independent claims representatives, insurance support organizations, other insurers, auditors,
                                                                                                                                       attorneys, courts and government agencies. We may also disclose your personal information to
                                                                                                                                       other financial institutions with whom we have joint marketing agreements. When we disclose your
                                                                                                                                       information to these individuals or organizations, we require them to use it only for the reasons we
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                                                                                                                                       gave it to them.
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                                                                                                                                       We may also share information about our transactions (such as payment history and
                                                                                                                                       products purchased) and experiences with you (such as claims made) within our Safeco
                                                                                                                                       family of companies.
                                                                                                                                       Safeco does not sell your personal information to others and we do not provide your information
                                                                                                                                       to third parties for their own marketing purposes.
                                                                                                                                       Independent Safeco Insurance Agents
                                                                                                                                       The independent insurance agents authorized to sell Safeco products are not Safeco
                                                                                                                                       employees and not subject to Safeco’ s Privacy Policy. Because they have a unique
                                                                                                                                       business relationship with you, they may have additional personal information about you that
                                                                                                                                       Safeco does not have. They may use this information differently than Safeco. Contact your
                                                                                                                                       Safeco distributor to learn more about their privacy practices.
                                                                                                                                       Information about Safeco’s web site
                                                                                                                                       If you have internet access and want more information about our web site specific privacy and
                                                                                                                                       security practices, click on the Privacy Policy link on www.safeco.com.

                                                                                                                                       OC-701/EP 3/16                                                                             Page 1 of 2
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   Protecting your personal information from unauthorized access
   We maintain physical, electronic and procedural safeguards to protect your personal
   information. Our employees are authorized to access customer information only for
   legitimate business purposes.
   State Privacy Laws
   This privacy statement may be supplemented by privacy laws in your state. We will protect your
   information in accordance with state law.
   This Privacy Statement applies to the following members of the Safeco family of companies:
   American Economy Insurance Company
   American States Insurance Company
   American States Insurance Company of Texas
   American States Lloyds Insurance Company
   American States Preferred Insurance Company
   First National Insurance Company of America
   General Insurance Company of America
   Insurance Company of Illinois
   Liberty County Mutual Insurance Company
   Safeco Insurance Company of America
   Safeco Insurance Company of Illinois
   Safeco Insurance Company of Indiana
   Safeco Insurance Company of Oregon
   Safeco Lloyds Insurance Company
   Safeco National Insurance Company
   Safeco Surplus Lines Insurance Company




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                                                                                                                                                                                                 POLICY NUMBER:            1790


                                                                                                                                                              SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                                              AUTOMOBILE POLICY DECLARATIONS

                                                                                                                                       NAMED INSURED:                                     RENEWAL
                                                                                                                                       DALE ROMANS
                                                                                                                                       1812 PARKRIDGE PKWY                                POLICY PERIOD FROM: JULY 17 2020
                                                                                                                                       LOUISVILLE KY 40214-5916                                                TO: JULY 17 2021
                                                                                                                                                                                          at 12:01 A.M. standard time at
                                                                                                                                                                                          the address of the insured as
                                                                                                                                       AGENT:                                             stated herein.
 0000072DEBDEV607204391775




                                                                                                                                       OLD KENTUCKY INSURANCE INC                         AGENT TELEPHONE:
                                                                                                                                       915 LILY CREEK RD                                  (502) 451-8800
                                                                                                                                       LOUISVILLE       KY 40243-2808


                                                                                                                                       RATED DRIVERS DALE ROMANS, TAMMY FOX, BAILEY ROMANS, JACOB ROMANS
                                                                                                                                       2015 HYUNDAI    EQUUS SIGNATURE/UL 4 DOOR SEDAN            ID# KMHGH4JH2FU095628
                                                                                                                                       LOSS PAYEE      FIRST FINANCIAL BANK ISAOA/ATIMA
                                                                                                                                       2018 CHEVROLET TRAVERSE PREMIER 4 DOOR                     ID# 1GNERKKW6JJ129291
                                                                                                                                       LOSS PAYEE      G M FINANCIAL
                                                                                                                                       Insurance is afforded only for the coverages for which limits of liability or
                                                                                                                                       premium charges are indicated.
                                                                                                                                       COVERAGES              2015 HYUN LIMITS PREMIUMS         2018 CHEV LIMITS PREMIUMS
                                                                                                                                       COMBINED SINGLE LIMIT:
                                                                                                                                        BODILY INJURY &               $500,000 $ 666.10                 $500,000 $ 714.30
                                                                                                                                        PROPERTY DAMAGE        Each Occurrence                   Each Occurrence
                                                                                                                                        LIABILITY
                                                                                                                                       PERSONAL INJURY                             110.50                            142.00
                                                                                                                                       PROTECTION
                                                                                                                                       COMPREHENSIVE         Actual Cash Value     203.40      Actual Cash Value     140.80
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
                                                                                                                                                           Full Glass Coverage               Full Glass Coverage
                                                                                                                                       COLLISION             Actual Cash Value     688.90      Actual Cash Value     386.30
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                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
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                                                                                                                                       ADDITIONAL COVERAGES:
                                                                                                                                        LOSS OF USE      $35 Per Day/$1050 Max      17.00 $35 Per Day/$1050 Max       19.50
                                                                                                                                        CITY TAX              LOUISVILLE URBAN     214.15       LOUISVILLE URBAN      84.90
                                                                                                                                                                  CITY TAX AND                      CITY TAX AND
                                                                                                                                                                COLLECTION FEE                    COLLECTION FEE
                                                                                                                                        KENTUCKY SURCHG                             67.04                             26.58
                                                                                                                                        ROADSIDE ASSIST                              4.70                              3.20
                                                                                                                                       ENHANCED COVERAGE LEVEL                     179.80                             70.50
                                                                                                                                                                               ----------                        ----------
                                                                                                                                                                         TOTAL $ 2,151.59                  TOTAL $ 1,588.08
                                                                                                                                       You may pay your premium in full or in installments. There is no installment fee
                                                                                                                                       for the following billing plans: Full Pay. Installment fees for all other billing
                                                                                                                                       plans are listed below. If more than one policy is billed on the installment bill,
                                                                                                                                       only the highest fee is charged. The fee is:
                                                                                                                                         $2.00 per installment for recurring automatic deduction (EFT)
                                                                                                                                         $5.00 per installment for recurring credit card or debit card
                                                                                                                                         $5.00 per installment for all other payment methods



                                                                                                                                                                          -CONTINUED-
                                                                                                                                                              P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       SA-1697/EP 9/90                      Page 1 of 3               DATE PREPARED:   APR. 28 2020
                                                                                                                                       G15
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                                                                                                                                                                                                 POLICY NUMBER:            1790


                                                                                                                                                              SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                                              AUTOMOBILE POLICY DECLARATIONS
                                                                                                                                                                           (CONTINUED)

                                                                                                                                       NAMED INSURED:                                     RENEWAL
                                                                                                                                       DALE ROMANS
                                                                                                                                       1812 PARKRIDGE PKWY                                POLICY PERIOD FROM: JULY 17 2020
                                                                                                                                       LOUISVILLE KY 40214-5916                                                TO: JULY 17 2021
                                                                                                                                                                                          at 12:01 A.M. standard time at
                                                                                                                                                                                          the address of the insured as
                                                                                                                                       AGENT:                                             stated herein.
 0000072DEBDEV607204391776




                                                                                                                                       OLD KENTUCKY INSURANCE INC                         AGENT TELEPHONE:
                                                                                                                                       915 LILY CREEK RD                                  (502) 451-8800
                                                                                                                                       LOUISVILLE       KY 40243-2808


                                                                                                                                       RATED DRIVERS DALE ROMANS, TAMMY FOX, BAILEY ROMANS, JACOB ROMANS
                                                                                                                                       2008 VOLKSWAGEN NEW BEETLE TRIPLE 2 DOOR                   ID# 3VWFW31C48M524681
                                                                                                                                       2017 NISSAN     MAXIMA 3.5S/3.5SV/ 4 DOOR SEDAN            ID# 1N4AA6AP3HC452878
                                                                                                                                       Insurance is afforded only for the coverages for which limits of liability or
                                                                                                                                       premium charges are indicated.
                                                                                                                                       COVERAGES              2008 VOLK LIMITS PREMIUMS         2017 NISS LIMITS PREMIUMS
                                                                                                                                       COMBINED SINGLE LIMIT:
                                                                                                                                        BODILY INJURY &               $500,000 $ 866.50                 $500,000 $ 750.60
                                                                                                                                        PROPERTY DAMAGE        Each Occurrence                   Each Occurrence
                                                                                                                                        LIABILITY
                                                                                                                                       PERSONAL INJURY                             124.70                            198.30
                                                                                                                                       PROTECTION
                                                                                                                                       COMPREHENSIVE         Actual Cash Value      76.90      Actual Cash Value     156.00
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
                                                                                                                                                           Full Glass Coverage               Full Glass Coverage
                                                                                                                                       COLLISION             Actual Cash Value     272.30      Actual Cash Value     542.30
                                                                                                                                                         Less $1000 Deductible             Less $1000 Deductible
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                                                                                                                                       ADDITIONAL COVERAGES:
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                                                                                                                                        LOSS OF USE      $35 Per Day/$1050 Max      10.40 $35 Per Day/$1050 Max       19.30
                                                                                                                                        CITY TAX              LOUISVILLE URBAN      81.96       LOUISVILLE URBAN     100.92
                                                                                                                                                                  CITY TAX AND                      CITY TAX AND
                                                                                                                                                                COLLECTION FEE                    COLLECTION FEE
                                                                                                                                        KENTUCKY SURCHG                             25.66                             31.59
                                                                                                                                        ROADSIDE ASSIST                              6.20                              4.80
                                                                                                                                       ENHANCED COVERAGE LEVEL                      68.30                             83.90
                                                                                                                                                                               ----------                        ----------
                                                                                                                                                                         TOTAL $ 1,532.92                  TOTAL $ 1,887.71

                                                                                                                                                                            UNINSURED MOTORISTS:
                                                                                                                                                                                 BODILY INJURY                         $ 822.50
                                                                                                                                                                            UNDERINSURED MOTORISTS:
                                                                                                                                                                                 BODILY INJURY                         $ 969.60
                                                                                                                                                                            ADDITIONAL PIP                             $    61.80
                                                                                                                                                                            TOTAL EACH VEHICLE:     2015 HYUN          $ 2,151.59
                                                                                                                                                                                                    2018 CHEV            1,588.08
                                                                                                                                                                                                    2008 VOLK            1,532.92
                                                                                                                                                                                                    2017 NISS            1,887.71
                                                                                                                                       PREMIUM SUMMARY                                                                    PREMIUM
                                                                                                                                        VEHICLE COVERAGES                 -CONTINUED-                                  $ 7,160.30
                                                                                                                                                              P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       SA-1697/EP 9/90                      Page 2 of 3               DATE PREPARED:   APR. 28 2020
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                                                         POLICY NUMBER:      1790


                       SAFECO INSURANCE COMPANY OF ILLINOIS
                       AUTOMOBILE POLICY DECLARATIONS
                                    (CONTINUED)


 DISCOUNTS & SAFECO SAFETY REWARDS             You saved $2,277.40          Included
 POLICY COVERAGES                                                         $ 1,853.90
                                                                          ----------
TOTAL 12 MONTH PREMIUM FOR ALL VEHICLES ................................. $ 9,014.20
IF YOU PAY IN FULL OR USE THE 2-PAY PLAN THE PREMIUM WILL BE REDUCED TO $ 8,092.27*
   *This includes the available $921.93 billing plan discount.
You may pay your premium in full or in installments. There is no installment fee
for the following billing plans: Full Pay. Installment fees for all other billing
plans are listed below. If more than one policy is billed on the installment bill,
only the highest fee is charged. The fee is:
  $2.00 per installment for recurring automatic deduction (EFT)
  $5.00 per installment for recurring credit card or debit card
  $5.00 per installment for all other payment methods
YOU SAVED $2,277.40 BY QUALIFYING FOR THE FOLLOWING DISCOUNTS:
    Account
    Theft Prevention Device
    Low Mileage
    Violation Free
    Coverage
    Homeowners
    Multi-Car
    Preferred Payment Method

YOUR POLICY INCLUDES UNINSURED MOTORISTS BODILY INJURY COVERAGE
WITH LIMITS OF $500,000 PER ACCIDENT. WE CHARGE ONE PREMIUM FOR
THIS COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON YOUR
POLICY. YOUR PREMIUM IS $822.50.
YOUR POLICY INCLUDES UNDERINSURED MOTORISTS: BODILY INJURY
COVERAGE WITH LIMITS OF $500,000 PER ACCIDENT. WE CHARGE ONE
PREMIUM FOR THIS COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON
YOUR POLICY. YOUR PREMIUM IS $969.60.
YOUR POLICY INCLUDES ADDITIONAL PERSONAL INJURY PROTECTION
COVERAGE WITH OPTION 4 LIMITS. WE CHARGE ONE PREMIUM FOR THIS
COVERAGE REGARDLESS OF THE NUMBER OF VEHICLES ON YOUR POLICY.




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YOUR PREMIUM IS $61.80.




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                                                                                                                                                               AMENDATORY ENDORSEMENT — KENTUCKY


                                                                                                                                    It is agreed that the policy is amended as follows:
                                                                                                                                    DEFINITIONS
                                                                                                                                    Definition D. is replaced by the following:
                                                                                                                                    Throughout the policy “minimum limits” refers to the following limits of liability required by Kentucky law to be
                                                                                                                                    provided under a policy of automobile liability insurance:
                                                                                                                                    1. $25,000 for each person, subject to $50,000 for each accident, with respect to bodily injury;
                                                                                                                                    2. $15,000 for each accident with respect to property damage; or
                                                                                                                                    3. If Combined Single Limit applies to the policy, $65,000 per accident.
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                                                                                                                                                                      ANTI-THEFT DISCOUNT OPTIONS


                                                                                                                                    We are pleased that you selected us to provide your vehicle insurance. You will find our service, coverage and
                                                                                                                                    rates to be among the best in Kentucky.
                                                                                                                                    You should be aware Safeco offers a discount on comprehensive coverage for anti-theft devices. The amount of
                                                                                                                                    the discount varies from 5% to 20% and is determined by the type of anti-theft equipment on the vehicle. If you
                                                                                                                                    feel your vehicle qualifies contact your agent who has the forms necessary to apply for the credit.
                                                                                                                                    SA-1509/KYEP 1/16
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                                                                                                                                                                        ANTI-THEFT DISCOUNT OPTIONS
                                                                                                                                       We are pleased that you selected us to provide your automobile insurance. You will find our service,
                                                                                                                                       coverage and rates to be among the best in Kentucky.
                                                                                                                                       You should be aware SAFECO offers a discount on comprehensive coverage for auto-theft devices.
                                                                                                                                       The amount of the discount varies from 5% to 20% and is determined by the type of anti-theft equip-
                                                                                                                                       ment on the vehicle. If you feel your vehicle qualifies contact your agent who has the forms necessary
                                                                                                                                       to apply for the credit.
                                                                                                                                       SA-1509/KYEP 4/87
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                                                                                                                                                                SAFECO ENHANCED
                                                                                                                                                                                           TM COVERAGE LEVEL


                                                                                                                                       Congratulations! You have purchased one of our finest auto coverage levels available — the Safeco
                                                                                                                                       Enhanced coverage level. With Safeco Enhanced, you receive more coverage, higher limits and better
                                                                                                                                       benefits than with our basic policy.
                                                                                                                                       Below are just some of the great features and benefits you receive with Safeco Enhanced. Safeco’s
                                                                                                                                       Enhanced coverage level provides you even more benefits and coverage that are not listed here. Read
                                                                                                                                       the policy and endorsement in this packet to learn more about the coverages and benefits you’re
                                                                                                                                       receiving.
                                                                                                                                       Features                            Benefits
                                                                                                                                       Accident Forgiveness                After six consecutive years of clean driving with Safeco where none
                                                                                                                                                                           of the insured drivers 18 or older have an at-fault accident or
                                                                                                                                                                           violation, your premium will not increase if you have an at-fault
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                                                                                                                                                                           accident. This benefit applies to any driver 18 years or older.
                                                                                                                                       Auto Theft Transportation           If your vehicle is stolen, we pay up to $25 a day to a maximum
                                                                                                                                                                           benefit of $750 to cover your transportation expenses.
                                                                                                                                       Audio/Visual Equipment              We cover audio/visual equipment such as a stereo or DVD player
                                                                                                                                                                           permanently installed by the manufacturer or manufacturers’
                                                                                                                                                                           dealership. We will pay up to $1,000 if the equipment was installed
                                                                                                                                                                           by someone else.
                                                                                                                                       Customized Equipment                We provide up to $1,000 for permanently installed customized
                                                                                                                                                                           equipment such as new wheel rims.
                                                                                                                                       Loss of Earnings                    We will pay you up to $250 a day if you have to miss work in order to
                                                                                                                                                                           attend a trial or a court hearing at our request.
                                                                                                                                       Bail Bonds                          We will pay up to $1,000 for the cost of a bail bond required due to
                                                                                                                                                                           an accident.

                                                                                                                                       If you have any questions about your policy, please feel free to contact your independent Safeco agent.
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                                                                                                                                       No coverage is provided by this summary. If there is any conflict between the policy and this summary,
                                                                                                                                       the provisions of the policy, including any endorsements, shall prevail.
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                                                                                                                                                                     ENHANCED LEVEL ENDORSEMENT


                                                                                                                                       It is agreed that the Essential Personal Auto Policy is amended as follows:
                                                                                                                                       PART A — LIABILITY COVERAGE
                                                                                                                                       If the Declarations indicates that Part A — Liability Coverage applies, then the following applies:
                                                                                                                                       SUPPLEMENTARY PAYMENTS
                                                                                                                                       Item 1. is amended to increase the $250 to $1,000.
                                                                                                                                       Item 3. is amended to increase the $200 a day to $250 a day.

                                                                                                                                       PART D — COVERAGE FOR DAMAGE TO YOUR AUTO
                                                                                                                                       The following items apply in the event of a covered collision or comprehensive loss:
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                                                                                                                                       TRANSPORTATION EXPENSES
                                                                                                                                       B.1. is replaced by the following:
                                                                                                                                            1. Up to $25 per day, to a maximum of $750; or
                                                                                                                                       EXCLUSIONS
                                                                                                                                       Exclusion 7. is amended by increasing the $500 to $1,000.
                                                                                                                                       Exclusion 19. is amended by increasing the $500 to $1,000.
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                                                                                                                                                                          KENTUCKY POLICY COVER SHEET
                                                                                                                                                                 KENTUCKY ESSENTIAL PERSONAL AUTO POLICY
                                                                                                                                    The attached policy is a legal contract between you and us. PLEASE READ YOUR POLICY CAREFULLY. This
                                                                                                                                    cover sheet provides only a brief outline of some of the important features of your policy. This is not the insurance
                                                                                                                                    contract and only the actual policy provisions will control. The policy itself sets forth, in detail, the rights and
                                                                                                                                    obligations of both you and your insurance company. IT IS THEREFORE IMPORTANT THAT YOU READ YOUR
                                                                                                                                    POLICY.
                                                                                                                                    MAJOR PROVISIONS OF THE POLICY
                                                                                                                                    Persons and cars insured and the coverages and limits purchased are shown on the Declarations.
                                                                                                                                    The policy is divided into five Coverage Parts:
                                                                                                                                         Liability
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                                                                                                                                         Personal Injury Protection
                                                                                                                                         Medical Payments
                                                                                                                                         Uninsured Motorists
                                                                                                                                         Comprehensive and Collision
                                                                                                                                    The first page of the contract lists the Definitions which will apply throughout the policy. In addition, each Part
                                                                                                                                    has a Definition section which applies only to that Part.
                                                                                                                                    The following sections are included under each of the Coverage Parts:
                                                                                                                                    1. Insuring Agreement which explains what coverages we will provide.
                                                                                                                                    2. Exclusions which list the reasons or circumstances when we will not provide coverage.
                                                                                                                                    3. Limits of Liability section explains how the limits for each coverage are determined.
                                                                                                                                    Your duties and responsibilities after an accident or loss are listed under Part E — Duties After an Accident or
                                                                                                                                    Loss. General Provisions explain certain conditions which apply to the policy which include but are not limited
                                                                                                                                    to:
                                                                                                                                         How changes by either you or us are applied
                                                                                                                                         Information regarding legal action against us
                                                                                                                                         Our right to recover payment from others
                                                                                                                                         Provisions governing cancellation or nonrenewal
                                                                                                                                         Territory, Policy Period and Billing Cycle
                                                                                                                                         Transfer of your interest in this policy
                                                                                                                                    The final section of the policy provides the most common Optional Coverages available. If you have any
                                                                                                                                    questions about these coverages, please contact your agent.
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                                                                                                                                                              KENTUCKY ESSENTIAL PERSONAL AUTO POLICY


                                                                                                                                                                      SAFECO INSURANCE COMPANY OF ILLINOIS
                                                                                                                                                        Home Office: 27201 Bella Vista Parkway, Suite 130, Warrenville, Illinois 60555
                                                                                                                                                                               (A stock insurance company.)
                                                                                                                                                                 READY REFERENCE TO YOUR AUTO POLICY


                                                                                                                                                                                                                                         Beginning
 0000072DEBDEV607204511792




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                                                                                                                                                                                     AGREEMENT


                                                                                                                                    In return for your payment of all premiums, and in reliance upon the statements in the application we agree to
                                                                                                                                    insure you subject to the terms, conditions and limitations of this policy. We will insure you for the coverages and
                                                                                                                                    limits shown on the Declarations. Your policy consists of the policy contract, Declarations and endorsements
                                                                                                                                    applicable to the policy.

                                                                                                                                                                                     DEFINITIONS


                                                                                                                                    A. Throughout this policy, “you” and “your” refer to:
                                                                                                                                       1. The “named insured” shown in the Declarations;
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                                                                                                                                       2. The spouse if a resident of the same household;
                                                                                                                                       3. The civil partner, if a resident of the same household, by civil union licensed and certified by the state;
                                                                                                                                              or
                                                                                                                                        4. The domestic partner, if a resident of the same household;
                                                                                                                                              “Domestic partner” means a person living as a continuing partner with you and:
                                                                                                                                              a. is at least 18 years of age and competent to contract;
                                                                                                                                              b. is not a relative; and
                                                                                                                                              c. shares with you the responsibility for each other’s welfare, evidence of which includes:
                                                                                                                                                   (1) the sharing in domestic responsibilities for the maintenance of the household; or
                                                                                                                                                   (2) having joint financial obligations, resources, or assets; or
                                                                                                                                                   (3) one with whom you have made a declaration of domestic partnership or similar declaration
                                                                                                                                                         with an employer or government entity.
                                                                                                                                              Domestic partner does not include more than one person, a roommate whether sharing expenses
                                                                                                                                              equally or not, or one who pays rent to the named insured.
                                                                                                                                    B. “We”, “us” and “our” refer to the Company, as shown on the Declarations providing this insurance.
                                                                                                                                    C. For purposes of this policy, a private passenger type auto shall be deemed to be owned by a person if
                                                                                                                                        leased:
                                                                                                                                        1. Under a written agreement to that person; and
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                                                                                                                                        2. For a continuous period of at least six months.
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                                                                                                                                    D. Throughout the policy, “minimum limits” refers to the following limits of liability required by Kentucky law to
                                                                                                                                        be provided under a policy of automobile liability insurance:
                                                                                                                                        1. $25,000 for each person, subject to $50,000 for each accident, with respect to bodily injury ; or
                                                                                                                                        2. $25,000 for each accident with respect to property damage.
                                                                                                                                    Other words and phrases are defined. They are in bold type when used.
                                                                                                                                    E. “Bodily injury” means bodily harm, sickness or disease, including death that results.
                                                                                                                                    F. “Business” includes trade, profession or occupation.
                                                                                                                                    G. “Family member” means a person related to you by blood, marriage, civil union, domestic partnership or
                                                                                                                                        adoption who is a resident of your household. This includes a ward or foster child who is a resident of your
                                                                                                                                        household.
                                                                                                                                    H. “Fungi” means any type or form of fungus, including yeast, mold or mildew, blight or mushroom and any
                                                                                                                                        mycotoxins, spore, scents or other substances, products or byproducts produced, released by or arising out
                                                                                                                                        of fungi, including growth, proliferation or spread of fungi or the current or past presence of fungi. However,
                                                                                                                                        this definition does not include any fungi intended by the insured for consumption.
                                                                                                                                    I. “Occupying” means in; upon; or getting in, on, out or off.
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J. “Property damage” means physical injury or destruction of tangible property including loss of use.
K. “Punitive or exemplary damages” include damages which are awarded to punish or deter wrongful
   conduct, to set an example, to fine, penalize or impose a statutory penalty, and damages which are awarded
   for any purpose other than as compensatory damages for bodily injury or property damage.
L. “Trailer” means a vehicle designed to be pulled by a:
   1. Private passenger auto; or
   2. Pickup, van or motorhome.
   It also means a recreational camping vehicle, a farm wagon or farm implement while towed by a vehicle
   listed in L.1. or L.2. above.
M. “Your covered auto” means:
   1. Any vehicle shown in the Declarations.
   2. a. Any newly acquired vehicle, whether operational or not, on the date you become the owner, subject
              to conditions for Newly Acquired Replacement Vehicle and Newly Acquired Additional Vehicle
              under M.2.b. below. Any newly acquired vehicle must be of the following types:
              (1) a private passenger auto;
              (2) a pickup or van that:
                    (a) has a Gross Vehicle Weight Rating of 12,000 lbs or less; and
                    (b) is not used for the delivery or transportation of goods and materials unless such use is:
                          i. incidental to your business of installing, maintaining or repairing furnishings or
                               equipment; or
                          ii. for farming or ranching; or
              (3) a motorhome or trailer.
         b. A newly acquired vehicle is subject to the following conditions:
              (1) Newly Acquired Replacement Vehicle. If the vehicle you acquire replaces one shown in the
                    Declarations, the replacement vehicle will have the same coverage as the vehicle it replaced,
                    other than Part D — Coverage for Damage to Your Auto. This provision applies only if there is
                    no other insurance policy that provides coverage for that replacement vehicle.
                    Part D — Coverage for Damage to Your Auto shall apply for the first thirty (30) days after you
                    acquire the vehicle, including the date of acquisition, only to the extent Part D — Coverage for
                    Damage to Your Auto applied to the vehicle being replaced. You must notify us within thirty




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                    (30) days after you acquire the replacement vehicle for Part D — Coverage for Damage to




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                    Your Auto to continue.
              (2) Newly Acquired Additional Vehicle. For any newly acquired vehicle that is in addition to any
                    shown in the Declarations coverage shall apply for the first thirty (30) days after you acquire
                    the vehicle, including the date of acquisition. Coverage shall be the broadest coverage we
                    provide for any vehicle shown in the Declarations. This coverage applies only if:
                    (a) you acquire the additional vehicle during the policy period shown on the Declarations;
                          and
                    (b) there is no other insurance policy that provides coverage for the additional vehicle.
                    If you wish to add or continue coverage you must ask us to insure the additional vehicle within
                    thirty (30) days after you acquire the additional vehicle. This thirty (30) days of coverage
                    includes the day you acquire the vehicle.
              (3) Collision Coverage for a newly acquired vehicle begins on the date that you acquire the
                    vehicle. However, if the Declarations does not indicate that Collision Coverage applies to at
                    least one vehicle, you must ask us to insure the newly acquired vehicle within four (4) days
                    after you acquire it. If a loss occurs during the four (4) days after you acquire the vehicle but
                    before you asked us to insure the newly acquired vehicle, a $500 collision deductible will
                    apply.
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                                                                                                                                                   (4) Comprehensive Coverage for a newly acquired vehicle begins on the date that you acquire
                                                                                                                                                       the vehicle. However, if the Declarations does not indicate that Comprehensive Coverage
                                                                                                                                                       applies to at least one vehicle, you must ask us to insure the newly acquired vehicle within
                                                                                                                                                       four (4) days after you acquire it. If a loss occurs during the four (4) days after you acquire the
                                                                                                                                                       vehicle but before you asked us to insure the newly acquired vehicle, a $500 comprehensive
                                                                                                                                                       deductible will apply.
                                                                                                                                         3. Any auto or trailer you do not own while used as a temporary substitute for any other vehicle described
                                                                                                                                            in this definition which is out of normal use because of its:
                                                                                                                                            a. breakdown;
                                                                                                                                            b. repair;
                                                                                                                                            c. servicing;
                                                                                                                                            d. loss; or
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                                                                                                                                            e. destruction.
                                                                                                                                            This provision (M.3.) does not apply to Coverage for Damage to Your Auto.

                                                                                                                                                                        PART A — LIABILITY COVERAGE


                                                                                                                                    INSURING AGREEMENT
                                                                                                                                    A. We will pay damages for bodily injury or property damage for which any insured becomes legally
                                                                                                                                       responsible because of an auto accident. We will settle or defend, as we consider appropriate, any claim or
                                                                                                                                       suit asking for these damages. In addition to our limit of liability, we will pay all defense costs we incur. Our
                                                                                                                                       duty to settle or defend ends when our limit of liability for this coverage has been exhausted. We have no
                                                                                                                                       duty to defend any suit or settle any claim for bodily injury or property damage not covered under this
                                                                                                                                       policy.
                                                                                                                                    B. “Insured” as used in this Part means:
                                                                                                                                       1. You or any family member for the ownership, maintenance or use of any auto or trailer.
                                                                                                                                       2. Any person using your covered auto with your express or implied permission. The actual use must be
                                                                                                                                            within the scope of that permission.
                                                                                                                                       3. For your covered auto, any person or organization but only with respect to legal responsibility for acts
                                                                                                                                             or omissions of a person for whom coverage is afforded under B.1. and B.2. above.
                                                                                                                                       4. For any auto or trailer, other than your covered auto, any other person or organization but only with
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                                                                                                                                             respect to legal responsibility for acts or omissions of you or any family member for whom coverage is
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                                                                                                                                             afforded under this Part. This provision (B.4.) applies only if the person or organization does not own or
                                                                                                                                             hire the auto or trailer.
                                                                                                                                    INTEREST ON JUDGMENTS
                                                                                                                                    We will pay interest on judgments subject to all of the following:
                                                                                                                                        1. Any notice, demand, summons, judgment, or any process has been promptly forwarded to us as
                                                                                                                                              required by the policy conditions.
                                                                                                                                        2. We accept the defense or agree to the judgment.
                                                                                                                                        3. We will pay the interest on that part of the judgment that is covered and that does not exceed our
                                                                                                                                              applicable limit of liability.
                                                                                                                                        4. We will pay interest that accrues after entry of judgment and before we pay, tender, or deposit in court.
                                                                                                                                        5. If we appeal the judgment, we will pay interest on the entire judgment.
                                                                                                                                        6. Post-judgment interest is in addition to the applicable limit of liability.
                                                                                                                                        7. Where we are required to cover prejudgment interest, it shall be included in the limit of liability and is not
                                                                                                                                              an additional amount of insurance.

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SUPPLEMENTARY PAYMENTS
We will pay on behalf of an insured:
    1. Up to $250 for the cost of bail bonds required because of an accident, including related traffic law
          violations. The accident must result in bodily injury or property damage covered under this policy. We
          are not obligated to apply for or furnish such bonds.
     2.   Premiums on appeal bonds and bonds to release attachments in any suit we defend.
     3.   Up to $200 a day for loss of earnings, but not other income, because of attendance at hearings or trials
          at our request.
     4.   Other reasonable expenses incurred at our request.
     5.   All expenses incurred by an insured for first aid to others at the time of the accident, not to exceed
          $10,000.
EXCLUSIONS
A. To the extent that the limits of liability for this coverage exceed the minimum limits required by the Kentucky
     Motor Vehicle Reparations Act, we do not provide Liability Coverage for:
     1. Any insured who intentionally causes bodily injury or property damage even if such bodily injury or
         property damage is of a different kind or degree than expected or intended, or such bodily injury or
         property damage is sustained by a different person or persons than expected or intended.
     2. Property damage to property owned by the insured or being transported by that insured.
     3. Property damage to property:
         a. rented to;
         b. used by; or
         c. in the care of;
         any insured.
         This exclusion (A.3.) does not apply to property damage to a residence or private garage.
     4. Bodily injury to an employee of any insured during the course of employment. This exclusion (A.4.)
         does not apply to bodily injury to a domestic employee unless workers compensation benefits are
         required or available for that domestic employee.
     5. Any insured’s liability arising out of the ownership or operation of a vehicle while it is being used as a
         public or livery conveyance. This exclusion (A.5.) does not apply to a share-the-expense car pool.




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     6. Any insured using any vehicle while employed in the pickup or delivery of newspapers or magazines,




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         food or any products for the purpose of compensation. This exclusion does not apply to delivery that is
         incidental to an insured’s business.
     7. a. Any insured while employed or otherwise engaged in the business of:
              (1) selling;
              (2) repairing;
              (3) servicing;
              (4) storing; or
              (5) parking;
              vehicles designed for use mainly on public highways. This includes road testing and delivery.
         b. This exclusion (A.7.) does not apply to the ownership, maintenance or use of your covered auto
              by:
              (1) you;
              (2) any family member; or
              (3) any partner, agent or employee of you or any family member.

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                                                                                                                                         8. Any insured maintaining or using any vehicle while that insured is employed or otherwise engaged in
                                                                                                                                            any business (other than farming or ranching) not described in Exclusions A.6. or A.7. This exclusion
                                                                                                                                            (A.8.) does not apply to the maintenance or use of a:
                                                                                                                                            a. private passenger auto;
                                                                                                                                            b. pickup, motorhome or van that:
                                                                                                                                                 (1) you own; or
                                                                                                                                                 (2) you do not own while used as a temporary substitute for your covered auto which is out of
                                                                                                                                                     normal use because of its:
                                                                                                                                                     (a) breakdown;
                                                                                                                                                     (b) repair;
                                                                                                                                                     (c) servicing;
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                                                                                                                                                     (d) loss; or
                                                                                                                                                     (e) destruction; or
                                                                                                                                           c. trailer used with a vehicle described in A.8.a. or A.8.b. above.
                                                                                                                                       9. a. Bodily injury or property damage for which any insured:
                                                                                                                                                (1) is an insured under a nuclear energy liability policy; or
                                                                                                                                                (2) would be an insured under a nuclear energy liability policy but for its termination upon
                                                                                                                                                     exhaustion of its limit of liability.
                                                                                                                                           b. A nuclear energy liability policy is a policy issued by any of the following or their successors:
                                                                                                                                                (1) Nuclear Energy Liability Insurance Association;
                                                                                                                                                (2) Mutual Atomic Energy Liability Underwriters; or
                                                                                                                                                (3) Nuclear Insurance Association of Canada.
                                                                                                                                       10. Punitive or exemplary damages awarded against any insured to the extent that the total payment for
                                                                                                                                           compensatory and punitive or exemplary damages combined exceeds the liability limits of the policy.
                                                                                                                                       11. Bodily injury or property damage arising out of the use of your covered auto while leased or rented
                                                                                                                                           to others. However, this exclusion does not apply to the operation of your covered auto by you or a
                                                                                                                                           family member.
                                                                                                                                       12. Bodily injury or property damage arising out of a criminal act or omission of the insured. This
                                                                                                                                           exclusion applies regardless of whether that insured is actually charged with, or convicted of, a crime.
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                                                                                                                                           However, this exclusion (12.) does not apply to traffic violations.
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                                                                                                                                    B. We do not provide Liability Coverage for any insured:
                                                                                                                                       1. For property damage to property owned by that insured.
                                                                                                                                       2. Using a vehicle without the express or implied permission of the owner or other person having lawful
                                                                                                                                           possession, or using a vehicle beyond the scope of the permission granted. However, this exclusion
                                                                                                                                           does not apply to a family member using your covered auto.
                                                                                                                                    C. We do not provide Liability Coverage for the ownership, maintenance or use of:
                                                                                                                                       1. a. Any vehicle which:
                                                                                                                                                (1) has fewer than four wheels;
                                                                                                                                                (2) is designed mainly for use off public roads.
                                                                                                                                                (3) is a vehicle not licensed for use on public roads.
                                                                                                                                           b. This exclusion does not apply:
                                                                                                                                                (1) while such vehicle is being used by an insured in a medical emergency; or
                                                                                                                                                (2) to any trailer.

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               (3) to any motorized vehicle having fewer than four wheels:
                   (a) such vehicle is loaned by a person, firm or corporations engaged in the business of
                       selling, repairing and servicing motor vehicles;
                  (b) such vehicle is used as a temporary substitute for your covered auto which is out of
                       normal use because of its breakdown, repair or servicing; and
                  (c) the bodily injury or property damage results from an auto accident caused by the
                       negligence of you or any family member.
     2. Any vehicle, other than your covered auto, which is:
        a. owned by you; or
        b. furnished or available for your regular use.
     3. a. Any vehicle, other than your covered auto, which is:
            (1) owned by any family member or other person who resides with you; or
            (2) furnished or available for the regular use of any family member or other person who resides
                  with you.
        b. However, this exclusion (B.3.) does not apply to you while you are maintaining or occupying any
            vehicle which is:
            (1) owned by a family member or other person who resides with you; or
            (2) furnished or available for the regular use of a family member or other person who resides
                  with you.
     4. Any vehicle while it is:
        a. operating on a surface designed or used for racing, except for an organized and controlled event
            that is not a speed, performance, stunt or demolition event;
        b. participating in a high performance driving or racing instruction course or school; or
        c. preparing for, practicing for, used in, or competing in any prearranged or organized:
            (1) race activity; or
            (2) speed, performance, stunt, or demolition contest or exhibition.
LIMIT OF LIABILITY
A. If the Declarations indicates “per person”/“per accident” coverage applies:




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     The limit of liability as shown in the Declarations for “each person” for Bodily Injury Liability is our maximum




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     limit of liability for all damages, including damages for care and loss of services (including loss of consortium
     and wrongful death), arising out of bodily injury sustained by any one person in any one auto accident.
     Subject to this limit for “each person”, the limit of liability shown in the Declarations for “each accident” for
     Bodily Injury Liability is our maximum limit of liability for all damages for bodily injury resulting from any one
     auto accident.
     The limit of liability shown in the Declarations for each accident for Property Damage Liability is our
     maximum limit of liability for all property damage resulting from any one accident.
     This is the most we will pay regardless of the number of:
     1. Insureds;
     2. Claims made;
     3. Vehicles or premiums shown in the Declarations; or
     4. Vehicles involved in the auto accident.




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                                                                                                                                    B. If the Declarations indicate Combined Single Limit applies, Paragraph A. above is replaced by the
                                                                                                                                       following:
                                                                                                                                       The limit of liability shown in the Declarations for this coverage is our maximum limit of liability for all
                                                                                                                                       damages resulting from any one auto accident. This is the most we will pay regardless of the number of:
                                                                                                                                       1. Insureds;
                                                                                                                                       2. Claims made;
                                                                                                                                       3. Vehicles or premiums shown in the Declarations; or
                                                                                                                                       4. Vehicles involved in the auto accident.
                                                                                                                                       We will apply the limit of liability to provide any separate limits required by law for bodily injury and property
                                                                                                                                       damage liability. However, this provision will not change our total limit of liability.
                                                                                                                                    C. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and:
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                                                                                                                                       1. Part B or Part C of this policy.
                                                                                                                                       2. Any Underinsured Motorists Coverage provided by this policy.
                                                                                                                                    D. A vehicle and attached trailer are considered one vehicle. Therefore the limits of liability will not be
                                                                                                                                       increased for an accident involving a vehicle which has an attached trailer.
                                                                                                                                    OUT OF STATE COVERAGE
                                                                                                                                    If an auto accident to which this policy applies occurs in any state or province other than the one in which your
                                                                                                                                    covered auto is principally garaged, we will interpret your policy for that accident as follows:
                                                                                                                                    A. If the state or province has:
                                                                                                                                         1. A financial responsibility or similar law specifying limits of liability for bodily injury or property damage
                                                                                                                                           higher than the limit shown in the Declarations, your policy will provide the higher specified limit.
                                                                                                                                       2. A compulsory insurance or similar law requiring a nonresident to maintain insurance whenever the
                                                                                                                                           nonresident uses a vehicle in that state or province, your policy will provide at least the required
                                                                                                                                           minimum limits and types of coverage.
                                                                                                                                    B. No one will be entitled to duplicate payments for the same elements of loss.
                                                                                                                                    FINANCIAL RESPONSIBILITY
                                                                                                                                    When this policy is certified as future proof of financial responsibility, this policy shall comply with the law to the
                                                                                                                                    extent required. The insured must reimburse us if we make a payment that we would not have made if this policy
                                                                                                                                    was not certified as proof of financial responsibility.
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                                                                                                                                    OTHER INSURANCE
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                                                                                                                                    If there is other applicable liability insurance available any insurance we provide shall be excess over any other
                                                                                                                                    applicable liability insurance. If more than one policy applies on an excess basis, we will bear our proportionate
                                                                                                                                    share with other collectible liability insurance. However, any insurance we provide for a vehicle you do not own
                                                                                                                                    shall be primary if:
                                                                                                                                          1. Such vehicle is loaned by a person, firm or corporation engaged in the business of selling, repairing
                                                                                                                                               and servicing motor vehicles;
                                                                                                                                          2. Such vehicle is used as a temporary substitute for a your covered auto which is out of normal use
                                                                                                                                               because of its breakdown, repair or servicing; and
                                                                                                                                          3. The bodily injury or property damage results from an auto accident caused by the negligence of you
                                                                                                                                               or any family member.




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                           PERSONAL INJURY PROTECTION COVERAGE


INSURING AGREEMENT
We will pay usual and customary charges , in accordance with Kentucky Revised Statutes Chapter 304, Sub
Title 39, personal injury protection benefits for:
1. Funeral expense;
2. Medical expense;
3. Replacement services loss;
4. Survivor’s economic loss;
5. Survivor’s replacement services loss; and
6. Work loss;
incurred with respect to bodily injury sustained by an insured and caused by an accident arising out of the
operation, maintenance or use of a motor vehicle as a vehicle.
We have a right to review medical expenses and services to determine if they are reasonable and necessary for
the bodily injury sustained. However, there will be a rebuttable presumption that medical expenses are
reasonable.
DEFINITIONS
When used in reference to this coverage:
“Insured” means:
1. The named insured or any family member who sustains bodily injury while occupying or while a
     pedestrian through being struck by any motor vehicle. However, if the insured has rejected the limitation
     upon such person’s tort rights pursuant to Kentucky Revised Statutes Chapter 304, Sub Title 39, such
     person shall not be an insured, unless basic Personal Injury Protection Coverage has subsequently been
     purchased for such insured under this policy; or
2. Any other person who sustains bodily injury while occupying or while a pedestrian through being struck
     by the insured motor vehicle. However, if such person has rejected the limitation upon such person’s tort
     rights pursuant to Kentucky Revised Statutes Chapter 304, Sub Title 39, such person shall not be an
     insured.
However, any rejection of tort limitations applicable solely to motorcycles shall not affect the status of any person
as an eligible injured person with respect to any motor vehicle other than a motorcycle.




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“Family member” means the spouse, domestic partner or civil partner and any person related to the named




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insured by blood, marriage, or adoption including a minor in the custody of:
1. the named insured;
2. the named insured’s spouse, domestic partner or civil partner; or
3. any related person,
who is a resident of the named insured’s household or who is temporarily residing elsewhere.
However, family member does not include any such person who is the named insured under any other policy
providing the security under Kentucky Revised Statutes Chapter 304, Sub Title 39.
“Funeral expense” means reasonable charges incurred for expenses in any way related to funeral, cremation or
burial.
“Insured motor vehicle” means a motor vehicle with respect to which:
1. The Bodily Injury Liability Coverage of the policy applies and for which a specific premium is charged; and
2. The named insured is required to maintain security under the provisions of Kentucky Revised Statutes
     Chapter 304, Sub Title 39.


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                                                                                                                                    “Medical expense” means usual and customary charges incurred for reasonable and necessary products,
                                                                                                                                    services, and accommodations including those for:
                                                                                                                                    1. Medical care, physical rehabilitation, rehabilitative occupational training, licensed ambulance services and
                                                                                                                                         other remedial treatment and care;
                                                                                                                                    2. Any nonmedical remedial treatment rendered in accordance with a recognized religious method of healing;
                                                                                                                                         and
                                                                                                                                    3. Any healing arts professions of a type licensed by the Commonwealth of Kentucky.
                                                                                                                                    Medical expense shall not include that portion of a charge for a room in a:
                                                                                                                                    1. Hospital, clinic, convalescent or nursing home; or
                                                                                                                                    2. Any other institution engaged in providing nursing care and related services;
                                                                                                                                    in excess of a usual and customary charge for semiprivate accommodations, unless intensive care is medically
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                                                                                                                                    required.
                                                                                                                                    “Motor vehicle” means a vehicle as defined in Kentucky Revised Statutes Chapter 304, Sub Title 39.
                                                                                                                                    “Named insured” means the person or organization named in the Declarations.
                                                                                                                                    “Pedestrian” means a person who is not occupying a motor vehicle at the time the injury occurs.
                                                                                                                                    “Replacement services loss” means expenses reasonably incurred in obtaining ordinary and necessary
                                                                                                                                    services instead of those the insured would have performed, not for income, but for his or his family’s benefit had
                                                                                                                                    he not sustained bodily injury. “Replacement services loss” does not include expenses for services obtained
                                                                                                                                    from any family member.
                                                                                                                                    “Survivor” means a person identified in Kentucky Revised Statutes Section 411.130 as one entitled to receive
                                                                                                                                    benefits by reason of the death of another person.
                                                                                                                                    “Survivor’s economic loss” means loss after an insured’s death of contributions of things of economic value to
                                                                                                                                    his or her survivors. This does not include services they would have received from the insured had he not died.
                                                                                                                                    Survivor’s economic loss shall be reduced by expenses of the survivors avoided by reason of the insured’s
                                                                                                                                    death.
                                                                                                                                    “Survivor’s replacement services loss” means expenses reasonably incurred by survivors after an insured’s
                                                                                                                                    death in obtaining ordinary and necessary services instead of those the insured would have performed for their
                                                                                                                                    benefit had he not died. Such expenses shall be reduced by expenses of the survivors avoided by reason of the
                                                                                                                                    insured’s death and not subtracted in calculating survivor’s economic loss.
                                                                                                                                    “Usual and customary charges” as used in this Part mean:
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                                                                                                                                    Any amount which we determine represents a reasonable and customary charge for reasonably needed medical
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                                                                                                                                    services. To determine whether a charge is reasonable and customary, we may consider outside sources of
                                                                                                                                    information of our choice, including, but not limited to:
                                                                                                                                    1. Licensed, certified or registered health care professionals;
                                                                                                                                    2. Medical examinations;
                                                                                                                                    3. Medical file reviews;
                                                                                                                                    4. Medical bill review services; or
                                                                                                                                    5. Computerized data bases.
                                                                                                                                    If we determine a charge is not customary, we may negotiate a reduction in the charge as allowed by law. We will
                                                                                                                                    be responsible for resolving such disputes.
                                                                                                                                    “Work loss” means:
                                                                                                                                    1. Loss of income from work an insured would probably have performed if he or she had not sustained bodily
                                                                                                                                         injury.
                                                                                                                                    2. Expenses reasonably incurred by an insured in obtaining services instead of those he would have
                                                                                                                                         performed for income.
                                                                                                                                    Work loss shall be reduced by any income from substitute work actually performed by the insured.
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EXCLUSIONS
A. This coverage does not apply to bodily injury:
   1. Sustained by the named insured or any family member, who has not rejected their tort limitation
        pursuant to Kentucky Revised Statutes Chapter 304, Sub Title 39, while occupying or while a
        pedestrian through being struck by, any motor vehicle, other than the insured motor vehicle, with
        respect to which the security required under the Kentucky Revised Statutes Chapter 304, Sub Title 39,
        is in effect unless the provider of such security fails to make payment for loss within 30 days of
        reasonable proof of the fact and the amount of loss sustained;
   2. Sustained by any insured if such injury arises from that insured’s conduct within the course of a
        business of repairing, servicing or otherwise maintaining motor vehicles unless such conduct occurs
        off the business premises;
   3. Sustained by any insured arising from conduct in the course of loading or unloading any motor vehicle
        unless such conduct occurs while occupying such motor vehicle;
   4. Sustained by any insured other than the named insured or any family member which arises from the
        operation, maintenance or use of a motor vehicle without a good faith belief that that insured is legally
        entitled to do so;
   5. Sustained by any pedestrian, other than the named insured or any family member, outside the
        Commonwealth of Kentucky;
   6. Any insured, other than the named insured or any family member , while occupying a motor vehicle
        which is:
        a. regularly used in the course of the business of transporting persons or property; and
        b. one of five or more motor vehicles under common ownership;
        if the accident occurs outside of Kentucky.
        However, this Exclusion (A.6.) does not apply if:
        a. the insured is a Kentucky resident;
        b. the motor vehicle the insured is occupying at the time of the accident is a bus which:
              (1) is secured as required by the Kentucky Motor Vehicle Reparations Act; and
              (2) is registered in Kentucky; and
        c. the insured boarded the bus in Kentucky.
   7. Any insured, other than the named insured or any family member , while occupying a motor vehicle




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        owned by a government, other than the Kentucky state government or its:




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        a. political subdivisions;
        b. municipal corporations; or
        c. public agencies;
        if the accident occurs outside of Kentucky.
   8. Sustained by any insured arising out of the use of any motor vehicle while located as a residence or
        premises;
   9. Due to war, whether or not declared, civil war, insurrection, rebellion or revolution, or to any act or
        condition incident to any of the foregoing.
   10. Resulting from the radioactive, toxic, explosive or other hazardous properties of nuclear material;
   11. Sustained by any insured while occupying a motorcycle.
B. This coverage does not apply to any benefits any insured would otherwise be entitled to receive hereunder
   for bodily injury intentionally caused by such insured or arising out of intentionally attempting to cause
   bodily injury, and if any insured dies as a result of intentionally causing or attempting to cause bodily
   injury to himself or herself, the survivors are not entitled to any survivors’ economic loss or survivors’
   replacement services loss benefits.

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                                                                                                                                    LIMIT OF LIABILITY
                                                                                                                                    Regardless of the number of insureds, policies or approved plans of self-insurance applicable, claims made or
                                                                                                                                    insured motor vehicles to which this coverage applies, our liability for personal injury protection benefits with
                                                                                                                                    respect to bodily injury sustained by any one insured in any one motor vehicle accident shall not exceed
                                                                                                                                    $10,000 in the aggregate, and subject to such aggregate limit:
                                                                                                                                    1. The maximum payable for funeral expense shall not exceed $1,000.
                                                                                                                                    2. The maximum amount payable for replacement services loss, survivor’s economic loss, survivor’s
                                                                                                                                         replacement services loss and work loss shall not exceed $200 per week in the aggregate prorated for
                                                                                                                                         any lesser period provided that if the insured’s earnings or work are seasonal or irregular, the weekly limit
                                                                                                                                         shall be equitably adjusted or apportioned on an annual basis.
                                                                                                                                    Any amount payable by the company under the terms of this coverage shall be reduced by any applicable
                                                                                                                                    deductible shown in the Declarations, but only with respect to bodily injury sustained by the named insured or
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                                                                                                                                    any family member, provided that, if two or more such persons sustain bodily injury in the same motor vehicle
                                                                                                                                    accident, such deductible applicable to all of them shall not exceed such deductible amount and such amount
                                                                                                                                    shall be allocated equally among them. Provided further that, a named insured or any family member is entitled
                                                                                                                                    to receive under this coverage the difference between this deductible and a greater deductible applicable under
                                                                                                                                    another policy applying to Personal Injury Protection Coverage pursuant to Kentucky Revised Statutes Chapter
                                                                                                                                    304, Sub Title 39.
                                                                                                                                    In calculating loss or expense from which personal injury protection benefits are payable under this coverage, a
                                                                                                                                    reduction shall be made in the amount of:
                                                                                                                                    1. All benefits or advantages a person receives or is entitled to receive from workers compensation, unless the
                                                                                                                                         benefits or advantages have not been received before personal injury protection benefits are overdue or the
                                                                                                                                         claim is paid;
                                                                                                                                    2. Any income tax saving resulting from benefits or advantages received for loss of income under this coverage
                                                                                                                                         or from like benefits or advantage received under workers compensation which are not considered taxable
                                                                                                                                         income, provided that the maximum reduction may not exceed 15% of the loss of income and shall be in
                                                                                                                                         lesser amount if the claimant furnishes to the company reasonable proof of a lower value of the income tax
                                                                                                                                         advantage.
                                                                                                                                    CONDITIONS
                                                                                                                                    A. Action Against Us. No action shall lie against the company unless as a condition precedent thereto, there
                                                                                                                                         shall have been full compliance with all the terms of this coverage.
                                                                                                                                    B.   Notice. In the event of an accident, written notice containing particulars sufficient to identify the insured, and
                                                                                                                                         also reasonably obtainable information respecting the time, place and circumstances of the accident shall be
                                                                                                                                         given by or on behalf of each insured to us or any of our authorized agents as soon as practicable.
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                                                                                                                                    C.   Medical Reports; Proof of Claim. As soon as practicable, the insured or someone on such person’s behalf
                                                                                                                                         shall give us written proof of claim, under oath if required, including full particulars of the nature and extent of
                                                                                                                                         the bodily injury, treatment and rehabilitation received and contemplated, and such other information as
                                                                                                                                         may assist us in determining the amount due and payable. The insured shall submit when required by a
                                                                                                                                         court to a physical or mental exam by a physician specified in the court order.
                                                                                                                                    D.   Subrogation. Subject to the provisions of the Kentucky Revised Statutes Chapter 304, Sub Title 39, in the
                                                                                                                                         event of any payment under this coverage, we are subrogated to the rights of the person to whom or for
                                                                                                                                         whose benefit such payments were made to the extent of such payments. Such person shall execute and
                                                                                                                                         deliver the instruments and papers and do whatever else is necessary to secure such rights. Such person
                                                                                                                                         shall do nothing after loss to prejudice such rights.
                                                                                                                                    E.   Reimbursement and Trust Agreement. Subject to the provisions of the Kentucky Revised Statutes Chapter
                                                                                                                                         304, Sub Title 39, in the event of the payment to any person under this coverage:
                                                                                                                                         1. We shall be entitled to the extent of such payment to the proceeds of any settlement or judgment that
                                                                                                                                              may result from the exercise of any rights of recovery of such person against any person or organization
                                                                                                                                              legally responsible for the bodily injury because of which such payment is made.
                                                                                                                                              We shall have a lien to the extent of such payment, notice of which may be given to the person or
                                                                                                                                              organization causing such bodily injury, his or her agent or insurer or a court having jurisdiction in the
                                                                                                                                              matter;
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     2. Such person shall hold in trust for our benefit all rights of recovery which he or she shall have against
        such other person or organization because of such bodily injury;
     3. Such person shall do whatever is proper to secure and shall do nothing after loss to prejudice such
        rights; and
     4. Such person shall execute and deliver to us all instruments and papers as may be appropriate to secure
        the rights and obligations of such person and us established by this provision.
F. Other Insurance.
   No insured shall recover duplicate benefits for the same elements of loss under this or any similar
   insurance, including approved self-insurance plans. In the event an insured has other similar insurance,
     including approved self-insurance plans, available and applicable to the accident, the maximum recovery
     under all such insurance shall not exceed the amount which would have been payable under the provisions
     of the insurance providing the highest dollar limit, and we shall not be liable for a greater proportion of any
     loss to which this coverage applies than the limit of liability hereunder bears to the sum of the applicable limit
     of liability of this coverage and such other insurance.
COORDINATION OF COVERAGE
In consideration of the coverage afforded under Personal Injury Protection Coverage and the adjustment of
applicable rates, any amount payable under Uninsured Motorists Coverage or Medical Payments Coverage
afforded under this policy shall be excess over any personal injury protection benefits paid or payable but for the
application of a deductible under this or any other automobile insurance policy because of bodily injury
sustained by an insured.
However, no insured may recover duplicate benefits for the same element of loss.
CONSTITUTIONALITY CLAUSE
The premium for and the coverages of the policy have been established in reliance upon the provisions of the
Kentucky Revised Statutes Chapter 304, Sub Title 39. In the event a court of competent jurisdiction declares, or
enters a judgment the effect of which is to render, the provisions of such statutes invalid or unenforceable in
whole or in part, we shall have the right to recompute the premium payable for the policy and the provisions of this
coverage shall be voidable or subject to amendment at our option.
Notice to Policyholders
Acceptance of the coverage described in Kentucky Revised Statutes Chapter 304, Sub Title 39, places some
limitations on your right to bring suit for bodily injury, KRS 304.39-060 reads in part:
      (1) Any person who registers, operates, maintains or uses a motor vehicle on the public roadways of this
           Commonwealth shall, as a condition of such registration, operation, maintenance or use of such motor
           vehicle and use of the public roadways, be deemed to have accepted the provisions of this subtitle and




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           in particular those provisions which are contained in this section.




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      (2) (a) Tort liability with respect to accidents occurring in this Commonwealth and arising from the
                ownership, maintenance, or use of a motor vehicle is “abolished” for damages because of bodily
                injury, sickness or disease to the extent the basic reparation benefits provided in this subtitle are
                payable therefor, or that would be payable but for any deductible authorized by this subtitle, under
                any insurance policy or other method of security complying with the requirements of this subtitle,
                except to the extent non-economic detriment qualifies under paragraph (b) of this subsection.
           (b) In any action of tort brought against the owner, registrant, operator or occupant of a motor vehicle
                with respect to which security has been provided as required in this subtitle, or against any person
                or organization legally responsible for his or her acts or omissions, a plaintiff may recover damages
                in tort for pain, suffering, mental anguish and inconvenience because of bodily injury, sickness or
                disease arising out of the ownership, maintenance, operation or use of such motor vehicle only in
                the event that the benefits which are payable for such injury as medical expense or which would
                be payable but for any exclusion or deductible authorized by this subtitle exceed one thousand
                dollars ($1,000), or the injury or disease consists in whole or in part of permanent disfigurement, a
                fracture to a bone, a compound, comminuted, displaced or compressed fracture, loss of a body
                member, permanent injury within reasonable medical probability, permanent loss of bodily function
                or death. Any person who is entitled to receive free medical and surgical benefits shall be deemed


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                                                                                                                                                   in compliance with the requirements of this subsection upon a showing that the medical treatment
                                                                                                                                                   received has an equivalent value of at least $1,000.
                                                                                                                                             (c) Tort liability is not so limited for injury to a person who is not an owner, operator, maintainer or user
                                                                                                                                                   of a motor vehicle within subsection (1) of this section nor for injury to the passenger of a
                                                                                                                                                   motorcycle arising out of the maintenance or use of such motorcycle.
                                                                                                                                        (3) “Any person may refuse to consent to the limitations of his or her tort rights and liabilities as contained in
                                                                                                                                             this section. Such rejection must be completed in writing or electronically in a form to be prescribed by
                                                                                                                                             the Department of Insurance and must have been executed and filed with the Department at a time prior
                                                                                                                                             to any motor vehicle accident for which such rejection is to apply...”
                                                                                                                                    These are some of the exceptions to the limitations on your right to sue and are not intended to comprise a
                                                                                                                                    complete enumeration of all circumstances under which suit may be brought for bodily injury .
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                                                                                                                                                                PART B — MEDICAL PAYMENTS COVERAGE


                                                                                                                                    INSURING AGREEMENT
                                                                                                                                    A. We will pay usual and customary charges incurred for reasonable and necessary medical and funeral
                                                                                                                                        expenses because of bodily injury:
                                                                                                                                        1. Caused by accident; and
                                                                                                                                        2. Sustained by an insured.
                                                                                                                                       We will pay only those expenses incurred for services rendered within three (3) years from the date of the
                                                                                                                                       accident.
                                                                                                                                       We have aright to review medical expenses and services to determine if they are reasonable and necessary
                                                                                                                                       for the bodily injury sustained.
                                                                                                                                    B. “Insured” as used in this Part means:
                                                                                                                                       1. You or any family member:
                                                                                                                                             a. while occupying; or
                                                                                                                                             b. as a pedestrian or bicyclist when struck by;
                                                                                                                                             a motor vehicle designed for use mainly on public roads or a trailer of any type.
                                                                                                                                       2. Any other person while occupying your covered auto with your express or implied permission. The
                                                                                                                                             actual use must be within the scope of that permission.
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                                                                                                                                       3. Any other person while occupying, as a guest, an automobile not owned by you or a family member,
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                                                                                                                                             while being operated by you or a family member.
                                                                                                                                    C. “Usual and customary charges” as used in this Part mean:
                                                                                                                                       Any amount which we determine represents a customary charge for services in the geographic area in which
                                                                                                                                       the service is rendered. To determine whether a charge is customary, we may consider outside sources of
                                                                                                                                       information of our choice, including, but not limited to:
                                                                                                                                       1. Licensed, certified or registered health care professionals;
                                                                                                                                       2. Medical examinations;
                                                                                                                                       3. Medical file reviews;
                                                                                                                                       4. Medical bill review services; or
                                                                                                                                       5. Computerized data bases.
                                                                                                                                       The insured shall not be responsible for payment of any reduction applied by us. If a medical provider
                                                                                                                                       disputes an amount paid by us, we will be responsible for resolving such disputes.




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EXCLUSIONS
We do not provide Medical Payments Coverage for any insured for bodily injury:
    1. Sustained while occupying any motorized vehicle having fewer than four wheels.
    2. Sustained while occupying your covered auto when it is being used as a public or livery conveyance.
        This exclusion (2.) does not apply to a share-the-expense car pool.
    3. Sustained while occupying any vehicle while employed in the pickup or delivery of newspapers or
        magazines, food or any products for the purpose of compensation. This exclusion does not apply to
        delivery that is incidental to an insured’s business.
    4. Sustained while occupying any vehicle located for use as a residence or premises.
    5. Occurring during the course of employment if workers compensation benefits are required or available
        for the bodily injury.
    6. Sustained while occupying, or when struck by, any vehicle (other than your covered auto) which is:
        a. owned by you; or
        b. furnished or available for your regular use.
    7. Sustained while occupying, or when struck by, any vehicle (other than your covered auto) which is:
        a. owned by any family member or other person who resides with you; or
        b. furnished or available for the regular use of any family member or other person who resides with
              you.
        However, this exclusion (7.) does not apply to you.
    8. Sustained while occupying a vehicle without the express or implied permission of the owner or other
        person having lawful possession, or using a vehicle beyond the scope of the permission granted.
        However, this exclusion does not apply to a family member using your covered auto.
    9. Sustained while occupying a vehicle when it is being used in the business of an insured. This
        exclusion (9.) does not apply to bodily injury sustained while occupying a:
        a. private passenger auto;
        b. pickup, van or motorhome that you own; or
        c. trailer used with a vehicle described in a. or b. above.
    10. Caused by or as a consequence of:
        a. discharge of a nuclear weapon (even if accidental);




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        b. war (declared or undeclared);
        c. civil war;
        d. insurrection; or
        e. rebellion or revolution.
    11. From or as a consequence of the following, whether controlled or uncontrolled or however caused:
        a. nuclear reaction;
        b. radiation; or
        c. radioactive contamination.
    12. Sustained while occupying any vehicle while it is:
        a. operating on a surface designed or used for racing except for an organized and controlled event
              that is not a speed, performance, stunt or demolition event;
        b. participating in a high performance driving or racing instruction course or school; or
        c. preparing for, practicing for, used in, or competing in any prearranged or organized:
              (1) race activity; or
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                                                                                                                                                   (2) speed, performance, stunt, or demolition contest or exhibition.
                                                                                                                                         13. Caused by the actual, alleged or threatened presence, growth, proliferation or spread of fungi or
                                                                                                                                              bacteria.
                                                                                                                                    LIMIT OF LIABILITY
                                                                                                                                    A. The limit of liability shown in the Declarations for this coverage is our maximum limit of liability for each
                                                                                                                                       person injured in any one accident. This is the most we will pay regardless of the number of:
                                                                                                                                       1. Insureds;
                                                                                                                                       2. Claims made;
                                                                                                                                       3. Vehicles or premiums shown in the Declarations; or
                                                                                                                                       4. Vehicles involved in the accident.
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                                                                                                                                    B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and
                                                                                                                                       Part A or Part C of this policy.
                                                                                                                                    OTHER INSURANCE
                                                                                                                                    If there is other applicable auto medical payments insurance available any insurance we provide shall be excess
                                                                                                                                    over any other applicable auto medical payments insurance. If more than one policy applies on an excess basis,
                                                                                                                                    we will bear our proportionate share with other collectible auto medical payments insurance.

                                                                                                                                                             PART C — UNINSURED MOTORISTS COVERAGE


                                                                                                                                    INSURING AGREEMENT
                                                                                                                                    A. We will pay damages which an insured is legally entitled to recover from the owner or operator of an
                                                                                                                                        uninsured motor vehicle because of bodily injury:
                                                                                                                                        1. Sustained by that insured; and
                                                                                                                                        2. Caused by an accident.
                                                                                                                                       The owner’s or operator’s liability for these damages must arise out of the ownership, maintenance or use of
                                                                                                                                       the uninsured motor vehicle.
                                                                                                                                       Any judgment for damages arising out of suit brought without our written consent is not binding on us.
                                                                                                                                    B. “Insured” as used in this Part means:
                                                                                                                                       1. You or any family member.
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                                                                                                                                       2. Any Rated Driver shown on the Declarations other than you or a family member.
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                                                                                                                                       3. Any other person occupying your covered auto with your express or implied permission. The actual
                                                                                                                                            use must be within the scope of that permission.
                                                                                                                                       4. Any person entitled to recover damages because of bodily injury to which this coverage applies
                                                                                                                                            sustained by a person described in B.1., B.2. or B3. above.
                                                                                                                                    C. “Uninsured motor vehicle” means a land motor vehicle or trailer of any type:
                                                                                                                                       1. To which no bodily injury liability bond or policy applies at the time of the accident.
                                                                                                                                       2. To which a bodily injury liability bond or policy applies at the time of the accident if its limit for bodily
                                                                                                                                            injury liability is less than the minimum limit for bodily injury liability.
                                                                                                                                       3. Which is a hit-and-run vehicle whose operator or owner cannot be identified and which hits:
                                                                                                                                            a. you or any family member;
                                                                                                                                            b. a vehicle which you or any family member are occupying;
                                                                                                                                            c. your covered auto; or
                                                                                                                                            d. another vehicle which, in turn, hits:
                                                                                                                                                 (1) your or any family member;
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               (2) a vehicle which you or any family member is occupying; or
               (3) your covered auto.
     4. To which a bodily injury liability bond or policy applies at the time of the accident, but the bonding or
        insuring company:
        a. denies coverage; or
        b. is or becomes insolvent.
     However, “uninsured motor vehicle” does not include any vehicle or equipment:
     1. Owned by or furnished or available for the regular use of you or any family member.
     2. Owned or operated by a self-insurer under any applicable motor vehicle law, except a self-insurer which
        is or becomes insolvent.
     3. Owned by any governmental unit or agency.
     4. Operated on rails or crawler treads.
     5. Designed mainly for use off public roads while not on public roads.
     6. While located for use as a residence or premises.
EXCLUSIONS
A. We do not provide Uninsured Motorists Coverage for bodily injury sustained by any insured:
   1. If that insured or the legal representative settles the bodily injury claim without our consent.
   2. While occupying your covered auto when it is being used as a public or livery conveyance. This
       exclusion (A.2.) does not apply to a share-the-expense car pool.
   3. While using any vehicle while employed in the pickup or delivery of newspapers or magazines, food or
        any products for the purpose of compensation. This exclusion does not apply to delivery that is
        incidental to an insured’s business.
   4. While using a vehicle without the express or implied permission of the owner or other person having
        lawful possession, or using a vehicle beyond the scope of the permission granted. However, this
        exclusion does not apply to you or any family member using your covered auto.
   5. While occupying or operating an owned motorcycle or moped.
   6. While using any vehicle while it is:
        a. operating on a surface designed or used for racing except for an organized and controlled event
             that is not a speed, performance, stunt or demolition event;




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        b. participating in a high performance driving or racing instruction course or school; or
        c. preparing for, practicing for, used in, or competing in any prearranged or organized:
             (1) race activity; or
             (2) speed, performance, stunt, or demolition contest or exhibition.
B. This coverage shall not apply directly or indirectly to benefit any insurer or self-insurer under any of the
   following or similar law:
   1. Workers compensation law; or
   2. Disability benefits law.
C. We do not provide Uninsured Motorists Coverage for punitive or exemplary damages.
LIMIT OF LIABILITY
A. The limit of liability shown in the Declarations for “each person” for Uninsured Motorists Coverage is our
     maximum limit of liability for all damages, including damages for care and loss of services (including loss of
     consortium and wrongful death), arising out of bodily injury sustained by any one person in any one auto
     accident.


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                                                                                                                                         Subject to this limit for “each person”, the limit of liability shown in the Declarations for “each accident” for
                                                                                                                                         Uninsured Motorists Coverage is our maximum limit of liability for all damages for bodily injury resulting
                                                                                                                                         from any one auto accident.
                                                                                                                                         This is the most we will pay regardless of the number of:
                                                                                                                                         1. Insureds;
                                                                                                                                         2. Claims made;
                                                                                                                                         3. Vehicles shown in the Declarations; or
                                                                                                                                         4. Vehicles involved in the accident.
                                                                                                                                    B.   If the Declarations indicate Combined Single Limit Coverage applies, paragraph (A.) above is replaced by
                                                                                                                                         the following:
                                                                                                                                         The limit of liability shown in the Declarations for Uninsured Motorists Coverage is our maximum limit of
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                                                                                                                                         liability for all damages for bodily injury resulting from any one auto accident. This is the most we will pay
                                                                                                                                         regardless of the number of:
                                                                                                                                         1. Insureds;
                                                                                                                                         2. Claims made;
                                                                                                                                         3. Vehicles shown in the Declarations; or
                                                                                                                                         4. Vehicles involved in the accident.
                                                                                                                                         We will apply the limit of liability to provide any separate limits required by law for bodily injury liability.
                                                                                                                                         However, this provision will not change our total limit of liability.
                                                                                                                                    C.   No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and
                                                                                                                                         Part A or Part B of this policy or Underinsured Motorists Coverage provided by this policy.
                                                                                                                                    D.   We will not make a duplicate payment under this coverage for any element of loss for which payment has
                                                                                                                                         been made by or on behalf of persons or organizations who may be legally responsible.
                                                                                                                                    E.   We will not pay for any element of loss if a person is entitled to receive payment for the same element of loss
                                                                                                                                         under any of the following or similar law:
                                                                                                                                         1. Workers compensation law; or
                                                                                                                                         2. Disability benefits or occupational disease laws.
                                                                                                                                    F.   A vehicle and attached trailer are considered one vehicle. Therefore the limits of liability will not be
                                                                                                                                         increased for an accident involving a vehicle which has an attached trailer.
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                                                                                                                                    OTHER INSURANCE
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                                                                                                                                    If there is other applicable insurance similar to the insurance provided under this Part of the policy, we will pay
                                                                                                                                    only our share of the loss. Our share is the proportion that our limit of liability bears to the total of all applicable
                                                                                                                                    limits. However, any insurance we provide with respect to a vehicle.
                                                                                                                                          1. you do not own, including any vehicle while used as a temporary substitute for your covered auto; or
                                                                                                                                          2. owned by you or any family member which is not insured for this coverage under this policy;
                                                                                                                                    Shall be excess over any other collectible insurance similar to the insurance provided by this coverage.
                                                                                                                                    ARBITRATION
                                                                                                                                    A. If we and an insured do not agree:
                                                                                                                                       1. Whether that insured is legally entitled to recover damages; or
                                                                                                                                       2. As to the amount of damages which are recoverable by that insured;
                                                                                                                                       from the owner or operator of an uninsured motor vehicle or underinsured motor vehicle then the matter
                                                                                                                                         may be arbitrated. However, disputes concerning coverage under this Part may not be arbitrated.
                                                                                                                                         Both parties must agree to arbitration. If so agreed, each party will select an arbitrator. The two arbitrators
                                                                                                                                         will select a third. If they cannot agree within 30 days, either may request that selection be made by a judge
                                                                                                                                         of a court having jurisdiction.
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B. Each party will:
   1. Pay the expenses it incurs, and
   2. Bear the expenses of the third arbitrator equally.
C. Unless both parties agree otherwise, arbitration will take place in the county in which the insured lives. Local
     rules of law as to procedure and evidence will apply. A decision agreed to by two of the arbitrators will not be
     binding.
ADDITIONAL DUTIES
A person seeking Uninsured Motorists Coverage must also promptly send us copies of the legal papers if a suit is
brought.

                      PART D — COVERAGE FOR DAMAGE TO YOUR AUTO


INSURING AGREEMENT
A. We will pay for direct and accidental loss to your covered auto or any non-owned auto, including its
    equipment, any child safety seat in use in your covered auto or non-owned auto, minus any applicable
    deductible shown in the Declarations. We will pay for loss to your covered auto caused by:
    1. Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for that
          auto.
     2. Collision only if the Declarations indicate that Collision Coverage is provided for that auto.
     If there is a loss to a non-owned auto, we will provide the broadest coverage applicable to any vehicle
   shown in the Declarations.
B. “Collision” means the upset of your covered auto or a non-owned auto or its impact with another vehicle
   or object.
   “Comprehensive” means loss, other than collision, to your covered auto or a non-owned auto. Losses
   caused by the following are not collision losses but are comprehensive losses:
   Loss caused by missiles or falling objects; fire; theft or larceny; explosion or earthquake; windstorm; hail,
   water or flood; malicious mischief or vandalism; riot or civil commotion; contact with a bird or animal; or
   breakage of glass.
   If breakage of glass is caused by a collision, you may elect to have it considered a loss caused by
   collision.




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C. 1. “Non-owned auto” means:




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        a. Any private passenger auto, pickup, van (other than a cargo van) or trailer with a Gross Vehicle
              Weight rating of 12,000 pounds or less or any cargo van or moving van with a Gross Vehicle
              Weight Rating of 18,000 pounds or less, not owned by or furnished or available for the regular use
              of you or any family member while in the custody of or being operated by you or any family
              member; or
        b. Any auto or trailer you do not own while used as a temporary substitute for your covered auto
              which is out of normal use because of its:
              (1) breakdown;
              (2) repair;
              (3) servicing;
              (4) loss; or
              (5) destruction.
   2. “Non-owned auto” does not include any vehicle which has been operated or rented by or in the
        possession of you or any family member for 30 or more consecutive days. This does not apply to a
        temporary substitute vehicle authorized by us.

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                                                                                                                                    D. “Camper body” means a body equipped as sleeping or living quarters which is designed to be mounted on
                                                                                                                                         a pickup.
                                                                                                                                    E. “Diminution in value” means the actual or perceived loss in market or resale value which results from a
                                                                                                                                         direct and accidental loss.
                                                                                                                                    DEDUCTIBLE
                                                                                                                                    Unless stated otherwise, the applicable deductible shown in the Declarations shall be applied to each accidental
                                                                                                                                    loss covered under this Part of the policy. However,
                                                                                                                                         1. If loss to more than one of your covered autos or a non-owned auto results from the same loss, only
                                                                                                                                             the highest applicable deductible will apply;
                                                                                                                                         2. In the event of a collision with another vehicle insured by:
                                                                                                                                             a. a Safeco insurance company; or
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                                                                                                                                             b. another Liberty Mutual Agency Corporation company;
                                                                                                                                              no deductible will apply.
                                                                                                                                              This does not include a vehicle described as your covered auto or non-owned auto.
                                                                                                                                         3. No deductible will apply to your covered auto or a non-owned auto if the loss to your covered auto
                                                                                                                                              or a non-owned auto results from the same event as a loss covered under your Safeco Homeowners,
                                                                                                                                              Condominium or Renters and we issue a payment under your Homeowners, Condominium or Renters
                                                                                                                                              policy for the loss.
                                                                                                                                    TRANSPORTATION EXPENSES
                                                                                                                                    A. Subject to the limitations described in paragraphs B. and C. below, we will pay:
                                                                                                                                       1. Temporary transportation expenses incurred by you in the event of the total theft of your covered auto
                                                                                                                                           or a non-owned auto. We will pay for such expenses only if the Declarations indicate that
                                                                                                                                            Comprehensive Coverage is provided for that auto. We will pay only expenses incurred during the
                                                                                                                                            period:
                                                                                                                                            a. beginning 48 hours after the theft; and
                                                                                                                                            b. ending when your covered auto or the non-owned auto is returned to use or we pay for its loss.
                                                                                                                                       2. Indirect loss expenses for which you become legally responsible in the event of a loss to a non-owned
                                                                                                                                            auto. We will pay only expenses beginning when the non-owned auto is withdrawn from use for more
                                                                                                                                            than 24 hours. We will pay for indirect loss expenses if the loss is caused by:
                                                                                                                                            a. a comprehensive loss only if the Declarations indicate that Comprehensive Coverage is provided
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                                                                                                                                                 for any your covered auto.
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                                                                                                                                            b. collision only if the Declarations indicate that Collision Coverage is provided for any your covered
                                                                                                                                                 auto.
                                                                                                                                    B. For the expenses described in paragraphs A.1. and A.2. we will pay the greater of the following, without
                                                                                                                                       application of a deductible:
                                                                                                                                       1. Up to $20 per day, to a maximum of $600; or
                                                                                                                                       2. The limit for Loss of Use, if any, shown in the Declarations.
                                                                                                                                    C. Our payment for the expenses described in paragraphs A.1. and A.2. will be limited to that period of time
                                                                                                                                       reasonably required to repair or replace the your covered auto or the non-owned auto.
                                                                                                                                    FULL SAFETY GLASS COVERAGE
                                                                                                                                    We will pay under Comprehensive Coverage for the cost of repairing or replacing damaged safety equipment on
                                                                                                                                    your covered auto without application of a deductible. We will pay only if the Declarations indicates that
                                                                                                                                    Comprehensive Coverage applies.
                                                                                                                                    “Safety equipment” as used in this coverage and as required in Kentucky Revised Statutes, means the:
                                                                                                                                        1. Glass used in windshields, windows and doors; and
                                                                                                                                        2. Glass, plastic or other material used in lights.
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EXCLUSIONS
We will not pay for:
    1. Loss to your covered auto or any non-owned auto which occurs while it is being used as a public or
          livery conveyance. This exclusion (1.) does not apply to a share-the-expense car pool.
    2. Loss to your covered auto or any non-owned auto while employed in the pickup or delivery of
          newspapers or magazines, food or any products for the purpose of compensation. This exclusion does
          not apply to delivery that is incidental to an insured’s business.
    3. Damage or loss due and confined to:
          a. wear and tear;
          b. freezing;
          c. mechanical or electrical breakdown or failure; or
          d. road damage to tires.
          This exclusion (3.) does not apply if the damage results from the total theft of your covered auto or any
          non-owned auto.
    4. Damage or loss arising out of neglect. Neglect means your failure to adequately maintain your covered
          auto or non-owned auto after the loss.
          With respect to water under Comprehensive Coverage, there is no coverage for:
          a. moisture, condensation, humidity, or vapor;
          b. water intrusion around or through panels, surfaces and seals; or
          c. water that collects in spaces or ventilation systems; or
          d. fungi, dry rot or bacteria;
          resulting from neglect.
    5. Loss due to or as a consequence of:
          a. discharge of any nuclear weapon (even if accidental);
          b. war (declared or undeclared);
          c. civil war;
          d. insurrection; or
          e. rebellion or revolution.




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    6. Loss from or as a consequence of the following, whether controlled or uncontrolled or however caused:
          a. nuclear reaction;
          b. radiation; or
          c. radioactive contamination.
    7. Loss to:
          a. any electronic equipment designed for the production or reproduction of sound, pictures, audio,
                visual or data or that receives or transmits sound, pictures or data signals.
          b. This exclusion (7.) does not apply to:
                (1) equipment designed for the reproduction of sound or transmission of sound, pictures, audio,
                     visual or data signals and accessories used with such equipment, provided:
                     (a) the electronic equipment is permanently installed by the original vehicle manufacturer or
                           manufacturer’s dealership in your covered auto or any non-owned auto; or
                     (b) the electronic equipment is:
                           i. removable from a housing unit which is permanently installed by the original vehicle
                                manufacturer or manufacturer’s dealership in the auto;
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                                                                                                                                                            ii. designed to be solely operated by use of the power from the auto’s electrical
                                                                                                                                                                    system; and
                                                                                                                                                              iii. in or upon your covered auto or any non-owned auto;
                                                                                                                                                               at the time of loss.
                                                                                                                                                         (c) any equipment installed through our Teen Safe DriverTM program.
                                                                                                                                                         However, we will pay only up to a total of $500 or the actual cash value of your covered auto
                                                                                                                                                         or any non-owned auto, whichever is less, for all such equipment that is not installed by the
                                                                                                                                                         original vehicle manufacturer or manufacturer’s dealership.
                                                                                                                                                   (2) any other electronic equipment that is:
                                                                                                                                                         (a) necessary for the normal operation of the auto or the monitoring of the auto’s operating
                                                                                                                                                              systems;
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                                                                                                                                                         (b) an integral part of the same unit housing any electronic equipment described in 7.a. and
                                                                                                                                                              permanently installed by the original vehicle manufacturer or manufacturer’s dealership in
                                                                                                                                                              your covered auto or any non-owned auto.
                                                                                                                                         8. Loss to:
                                                                                                                                             a. tapes, records, discs, or other media used with such equipment described in exclusion (7.); or
                                                                                                                                             b. any other accessories, not permanently installed used with such equipment described in exclusion
                                                                                                                                                   (7.).
                                                                                                                                         9. Loss to your covered auto or any non-owned auto due to destruction or confiscation by governmental
                                                                                                                                             or civil authorities because you or any family member:
                                                                                                                                             a. engaged in illegal activities; or
                                                                                                                                             b. failed to comply with Environmental Protection Agency or Department of Transportation standards.
                                                                                                                                             This exclusion (9.) does not apply to the interests of Loss Payees in your covered auto.
                                                                                                                                         10. Loss to a camper body, motorhome or trailer you own which is not shown in the Declarations. This
                                                                                                                                             exclusion (10.) does not apply to a camper body, motorhome or trailer you:
                                                                                                                                             a. acquire during the policy period; and
                                                                                                                                             b. ask us to insure within 30 days after you become the owner.
                                                                                                                                         11. Loss to any non-owned auto when used by you or any family member without the express or implied
                                                                                                                                             permission of the owner or other person having lawful possession, or using a vehicle beyond the scope
                                                                                                                                             of the permission granted.
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                                                                                                                                         12. Loss to equipment, whether operational or not, whose design may be used for the detection or location
                                                                                                                                             of law enforcement equipment.
                                                                                                                                         13. Loss to any non-owned auto being maintained or used by any person while employed or otherwise
                                                                                                                                             engaged in the business of:
                                                                                                                                             a. selling;
                                                                                                                                             b. repairing;
                                                                                                                                             c. servicing;
                                                                                                                                             d. storing; or
                                                                                                                                             e. parking;
                                                                                                                                             vehicles designed for use on public highways. This includes road testing and delivery.
                                                                                                                                         14. Loss to any non-owned auto being maintained or used by any person while employed or otherwise
                                                                                                                                             engaged in any business not described in exclusion 2. and 13. This exclusion (14.) does not apply to
                                                                                                                                             the maintenance or use by you or any family member of a non-owned auto which is a private
                                                                                                                                             passenger auto or trailer.


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     15. Loss to your covered auto or any non-owned auto while it is:
         a. operating on a surface designed or used for racing. This does not apply to an organized and
               controlled event that is not a speed, performance, stunt or demolition event;
         b. participating in a high performance driving or racing instruction course or school; or
         c. preparing for, practicing for, used in, or competing in any prearranged or organized:
               (1) race activity; or
               (2) speed, performance, stunt, or demolition contest or exhibition.
     16. Loss to, or loss of use of, a non-owned auto rented by:
         a. you; or
         b. any family member;
         if a rental vehicle company is precluded from recovering such loss or loss of use, from you or that
         family member, pursuant to the provisions of any applicable rental agreement or state law.
     17. Loss to your covered auto or any non-owned auto, arising out of the actual, alleged or threatened
         presence, growth, proliferation or spread of fungi, dry rot or bacteria.
     18. Loss to your covered auto, non-owned auto, or trailer, for diminution in value.
     19. Loss in excess of $500 per claim or the actual cash value of your covered auto or any non-owned
         auto, whichever is less, for any furnishings or equipment that were not installed by the original vehicle
         manufacturer or manufacturer’s dealership which mechanically or structurally changes your vehicle and
         results in increase in performance or change in appearance, including but not limited to:
         a. custom murals, paintings or other decals or graphics;
         b. custom wheels, tachometers, pressure and temperature gauges;
         c. modified or custom engines and fuel systems, light bars, racing slicks and/or oversized tires, roll
               bars and lift kits, winches, utility boxes, and tool boxes; or
         d. non-standard paint.
         This exclusion does not apply to equipment installed to make a vehicle handicap accessible.
     20. Loss arising out of the use of your covered auto while leased or rented to others.
     21. Loss to your covered auto or a non-owned auto caused by an intentional act by you or a family
         member, or at the direction of you or a family member. However, this exclusion does not apply to the
         ownership interest of a victim of domestic violence and abuse as defined in KRS 403.720.




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LIMIT OF LIABILITY




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A. At our option, our limit of liability for loss will be the lowest of:
    1. The actual cash value of the stolen or damaged property;
    2. a. The amount necessary to repair or replace the property;
        b. Determination of the cost of repair or replacement will be based upon one of the following:
             (1) the cost of repair or replacement agreed upon by you and us;
             (2) a competitive bid approved by us; or
             (3) an estimate written based upon the prevailing competitive price. You agree with us that we
                   may include in the estimate parts furnished by the original vehicle manufacturer or parts from
                   other sources including non-original equipment manufacturers. The prevailing competitive
                   price means prices charged by a majority of the repair market in the area where the vehicle is
                   to be repaired as determined by us; or
     3. The limit of liability shown in the Declarations.
     However, the most we will pay for loss to any non-owned auto, which is a trailer, is $1,500.


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                                                                                                                                    B. An adjustment for depreciation and physical condition may be made based upon the physical condition and
                                                                                                                                         wear and tear of the property or damaged part of the property at the time of the loss. This adjustment for
                                                                                                                                         physical condition includes but is not limited to, broken, cracked or missing parts, rust, dents, scrapes,
                                                                                                                                         gouges and paint condition. When replacing parts normally subject to repair or replacement during the useful
                                                                                                                                         life of the vehicle, we will not pay for the amount of any betterment.
                                                                                                                                    PAYMENT OF LOSS
                                                                                                                                    We may pay for loss in money or repair or replace the damaged or stolen property. We may, at our expense,
                                                                                                                                    return any stolen property to:
                                                                                                                                         1. You; or
                                                                                                                                         2. The address shown in this policy.
                                                                                                                                    If we return stolen property we will pay for any damage resulting from the theft. We may keep all or part of the
                                                                                                                                    property at an agreed or appraised value.
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                                                                                                                                    If we pay for loss in money, our payment will include the applicable sales tax for the damaged or stolen property.
                                                                                                                                    NO BENEFIT TO BAILEE
                                                                                                                                    This insurance shall not directly or indirectly benefit any carrier or other bailee for hire.
                                                                                                                                    OTHER SOURCES OF RECOVERY
                                                                                                                                    A. If other sources of recovery also cover the loss, we will pay only our share of the loss. Our share is the
                                                                                                                                       proportion that our limit of liability bears to the total of all applicable limits.
                                                                                                                                    B. Any insurance we provide with respect to a non-owned auto shall be excess over any other collectible
                                                                                                                                       source of recovery including, but not limited to:
                                                                                                                                       1. Any coverage provided by the owner of the non-owned auto;
                                                                                                                                       2. Any other applicable physical damage insurance;
                                                                                                                                       3. Any other source of recovery applicable to the loss.
                                                                                                                                    C. However, any insurance we provide with respect to a loss to a non-owned auto cause by collision shall be
                                                                                                                                       primary if:
                                                                                                                                       1. Such vehicle is loaned by a person, firm or corporation engaged in the business of selling, repairing
                                                                                                                                           and servicing motor vehicles;
                                                                                                                                       2. Such vehicle is used as a temporary substitute for your covered auto which is out of normal use
                                                                                                                                           because of its breakdown, repair or servicing; and
                                                                                                                                       3. The loss results from an auto accident caused by the negligence of you or any family member.
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                                                                                                                                    APPRAISAL
                                                                                                                                    A. If we and you do not agree on the amount of loss, either may demand an appraisal of the loss. In this event,
                                                                                                                                       each party will select a competent appraiser. The two appraisers will select an umpire. The appraisers will
                                                                                                                                       state separately the actual cash value and the amount of loss. If they fail to agree, they will submit their
                                                                                                                                       differences to the umpire. A decision agreed to by any two will be binding. Each party will:
                                                                                                                                       1. Pay its chosen appraiser; and
                                                                                                                                       2. Bear the expenses of the appraisal and umpire equally.
                                                                                                                                    B. We do not waive any of our rights under this policy by agreeing to an appraisal.

                                                                                                                                                             PART E — DUTIES AFTER AN ACCIDENT OR LOSS


                                                                                                                                    We have no duty to provide coverage under this policy unless there has been full compliance with the following
                                                                                                                                    duties:
                                                                                                                                    A. We must be notified promptly of how, when and where the accident or loss happened. Notice should also
                                                                                                                                         include the names and addresses of any injured persons and of any witnesses.

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     If you fail to provide notice within 45 days of the accident or loss, an injured third party may satisfy this
     requirement by giving notice of a claim by registered mail.
B.   A person seeking any coverage must:
     1. Cooperate with us in the investigation, settlement or defense of any claim or suit.
     2. Promptly send us copies of any notices or legal papers received in connection with the accident or loss.
     3. Submit, as often as we reasonably require:
          a. to physical examinations by physicians we select. We will pay for these exams.
          b. to examination under oath and subscribe the same. We may examine any insured separately and
                apart from the presence of any other insured.
     4. Authorize us to obtain:
          a. medical reports; and
          b. other pertinent records.
     5. Submit a proof of loss, under oath if requested, when required by us.
     This provision does not apply to Personal Injury Protection Coverage.
C.   A person seeking Personal Injury Protection Coverage must:
     1. Promptly give us written proof of claim, under oath if required. Such proof shall include:
          a. Full details of the nature and extent of the bodily injury and treatment and rehabilitation received
                and contemplated; and
          b. Any other information which may assist us in determining the amount due and payable.
     2. Submit, when required by order of a court, to a physical or mental exam by a physician specified in the
          court order.
D.   A person seeking Uninsured Motorists Coverage or Underinsured Motorists Coverage must also:
     1. Report the accident to the police or other civil authority within twenty-four (24) hours or as soon as
          reasonably practicable if a hit-and-run driver is involved.
     2. Promptly send us copies of the legal papers if a suit is brought.
E.   A person seeking Coverage for Damage to Your Auto must also:
     1. Take reasonable steps after loss to protect your covered auto or any non-owned auto and its
          equipment from further loss. We will pay reasonable expenses incurred to do this.




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     2. Promptly notify the police if your covered auto or any non-owned auto is stolen.




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     3. Permit us to inspect and appraise the damaged property before its repair or disposal.

                                  PART F — GENERAL PROVISIONS


POLICY PERIOD AND TERRITORY
A. This policy applies only to accidents and losses which occur:
   1. During the policy period as shown in the Declarations; and
   2. Within the policy territory.
B. The policy period is the period stated in the Declarations. The policy may be renewed for successive policy
   periods if the required premium is paid and accepted by us on or before the expiration of the current policy
   period. The premium will be computed at our then current rate for coverage then offered.
C. The policy territory is:
   1. The United States of America, its territories or possessions;
   2. Puerto Rico; or
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                                                                                                                                         3. Canada.
                                                                                                                                         This policy also applies to loss to, or accidents involving, your covered auto while being transported
                                                                                                                                         between their ports.
                                                                                                                                    BANKRUPTCY
                                                                                                                                    Bankruptcy or insolvency of the insured shall not relieve us of any obligations under this policy.
                                                                                                                                    CHANGES
                                                                                                                                    A. This policy, your Declarations page and endorsements issued by us to this policy contain all the agreements
                                                                                                                                       between you and us. Its terms may not be changed or waived except by endorsement issued by us.
                                                                                                                                    B. The premium for the policy is based on information we have received from you or other sources. You agree
                                                                                                                                       to cooperate with us in determining if this information is correct and complete and you will notify us if it
                                                                                                                                       changes. If this information is incorrect, incomplete, or changes, we will adjust your premium during the
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                                                                                                                                       policy term or take other appropriate action based upon the corrected, completed or changed information.
                                                                                                                                       Changes during the policy term that will result in a premium increase or decrease during the policy term
                                                                                                                                       include, but are not limited to, changes in:
                                                                                                                                       1. The number, type or use classification of insured vehicles.
                                                                                                                                       2. Operators using insured vehicles including newly licensed family member drivers and any household
                                                                                                                                            members that have licenses must be disclosed to us.
                                                                                                                                       3. The location where your vehicle is principally garaged.
                                                                                                                                       4. Customized equipment or parts.
                                                                                                                                       You also agree to disclose all licensed drivers residing in your household.
                                                                                                                                    C. If we make a change which broadens coverage under this edition of your policy without additional premium
                                                                                                                                       charge, that change will automatically apply to your policy as of the date we implement the change in your
                                                                                                                                       state. This paragraph (C.) does not apply to changes implemented with a general program revision that
                                                                                                                                       includes both broadenings and restrictions in coverage, whether that general program revision is
                                                                                                                                       implemented through introduction of:
                                                                                                                                       1. A subsequent edition of your policy; or
                                                                                                                                       2. An Amendatory Endorsement.
                                                                                                                                    D. Additional or return premium of $3.00 or less resulting from policy changes will be waived, unless requested
                                                                                                                                       in writing.
                                                                                                                                    PAYMENT OF PREMIUM
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                                                                                                                                    If your initial premium payment is by check, draft or any remittance other than cash, coverage under this policy is
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                                                                                                                                    conditioned upon the check, draft or remittance being honored upon presentment to the bank or other financial
                                                                                                                                    institution. If the check, draft or remittance is not honored upon presentment, this policy may, at our option, be
                                                                                                                                    deemed void from its inception. This means that we will not be liable under this policy for any claims or damages
                                                                                                                                    which would otherwise be covered if the check, draft, or remittance had been honored upon presentment.
                                                                                                                                    FRAUD
                                                                                                                                    This policy was issued in reliance upon the information provided on your application. We may void this policy if
                                                                                                                                    you or an insured have concealed or misrepresented any material fact or circumstance; or engaged in fraudulent
                                                                                                                                    conduct, at the time application was made or any time during the policy period.
                                                                                                                                    We may void this policy or deny coverage for an accident or loss if you or an insured have concealed or
                                                                                                                                    misrepresented any material fact or circumstance, or engaged in fraudulent conduct, in connection with the
                                                                                                                                    presentation or settlement of a claim.
                                                                                                                                    We may void this policy or deny coverage for fraud or material misrepresentation even after the occurrence of an
                                                                                                                                    accident or loss. This means we will not be liable for any claims or damages which would otherwise be covered. If
                                                                                                                                    we make a payment, we may request that you reimburse us. If so requested, you must reimburse us for any
                                                                                                                                    payments we may have already made.
                                                                                                                                    We will only void this policy for material misrepresentation in excess of the minimum limits specified by Kentucky
                                                                                                                                    laws for third parties legally entitled to recover damages under Part A — Liability Coverage.

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LEGAL ACTION AGAINST US
A. No legal action may be brought against us until there has been full compliance with all the terms of this
   policy. In addition, under Part A, no legal action may be brought against us until:
   1. We agree in writing that the insured has an obligation to pay; or
   2. The amount of that obligation has been finally determined by judgment after trial.
B. No person or organization has any right under this policy to bring us into any action to determine the liability
   of an insured.
OUR RIGHT TO RECOVER PAYMENT
A. If we make a payment under this policy and the person to or for whom payment was made has a right to
   recover damages from another person, entity or organization we shall be subrogated to that right. That
   person shall:
   1. Do whatever is necessary to enable us to exercise our rights; and
   2. Do nothing after loss to prejudice them.
   However, our rights in this paragraph (A.) do not apply under Part D, against any person using your
   covered auto with your express or implied permission or other person having lawful possession and is not
   using a vehicle beyond the scope of the permission granted.
B. If we make a payment under this policy and the person to or for whom payment is made recovers damages
   from another, that person shall:
   1. Hold in trust for us the proceeds of the recovery; and
   2. Reimburse us to the extent of our payment.
C. 1. Our rights do not apply under paragraph A. with respect to Underinsured Motorists Coverage if:
        a. We have been given prompt written notice of a tentative settlement between an insured and the
             insurer of an underinsured motor vehicle; and
        b. We fail to advance payment to the insured in an amount equal to the tentative settlement within 30
             days after receipt of notification.
   2. If we advance payment to the insured in an amount equal to the tentative settlement within 30 days
        after receipt of notification:
        a. That payment will be separate from any amount the insured is entitled to recover under the
             provisions of Underinsured Motorists Coverage; and
        b. We also have a right to recover the advanced payment.




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TERMINATION
A. Cancellation. This policy may be canceled during the policy period as follows:
   1. The named insured shown in the Declarations may cancel by:
       a. returning this policy to us; or
       b. giving us advance written or verbal notice of the date cancellation is to take effect. We may waive
            the requirement the notice be in writing by confirming the date and time of cancellation to you in
            writing.
     2. We may cancel by mailing to the named insured shown in the Declarations at the address last known to
        us:
        a. at least 14 days notice:
            (1) if cancellation is for nonpayment of premium; or
            (2) if notice is mailed during the first 60 days this policy is in effect and this is not a renewal policy;
                  or
        b. at least 20 days notice in all other cases.

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                                                                                                                                         3. After this policy is in effect for 60 days, or if this is a renewal or continuation policy, we will cancel only:
                                                                                                                                            a. for nonpayment of premium; or
                                                                                                                                            b. if your driver’ s license or that of:
                                                                                                                                                 (1) Any driver who lives with you; or
                                                                                                                                                 (2) Any driver who customarily uses your covered auto;
                                                                                                                                                 has been suspended or revoked.
                                                                                                                                                 This must have occurred:
                                                                                                                                                 (1) During the policy period; or
                                                                                                                                                 (2) Since the last anniversary of the original effective date if the policy period is other than 1 year;
                                                                                                                                                      or
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                                                                                                                                              c. For fraud or material misrepresentation concerning the policy or insureds.
                                                                                                                                    B. Nonrenewal.
                                                                                                                                         If we decide not to renew or continue this policy, we will mail notice to the named insured shown in the
                                                                                                                                         Declarations at the address shown in this policy. Notice will be mailed at least 75 days before the end of the
                                                                                                                                         policy period. Subject to this notice requirement, if the policy period is:
                                                                                                                                         1. Less than 6 months, we will have the right not to renew or continue this policy every 6 months,
                                                                                                                                              beginning 6 months after its original effective date.
                                                                                                                                         2. 6 months or longer, but less than one year, we will have the right not to renew or continue this policy at
                                                                                                                                              the end of the policy period.
                                                                                                                                         3. 1 year or longer, we will have the right not to renew or continue this policy at each anniversary of its
                                                                                                                                              original effective date.
                                                                                                                                    C. Automatic Termination
                                                                                                                                         If we offer to renew and you or your representative do not accept, this policy will automatically terminate at
                                                                                                                                         the end of the current policy period. Failure to pay the required renewal or continuation premium when due
                                                                                                                                         shall mean that you have not accepted our offer.
                                                                                                                                         Coverage for your covered auto shall automatically terminate on the effective date of any other motor
                                                                                                                                         vehicle insurance policy covering that vehicle.
                                                                                                                                    D. Other Termination Provisions
                                                                                                                                       1. We may deliver any notice instead of mailing it. A receipt provided by, or such other evidence of mailing
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                                                                                                                                            as prescribed or accepted by, the U.S. Postal Service shall be sufficient proof of notice.
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                                                                                                                                         2. If this policy is canceled, you may be entitled to a premium refund. If so, we will send you the refund.
                                                                                                                                            The premium refund, if any, will be computed according to our manuals. However, making or offering to
                                                                                                                                            make the refund is not a condition of cancellation.
                                                                                                                                         3. The effective date of cancellation stated in the notice shall become the end of the policy period.
                                                                                                                                         4. We will give the same advance notice of cancellation or nonrenewal to the loss payee stated in the
                                                                                                                                            policy as we give to the named insured shown in the Declarations.
                                                                                                                                    TRANSFER OF YOUR INTEREST IN THIS POLICY
                                                                                                                                    A. Your rights and duties under this policy may not be assigned without our written consent. However, if a
                                                                                                                                       named insured shown in the Declarations dies, coverage will be provided for:
                                                                                                                                       1. The surviving spouse, civil partner or domestic partner if resident in the same household at the time of
                                                                                                                                           death. Coverage applies to the spouse, civil partner or domestic partner as if a named insured shown
                                                                                                                                           in the Declarations; and
                                                                                                                                       2. The legal representative of the deceased person as if a named insured shown in the Declarations. This
                                                                                                                                           applies only with respect to the representative’s legal responsibility to maintain or use your covered
                                                                                                                                           auto.
                                                                                                                                    B. Coverage will only be provided until the end of the policy period.
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TWO OR MORE AUTOS INSURED; TWO OR MORE AUTO POLICIES
If this policy insures two or more autos or if any other auto insurance policy issued to you by us applies to the
same accident, the maximum limit of our liability shall not exceed the highest limit applicable to any one auto.
      1. This provision does not apply to Uninsured Motorists Coverage and Underinsured Motorists Coverage.
      2. No one will be entitled to receive duplicate payments for the same elements of loss under Uninsured
            Motorists Coverage and Underinsured Motorists Coverage.
This provision does not apply to the Maximum Limit of Liability for the Total of All Added Personal Injury
Protection Benefits.
LOSS PAYABLE CLAUSE
As to the interest of the loss payee, this policy will remain in effect from the inception date and until ten days after
proof of mailing that the cancellation notice has been mailed to the loss payee. When we pay the loss payee we
shall, to the extent of payment, have the loss payee’s rights of recovery.
Where fraud, misrepresentation, material omission, or intentional damage has been committed by or at the
direction of any insured, or where the loss is otherwise not covered under the terms of the policy, the loss payee
or lienholder’s interest will not be protected.
STORAGE COSTS
If you give us your consent, we may move the damaged property, at our expense, to reduce storage costs during
the claims process. If you do not give us your consent, we will pay only the storage costs which would have
resulted if we had moved the damaged property.
NAMED DRIVER EXCLUSION
If there is an excluded driver under this policy, then we will not provide coverage for any claim arising from an
accident or loss involving a motor vehicle being operated by that excluded person. This includes any claim for
damages made against you or any family member or any other person or organization that is vicariously liable
for an accident arising out of the operation of a motor vehicle by the excluded driver.

                                         ADDITIONAL COVERAGES


AGREEMENT: WE WILL PROVIDE THE INSURANCE DESCRIBED IN EACH OF THE FOLLOWING
ADDITIONAL COVERAGES ONLY IF INDICATED IN THE DECLARATIONS.
ADDED PERSONAL INJURY PROTECTION COVERAGE




                                                                                                                           
For an additional premium, the Personal Injury Protection Coverage is amended as follows:




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“Insured” as used in this coverage means:
The named insured or any family member while:
     1. Occupying; or
     2. A pedestrian struck by:
     any motor vehicle.
However, insured does not include the named insured or any family member who has rejected the limitation
upon his or her tort rights pursuant to the Kentucky Motor Vehicle Reparations Act, unless personal injury
protection benefits have subsequently been purchased under this policy for that person.
Any rejection of tort limitations applicable only to motorcycles shall not affect the status of any person as an
insured with respect to any motor vehicle other than a motorcycle.
A. We will pay added personal injury protection benefits, in addition to any amounts paid or payable for benefits
     under the Personal Injury Protection Coverage, to or for the named insured or any family member who
     sustains bodily injury. The bodily injury must be caused by an accident arising out of the operation,
     maintenance or use of a motor vehicle as a vehicle.


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                                                                                                                                    B. Subject to the limits of liability shown in the Schedule or Declarations, added personal injury protection
                                                                                                                                         benefits consist of the following:
                                                                                                                                         1.   Medical expenses.
                                                                                                                                         2.   Funeral expenses.
                                                                                                                                         3.   Work loss.
                                                                                                                                         4.   Replacement services loss.
                                                                                                                                         5.   Survivor’s economic loss.
                                                                                                                                         6.   Survivor’s replacement services loss.
                                                                                                                                                                                   SCHEDULE
                                                                                                                                                                              COLUMN A                   COLUMN B                  COLUMN C
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                                                                                                                                     Added Personal Injury Protection                             Added Work Loss, Replacement       Funeral
                                                                                                                                     Option Stated in the Declarations Maximum Limit of Liability    Services Loss, Survivor’s       Expense
                                                                                                                                                                       for the Total of all Added Economic Loss and Survivor’s        Total
                                                                                                                                                                              PIP Benefits         Replacement Services Loss —      Aggregate
                                                                                                                                                                                                  Total Maximum Limit Per Week        Limit
                                                                                                                                                 Option 1                      $ 10,000                      $50                       —
                                                                                                                                                 Option 2                      $ 20,000                      100                       —
                                                                                                                                                 Option 3                      $ 30,000                      200                       —
                                                                                                                                                 Option 4                      $ 40,000                      300                       —
                                                                                                                                                 Option 5                      $ 65,000                      400                     $1,000
                                                                                                                                                 Option 6                      $ 90,000                      550                      1,000
                                                                                                                                    C. The limits of liability shown in the Schedule for Added Personal Injury Protection Coverage are the most we
                                                                                                                                       will pay to or for the named insured or any one family member injured in any one motor vehicle accident.
                                                                                                                                         These limits of liability are the most we will pay regardless of the number of:
                                                                                                                                         1. Insureds;
                                                                                                                                         2. Policies or approved self-insurance plans applicable;
                                                                                                                                         3. Claims made; or
                                                                                                                                         4. Your covered autos.
                                                                                                                                    D.   The Limits of Liability provision of the Personal Injury Protection Coverage is amended by adding the
                                                                                                                                         amounts set forth in the Schedule as follows:
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                                                                                                                                         1. The introductory paragraph is amended by adding the amount shown on the appropriate line in column
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                                                                                                                                              A, to the amount of “$10,000”;
                                                                                                                                         2. Paragraph 2. is amended by adding the amount shown on the appropriate line in column B, to the
                                                                                                                                              amount of “$200”;
                                                                                                                                         3. Paragraph 1. is amended by adding the amount shown on the appropriate line in column C, to the
                                                                                                                                              amount of “$1,000”.
                                                                                                                                    E.   The absence of an entry in the Schedule indicates no change in the limits shown in the Personal Injury
                                                                                                                                         Protection Coverage for such benefit.
                                                                                                                                    F.   This coverage does not apply to bodily injury sustained by any insured while occupying or while a
                                                                                                                                         pedestrian through being struck by a motor vehicle owned by such insured with respect to which the
                                                                                                                                         coverage provided by the Added Personal Injury Protection Coverage is in effect.
                                                                                                                                    G.   Exclusion A.1. of the Personal Injury Protection Coverage does not apply to the Added Personal Injury
                                                                                                                                         Protection Coverage.
                                                                                                                                    H.   The Other Insurance provision is replaced by the following:
                                                                                                                                         1. No one will be entitled to receive duplicate payments for the same elements of loss under this or any
                                                                                                                                              other similar insurance, including approved self-insurance plans.

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     2. Any coverage we provide under this coverage shall be excess over any applicable personal injury
        protection coverage provided in accordance with the Kentucky Motor Vehicle Reparations Act.
   3. If work loss, replacement services loss, survivor’s economic loss, survivor’s replacement loss or funeral
        expenses are payable under more than one policy or approved self-insurance plan, the maximum
        recovery under all such insurance shall not exceed the amount which would have been payable under
        the insurance with the highest limit of insurance.
   4. If there is other applicable similar insurance, including approved self-insurance plans, we will pay only
        our share of the loss. Our share is the proportion that our limit of liability bears to the total of all
        applicable limits.
I. Paragraph (2)(a) of the Notice To Policyholders does not apply.
J. This coverage is subject to all the terms and provisions of the Personal Injury Protection Coverage not
   expressly modified herein.

UNDERINSURED MOTORISTS COVERAGE
INSURING AGREEMENT
A. We will pay damages which an insured is legally entitled to recover from the owner or operator of an
    underinsured motor vehicle because of bodily injury:
    1. Sustained by that insured; and
    2. Caused by an accident.
   The owner’s or operator’s liability for these damages must arise out of the ownership, maintenance or use of
   the underinsured motor vehicle. All claims must be reported to us in writing within three years of the
   accident. We will not pay damages to any insured until there has been compliance with all policy provisions.
   Any judgment for damages arising out of a suit brought without our written consent is not binding on us.
B. “Insured” as used in this coverage means:
   1. You or any family member.
   2. Any Rated Driver shown on the Declarations other than you or a family member.
   3. Any other person occupying your covered auto with your express or implied permission. The actual
          use must be within the scope of that permission.
   4. Any person for damages that person is entitled to recover because of bodily injury to which this
          coverage applies sustained by a person described in 1., 2. or 3. above.




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C. “Underinsured motor vehicle” means a land motor vehicle or trailer of any type to which a bodily injury




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   liability bond or policy applies at the time of the accident but the amount paid for bodily injury under that
   bond or policy to an insured is not enough to pay the full amount the insured is legally entitled to recover as
   damages.
   However, “underinsured motor vehicle” does not include any vehicle or equipment:
   1. To which a bodily injury liability bond or policy applies at the time of the accident but its limit for bodily
          injury liability is less than the minimum limit for bodily injury liability specified by the financial
          responsibility law of the state in which your covered auto is principally garaged.
   2. Owned by or furnished or available for the regular use of you or any family member.
   3. Owned or operated by a person qualifying as a self-insurer under any applicable motor vehicle law.
   4. Operated on rails or crawler treads.
   5. Designed mainly for use off public roads while not on public roads.
   6. While located for use as a residence or premises.
   7. To which a bodily injury liability bond or policy applies at the time of the accident but the bonding
          company or insuring company:
          a. denies coverage; or
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                                                                                                                                           b. is or becomes insolvent.
                                                                                                                                    EXCLUSIONS
                                                                                                                                    A. We do not provide Underinsured Motorists Coverage for bodily injury sustained by any insured:
                                                                                                                                       1. If that insured or the legal representative settles the bodily injury claim without our consent.
                                                                                                                                       2. While occupying your covered auto when it is being used as a public or livery conveyance. This
                                                                                                                                           exclusion (A.2.) does not apply to a share-the-expense car pool.
                                                                                                                                       3. While using any vehicle while employed in the pickup or delivery of newspapers or magazines, food or
                                                                                                                                            any products for the purpose of compensation. This exclusion does not apply to delivery that is
                                                                                                                                            incidental to an insured’s business.
                                                                                                                                       4. While using a vehicle without the express or implied permission of the owner or other person having
                                                                                                                                            lawful possession, or using a vehicle beyond the scope of the permission granted. However, this
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                                                                                                                                            exclusion does not apply to you or any family member using your covered auto.
                                                                                                                                       5. While occupying or operating an owned motorcycle or moped.
                                                                                                                                    B. This coverage shall not apply directly or indirectly to benefit any insurer or self-insurer under a workers
                                                                                                                                       compensation, disability benefits or similar law.
                                                                                                                                    C. We do not provide Underinsured Motorists Coverage for punitive or exemplary damages.
                                                                                                                                    LIMIT OF LIABILITY
                                                                                                                                    A. The limit of liability shown in the Declarations for “each person” for Underinsured Motorists Coverage is our
                                                                                                                                         maximum limit of liability for all damages, including damages for care and loss of services (including loss of
                                                                                                                                         consortium and wrongful death), arising out of bodily injury sustained by any one person in any one
                                                                                                                                         accident. Subject to this limit for “each person”, the limit of liability shown in the Declarations for “each
                                                                                                                                         accident” for Underinsured Motorists Coverage is our maximum limit of liability for all damages for bodily
                                                                                                                                         injury resulting from any one accident.
                                                                                                                                         This is the most we will pay regardless of the number of:
                                                                                                                                         1. Insureds;
                                                                                                                                         2. Claims made;
                                                                                                                                         3. Vehicles shown in the Declarations; or
                                                                                                                                         4. Vehicles involved in the accident.
                                                                                                                                    B.   No one will be entitled to receive duplicate payments for the same elements of loss under Part A, Part B or
                                                                                                                                         Part C of this policy.
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                                                                                                                                    C.   We will not make a duplicate payment under this coverage for any element of loss for which payment has
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                                                                                                                                         been made by or on behalf of persons or organizations who may be legally responsible.
                                                                                                                                    D.   We will reduce the insured’s total damages by any amount available to that insured, under any bodily injury
                                                                                                                                         liability bonds or policies applicable to the underinsured motor vehicle, that such insured did not recover
                                                                                                                                         as a result of a settlement between that insured and the insurer of an underinsured motor vehicle.
                                                                                                                                         However, any reduction of that insured’s total damages will not reduce the limit of liability for this coverage.
                                                                                                                                         This Paragraph (D.) shall not apply if we advance payment to the insured in an amount equal to the
                                                                                                                                         tentative settlement with the insurer of the underinsured motor vehicle.
                                                                                                                                    E.   We will not pay for any element of loss if a person is entitled to receive payment for the same element of loss
                                                                                                                                         under any of the following or similar law:
                                                                                                                                         1. Workers compensation law; or
                                                                                                                                         2. Disability benefits law.




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F. If the Declarations indicates that Combined Single Limit Underinsured Motorists Coverage applies,
   Paragraph A. is replaced by the following:
   The limit of liability shown in the Declarations for Underinsured Motorists Coverage is our maximum limit of
   liability for all damages because of bodily injury resulting from any one accident. This is the most we will
   pay regardless of the number of:
   1. Insureds;
   2. Claims made;
   3. Vehicles shown in the Declarations; or
   4. Vehicles involved in the accident.
G. A vehicle and attached trailer are considered one vehicle. Therefore the limits of liability will not be
   increased for an accident involving a vehicle which has an attached trailer.
OTHER INSURANCE
If there is other applicable insurance similar to the insurance provided under this coverage, we will pay only our
share of the loss, Our share is the proportion that our limit of liability bears to the total of all applicable limits.
However, any insurance we provide with respect to a vehicle:
      1. You do not own, including any vehicle while used as a temporary substitute for your covered auto; or
      2. Owned by you or any family member which is not insured for this coverage under this policy;
Shall be excess over any other collectible insurance similar to the insurance provided by this coverage.
ARBITRATION
A. If we and an insured do not agree:
   1. Whether that insured is legally entitled to recover damages; or
   2. As to the amount of damages which are recoverable by that insured;
   from the owner or operator of an underinsured motor vehicle, then the matter may be arbitrated. However,
   disputes concerning coverage under this Part may not be arbitrated.
   Both parties must agree to arbitration. If so agreed, each party will select an arbitrator. The two arbitrators
   will select a third. If they cannot agree within 30 days, either may request that selection be made by a judge
   of a court having jurisdiction.
B. Each party will pay the expenses it incurs, and bear the expenses of the third arbitrator equally.
C. Unless both parties agree otherwise, arbitration will take place in the county and state in which the insured




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   lives. Local rules of law as to procedure and evidence will apply. A decision agreed to by two of the




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   arbitrators will not be binding.
ADDITIONAL DUTIES
A person seeking Underinsured Motorists Coverage must also promptly:
    1. Send us copies of the legal papers if a suit is brought; and
    2. Notify us in writing by certified or registered mail of a tentative settlement between the insured and the
         insurer of the underinsured motor vehicle and allow us 30 days to advance payment to that insured
         in an amount equal to the tentative settlement to preserve our rights against the insurer, owner or
         operator of such underinsured motor vehicle.

ROADSIDE ASSISTANCE COVERAGE CALL 1-877-ROAD-101 (1-877-762-3101)
“Your covered auto” as used in this endorsement means a private passenger vehicle, motor home or trailer
owned by you and for which a specific premium is shown on the Declarations for this coverage.
The following coverages apply to each vehicle for which this coverage is shown on the Policy Declarations:
     1. Each time your covered auto or any non-owned auto is disabled due to mechanical or electrical
          breakdown we will pay reasonable and necessary expenses for the use of an authorized service

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                                                                                                                                            provider to tow or flatbed your covered auto or non-owned auto up to 15 miles or to the nearest
                                                                                                                                            qualified place where necessary repairs can be made during regular business hours.
                                                                                                                                         2. Each time your covered auto or any non-owned auto is disabled requiring:
                                                                                                                                            a. Towing to dislodge the vehicle from its place of disablement within 100 feet of a public street or
                                                                                                                                                  highway; or
                                                                                                                                            b. Labor, including change of tire, at the place of its breakdown; or
                                                                                                                                            c. Delivery of fuel, oil, water or other fluids (we do not pay the costs of these items); or
                                                                                                                                            d. Key lock-out services;
                                                                                                                                            we will cover up to one (1) hour of labor for the use of an authorized service provider for service at the
                                                                                                                                            place of disablement.
                                                                                                                                        3. For policies with a 6 month policy term, coverage is limited to no more than two occurrences per vehicle
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                                                                                                                                            plus an additional two occurrences per policy in a 6 month policy period for both coverages 1. and 2.,
                                                                                                                                            above.
                                                                                                                                        4. For policies with an annual policy term, coverage is limited to no more than four occurrences per vehicle
                                                                                                                                            plus an additional four occurrences per policy in a 12 month policy period for both coverages 1. and 2.
                                                                                                                                        Authorized service provider means a service provider contracted by us providing, at no charge to you,
                                                                                                                                        roadside assistance as described and limited above.
                                                                                                                                        When service is provided by other than an authorized service provider, we will reimburse you only for
                                                                                                                                        reasonable charges as determined by us.
                                                                                                                                    No deductible applies to this coverage.

                                                                                                                                    LOSS OF USE COVERAGE
                                                                                                                                    The provisions and exclusions that apply to Part D — Coverage for Damage to Your Auto also apply to this
                                                                                                                                    coverage except as changed below:
                                                                                                                                    When there is a loss to any vehicle described in the Declarations for which a specific premium charge indicates
                                                                                                                                    that Loss of Use Coverage is afforded, we will reimburse you for expenses you incur to rent a substitute vehicle.
                                                                                                                                    This coverage applies only if:
                                                                                                                                         1. The vehicle is withdrawn from use for more than 24 hours;
                                                                                                                                         2. The loss is caused by collision, or is covered by the Comprehensive Coverage of this policy; and
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                                                                                                                                         3. The loss exceeds the appropriate collision or comprehensive deductible applying to the vehicle.
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                                                                                                                                    However, this coverage does not apply to losses caused by collision if Collision Coverage does not apply to the
                                                                                                                                    vehicle.
                                                                                                                                    Our payment will be limited to that period of time reasonably required to repair or replace the vehicle. We will pay
                                                                                                                                    up to the amount per day and the maximum shown for Loss of Use in the Declarations.
                                                                                                                                    No deductible applies to this coverage.




                                                                                                                                    SA-2890/KYEP 1/18                                      - 33 -
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 70 of 133

                                                                                                                                       This policy has been signed by our President and Secretary.




                                                                                                                                           James MacPhee                                             Mark C. Touhey
                                                                                                                                           President                                                 Vice President and Secretary
                                                                                                                                       This policy includes copyrighted material of Insurance Services Office, Inc. with its permission.

                                                                                                                                       SA-1701/EP 9/90
                                                                                                                                       G19
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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 71 of 133



                                                                                                                                       OLD KENTUCKY INSURANCE INC
                                                                                                                                       915 LILY CREEK RD
                                                                                                                                       LOUISVILLE     KY 40243-2808
                                                                                                                                                                                                      December 8, 2019

                                                                                                                                                                                                              Policy Number: UK6133622
                                                                                                                                                                                                             24-Hour Claims: 1-800-332-3226
                                                                                                                                                                                                              Policy Service: (502) 451-8800
                                                                                                                                                                                                    Online Account Services: www.safeco.com
                                                                                                                                                                                                   THIS IS NOT A BILL.
 0000072DONQUI609952112061




                                                                                                                                       DALE ROMANS
                                                                                                                                       TAMMY FOX
                                                                                                                                       PO BOX 21428
                                                                                                                                       LOUISVILLE KY 40221-0428




                                                                                                                                       Information on your umbrella policy renewal:
                                                                                                                                       We would also like to draw your attention to the following:
                                                                                                                                            ■ Your new policy period begins February 24, 2020. The 12-month premium for this policy is
                                                                                                                                            $960.42 for the February 24, 2020 to February 24, 2021 policy term.
                                                                                                                                            ■ This is not a bill. Your bill will be sent in a separate mailing approximately 25 days before it
                                                                                                                                            is due. The bill may reflect full or installment payment options and your payment will be due
                                                                                                                                            on the policy renewal date February 24, 2020. The total amount may differ from the amount
                                                                                                                                            above based on the fees associated with your chosen payment plan. Please refer to the
                                                                                                                                            "Important Billing Information" form in this renewal package to see what changes may affect
                                                                                                                                            your billing choices.
                                                                                                                                       A $886.80 payment for the outstanding bill on your account will be deducted on December 24,
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                                                                                                                                       2019.
1061




                                                                                                                                       If you have any questions or wish to make any changes to your policy, you can do so by calling
                                                                                                                                       your agent at (502) 451-8800.
                                                                                                                                       We appreciate the opportunity to serve you. Thank you.




                                                                                                                                                                              EXHIBIT B



                                                                                                                                                                      SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                                                          P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       OC-429/EP 10/13
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 72 of 133




                                                                                                                                      CUSTOMER ACCOUNT SUMMARY                                                                            DECEMBER 8, 2019
                                                                                                                                      AGENT:                                                            CUSTOMER:
                                                                                                                                      OLD KENTUCKY INSURANCE INC                                        DALE ROMANS
                                                                                                                                      915 LILY CREEK RD                                                 TAMMY FOX
                                                                                                                                      LOUISVILLE     KY 40243-2808                                      PO BOX 21428
                                                                                                                                                                                                        LOUISVILLE KY 40221-0428
                                                                                                                                      (502) 451-8800                                                    Account Number:
                                                                                                                                                                                                        72112683497
 0000072DONQUI609952112062




                                                                                                                                                            Policy Services:          Online Account Services:                       24-Hour Claims:
                                                                                                                                        QUESTIONS?          (502) 451-8800           www.safeco.com/myaccount                        1-800-332-3226

                                                                                                                                      Thank you for being a valued customer.
                                                                                                                                      At Safeco, we partner with your agent to provide you with a broad portfolio of products, responsive
                                                                                                                                      customer service and options that are simple and convenient. Your Safeco Package is a
                                                                                                                                      comprehensive combination of convenience, savings and protection. And it's our priority to protect
                                                                                                                                      the things and people that matter most to you.
                                                                                                                                      Enclosed are important documents about your policy renewals. If you have questions regarding
                                                                                                                                      your coverage or other products offered by Safeco, please contact your agent.
                                                                                                                                      We appreciate your business and the trust you place in us to meet your insurance needs.
                                                                                                                                      YOUR POLICY DETAILS:
                                                                                                                                                                        Policy           Policy is Effective                     Term
                                                                                                                                      Policy                            Number              From               To                Premium
                                                                                                                                      -----------------------------------------------------------------
                                                                                                                                      UMBRELLA                          UK6133622 02/24/2020 02/24/2021                          $960.42
                                                                                                                                         Discounts applied to this policy: No discounts applied
                                                                                                                                         Issued by: Safeco Insurance Company of America
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                                                                                                                                      AUTOMOBILE                         K2684185 02/24/2020 02/24/2021                          $602.18
                                                                                                                                         If you pay in full or use the 2-pay plan                                                $550.02
1062




                                                                                                                                         Discounts applied to this policy: Account, Advance Quoting, Low Mileage, Violation Free,
                                                                                                                                         Coverage, Homeowners, Multi-Car, Preferred Payment Method
                                                                                                                                         Issued by: Safeco Insurance Company of Illinois
                                                                                                                                      AUTOMOBILE                         K3441790 07/17/2019 07/17/2020 $8,617.78
                                                                                                                                         Discounts applied to this policy: Account, Theft Prevention Device, Low Mileage, Violation Free,
                                                                                                                                         Coverage, Homeowners, Multi-Car, Preferred Payment Method
                                                                                                                                         Issued by: Safeco Insurance Company of Illinois




                                                                                                                                      THIS IS NOT A BILL. Please do not send payment now. You will be receiving a separate invoice statement(s) based on the payment
                                                                                                                                      schedule you selected. Thank you for selecting us to service your insurance needs.
                                                                                                                                      OC-726/EPA 4/09
                                                                                                                                      G1
                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 73 of 133


                                                                                                                                                                   KENTUCKY POLICY COVER SHEET
                                                                                                                                                                KENTUCKY PERSONAL UMBRELLA POLICY
                                                                                                                                    Your policy is a legal contract between you and us. PLEASE READ YOUR POLICY CAREFULLY. This cover
                                                                                                                                    sheet provides only a brief outline of some of the important features of your policy. This is not the insurance
                                                                                                                                    contract and only the actual policy provisions will control. The policy itself sets forth, in detail, the rights and
                                                                                                                                    obligations of both you and your insurance company. IT IS THEREFORE IMPORTANT THAT YOU READ YOUR
                                                                                                                                    POLICY.
                                                                                                                                    MAJOR PROVISIONS OF THE POLICY
                                                                                                                                    Persons insured, coverages, deductible, optional exclusions, optional coverages and limits purchased are shown
                                                                                                                                    on the Declarations.
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                                                                                                                                    The policy is divided into five parts:
                                                                                                                                          ● Insuring Agreement
                                                                                                                                          ● Definitions
                                                                                                                                          ● Coverages
                                                                                                                                          ● Exclusions
                                                                                                                                          ● Conditions
                                                                                                                                    Page 1 lists the Insuring Agreement which explains what coverages we will provide in the Umbrella Policy.
                                                                                                                                    The first page of the contract lists the Definitions which will apply throughout the policy.
                                                                                                                                    The Coverages section begins on page three and is divided into three parts:
                                                                                                                                          ● Personal Liability
                                                                                                                                          ● Defense Coverage
                                                                                                                                          ● Supplementary Payments
                                                                                                                                    The Exclusions begin on page 3, listing the exceptions to coverage and when coverage will not be provided
                                                                                                                                    under the policy.
                                                                                                                                    Conditions of the policy begin on page 7 and explain certain conditions which apply to the policy which include
                                                                                                                                    but are not limited to:
                                                                                                                                          ● Your duties and responsibilities after an occurrence
                                                                                                                                          ● Payment of loss provision
                                                                                                                                          ● How changes to the policy are applied
                                                                                                                                          ● Information regarding legal action against us
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                                                                                                                                          ● Our right to recover payment from others
1063




                                                                                                                                          ● Provisions governing termination, cancellation or non-renewal
                                                                                                                                          ● Territory, Policy Period and Billing Cycle
                                                                                                                                          ● Transfer of your interest in this policy
                                                                                                                                          ● Maintenance of underlying insurance
                                                                                                                                          ● Provisions for when the limits of liability on any underlying insurance is exhausted
                                                                                                                                          ● Bankruptcy or death provisions.
                                                                                                                                    If you have any questions about these coverages, please contact your agent or broker.




                                                                                                                                    P-1112/KYEP 9/12
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                                                                                                                                       Consumer Privacy Statement
                                                                                                                                       Safeco appreciates the trust you place in us when you purchase insurance from one of our
                                                                                                                                       companies. We are committed to protecting your nonpublic personal information (“personal
                                                                                                                                       information”) and we value you as a customer.
                                                                                                                                       To learn more about how Safeco collects and uses your personal information, please read the
                                                                                                                                       following notice.
                                                                                                                                       Safeco’s sources of information about you
 0000072DONQUI609952112064




                                                                                                                                       We collect personal information about you from different sources, including:
                                                                                                                                           ● The information you provide on applications or other forms (such as your name,
                                                                                                                                               address and Social Security number);
                                                                                                                                           ● Your transactions with us, our affiliates or others (such as your payment history and
                                                                                                                                               claims information);
                                                                                                                                           ● The information we receive from a consumer reporting agency or insurance support
                                                                                                                                               organization (such as your credit history, driving record or claims history); and
                                                                                                                                           ● Your independent insurance producer (such as updated information pertaining to your
                                                                                                                                               account).
                                                                                                                                       Safeco’s use of your personal information
                                                                                                                                       We only disclose personal information about our customers and former customers as permitted by
                                                                                                                                       law. Generally, this includes sharing it with third parties to administer your transactions with us,
                                                                                                                                       service your insurance policy or claim, detect and prevent fraud, or with your authorization. These
                                                                                                                                       third parties may include independent insurance producers authorized to sell Safeco insurance
                                                                                                                                       products, independent contractors (such as automobile repair facilities and property inspectors),
                                                                                                                                       independent claims representatives, insurance support organizations, other insurers, auditors,
                                                                                                                                       attorneys, courts and government agencies. We may also disclose your personal information to
                                                                                                                                       other financial institutions with whom we have joint marketing agreements. When we disclose your
                                                                                                                                       information to these individuals or organizations, we require them to use it only for the reasons we
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                                                                                                                                       gave it to them.
1064




                                                                                                                                       We may also share information about our transactions (such as payment history and
                                                                                                                                       products purchased) and experiences with you (such as claims made) within our Safeco
                                                                                                                                       family of companies.
                                                                                                                                       Safeco does not sell your personal information to others and we do not provide your information
                                                                                                                                       to third parties for their own marketing purposes.
                                                                                                                                       Independent Safeco Insurance Agents
                                                                                                                                       The independent insurance agents authorized to sell Safeco products are not Safeco
                                                                                                                                       employees and not subject to Safeco’s Privacy Policy. Because they have a unique
                                                                                                                                       business relationship with you, they may have additional personal information about you that
                                                                                                                                       Safeco does not have. They may use this information differently than Safeco. Contact your
                                                                                                                                       Safeco distributor to learn more about their privacy practices.
                                                                                                                                       Information about Safeco’s web site
                                                                                                                                       If you have internet access and want more information about our web site specific privacy and
                                                                                                                                       security practices, click on the Privacy Policy link on www.safeco.com.

                                                                                                                                       OC-701/EP 3/16                                                                             Page 1 of 2
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   Protecting your personal information from unauthorized access
   We maintain physical, electronic and procedural safeguards to protect your personal
   information. Our employees are authorized to access customer information only for
   legitimate business purposes.
   State Privacy Laws
   This privacy statement may be supplemented by privacy laws in your state. We will protect your
   information in accordance with state law.
   This Privacy Statement applies to the following members of the Safeco family of companies:
   American Economy Insurance Company
   American States Insurance Company
   American States Insurance Company of Texas
   American States Lloyds Insurance Company
   American States Preferred Insurance Company
   First National Insurance Company of America
   General Insurance Company of America
   Insurance Company of Illinois
   Liberty County Mutual Insurance Company
   Safeco Insurance Company of America
   Safeco Insurance Company of Illinois
   Safeco Insurance Company of Indiana
   Safeco Insurance Company of Oregon
   Safeco Lloyds Insurance Company
   Safeco National Insurance Company
   Safeco Surplus Lines Insurance Company




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                                                                                                                                                                                                                     POLICY NUMBER: UK6133622

                                                                                                                                                        SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                                              PERSONAL UMBRELLA POLICY DECLARATIONS
                                                                                                                                       INSURED:                                                        AGENT:
                                                                                                                                       DALE ROMANS                                                     OLD KENTUCKY INSURANCE INC
                                                                                                                                       TAMMY FOX                                                       915 LILY CREEK RD
                                                                                                                                       PO BOX 21428                                                    LOUISVILLE       KY   40243-2808
                                                                                                                                       LOUISVILLE KY       40221-0428
                                                                                                                                                                                                       (502) 451-8800



                                                                                                                                       RESIDENCE PREMISES:                                             POLICY PERIOD FROM: FEB. 24 2020
 0000072DONQUI609952112065




                                                                                                                                       1812 PARKRIDGE PKWY
                                                                                                                                                                                                                       TO: FEB. 24 2021
                                                                                                                                       LOUISVILLE KY 40214-5916
                                                                                                                                                                                                       at 12:01 A.M. Standard time at
                                                                                                                                                                                                       the address of the insured as
                                                                                                                                                                                                       stated herein.

                                                                                                                                       RETAINED LIMIT:                   $250
                                                                                                                                       LIMIT OF LIABILITY: $2,000,000
                                                                                                                                       SCHEDULE OF UNDERLYING INSURANCE:
                                                                                                                                       You, as defined in the policy contract, agree:
                                                                                                                                         1) that insurance policies providing the coverages specified on the back of these declarations, if applicable,
                                                                                                                                            are in force and will be maintained in force as collectible insurance for at least the required minimum
                                                                                                                                            limits stated.
                                                                                                                                         2) to insure all motor vehicles owned, leased by or used by you.
                                                                                                                                         3) to insure all residence premises owned, leased by or leased to you.
                                                                                                                                         4) to insure all recreational vehicles owned, leased by or used by you.
                                                                                                                                         5) to insure all watercraft owned by you.
                                                                                                                                        COVERAGES                                                                                          PREMIUM
                                                                                                                                       Basic premium - includes one automobile and primary residence                                     $   321.00
                                                                                                                                       4 Additional automobiles in the household                                                         $   427.00
                                                                                                                                       1 Driver under 25 years of age                                                                    $   145.00
                                                                                                                                       LOUISVILLE URBAN CITY TAX AND COLLECTION FEE                                                      $    51.35
                                                                                                                                       Kentucky Surcharge                                                                                $    16.07

                                                                                                                                                                                                   TOTAL ANNUAL PREMIUM                  $ 960.42
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                                                                                                                                       You may pay your premium in full or in installments. There is no installment fee
1065




                                                                                                                                       for the following billing plans: Full Pay. Installment fees for all other billing
                                                                                                                                       plans are listed below. If more than one policy is billed on the installment bill,
                                                                                                                                       only the highest fee is charged. The fee is:
                                                                                                                                         $2.00 per installment for recurring automatic deduction (EFT)
                                                                                                                                         $5.00 per installment for recurring credit card or debit card
                                                                                                                                         $5.00 per installment for all other payment methods
                                                                                                                                       ENDORSEMENTS APPLICABLE TO THIS POLICY:
                                                                                                                                       Designated Vehicle Liability Exclusion




                                                                                                                                                                                   PLEASE SEE REVERSE
                                                                                                                                                                                           ORIGINAL                       DATE PREPARED DEC. 8 2019
                                                                                                                                       P-1075/EP 3/14
                                                                                                                                       G1
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Type of Policy                                        Required Minimum Limits
Automobile/Motor Vehicle Liability                    Single Limit        - 500,000 each occurrence
(Including motor homes)



Comprehensive Personal Liability                      Single Limit        - 300,000 each occurrence
Premises Liability                                    Single Limit        - 300,000 each occurrence
Motorcycle Liability                                  Single Limit        - 500,000 each occurrence
                                                      or
                                                      Bodily Injury       - 250,000 each person/
                                                      and                 - 500,000 each occurrence
                                                      Property Damage     - 100,000 each occurrence
Recreation Vehicle Liability                          Single Limit        - 300,000 each occurrence
                                                      or
                                                      Bodily Injury       - 250,000 each person/
                                                      and                 - 500,000 each occurrence
                                                      Property Damage     - 100,000 each occurrence
Watercraft Liability
1. a. Powerboats 32 feet or more in length; or
   b. Sailing vessels (with or without auxiliary power)
      26 feet or more in length                         Single Limit      - 500,000 each occurrence
2. All other watercraft                                 Single Limit      - 300,000 each occurrence
                                                        or
                                                        Bodily Injury     - 250,000 each person/
                                                        and               - 500,000 each occurrence
                                                        Property Damage   - 100,000 each occurrence
Incidental Farm Coverage                                Single Limit      - 300,000 each occurrence




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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 78 of 133



                                                                                                                                       OLD KENTUCKY INSURANCE INC
                                                                                                                                       915 LILY CREEK RD
                                                                                                                                       LOUISVILLE     KY 40243-2808
                                                                                                                                                                                                      December 8, 2019

                                                                                                                                                                                                              Policy Number:         3617
                                                                                                                                                                                                             24-Hour Claims: 1-800-332-3226
                                                                                                                                                                                                              Policy Service: (502) 451-8800
                                                                                                                                                                                                    Online Account Services: www.safeco.com
                                                                                                                                                                                                   THIS IS NOT A BILL.
 0000072DONQUI609344489196




                                                                                                                                       DALE ROMANS
                                                                                                                                       TAMMY FOX
                                                                                                                                       PO BOX 21428
                                                                                                                                       LOUISVILLE KY 40221-0428




                                                                                                                                       Thank you for allowing us to continue serving your home insurance needs. We appreciate your
                                                                                                                                       business and the trust that you have placed in us.
                                                                                                                                       This renewal reflects adjustments to your dwelling, other structures, and personal property limits.
                                                                                                                                       We have adjusted your dwelling coverage limit to reflect increases in labor and materials costs in
                                                                                                                                       your area. As part of your responsibility to maintain adequate amounts of insurance, please
                                                                                                                                       contact your agent to ensure that your limits reflect your dwelling's current features and
                                                                                                                                       characteristics, particularly if you have remodeled recently.
                                                                                                                                       Your other structures and personal property limits, which are based on your dwelling coverage,
                                                                                                                                       have also been adjusted. You should review whether your coverage is adequate at least
                                                                                                                                       annually, and after each significant personal property purchase. If you would like to change
                                                                                                                                       your limits, or schedule any of your high value items, please contact your agent.
                                                                                                                                       Your policy has a special deductible for losses caused by wind or hail. Please see your
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                                                                                                                                       declarations page for the dollar amount of this deductible.
4196




                                                                                                                                       With this renewal the following changes were made, including those requested by you or your
                                                                                                                                       agent or broker:
                                                                                                                                          - Your Dwelling Limits (Coverage A) changed from $576,700 to $590,000. Other coverage limits
                                                                                                                                            listed below also changed since they are factors of your dwelling limits.
                                                                                                                                          - Your Other Structure Limits (Coverage B) changed from $57,670 to $59,000.
                                                                                                                                          - Your Personal Property Limits (Coverage C) changed from $403,690 to $413,000.
                                                                                                                                          - Your Additional Living Expense (Coverage D) changed from $115,340 to $118,000.
                                                                                                                                       We would also like to draw your attention to the following:
                                                                                                                                            ■ Your new policy period begins February 24, 2020. The 12-month premium for this policy is
                                                                                                                                            $2,331.68 for the February 24, 2020 to February 24, 2021 policy term.


                                                                                                                                                                                PLEASE SEE REVERSE
                                                                                                                                                                      SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                                                          P O BOX 515097, LOS ANGELES, CA 90051
                                                                                                                                       OC-429/EP 10/13
                                                                                                                                                                                    EXHIBIT C
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        ● This is not a bill. Your bill will be sent in a separate mailing approximately 25 days before it
        is due. The bill may reflect full or installment payment options and your payment will be due
        on the policy renewal date February 24, 2020. The total amount may differ from the amount
        above based on the fees associated with your chosen payment plan. Please refer to the
        "Important Billing Information" form in this renewal package to see what changes may affect
        your billing choices.
   Your renewal premium is $2,331.68. We have sent a bill for this amount to your mortgage
   servicing company. The bill will be due on the policy renewal date February 24, 2020 .
   When we prepared this letter the premiums shown below were due for coverage we are providing
   until February 23, 2020. Your mortgage servicing agency will pay the renewal premium, but you
   need to pay the current term premiums due yourself. If you have not already mailed a payment
   for these premiums, please send us your payment by the date shown below. If the date shown
   is in the past, you should mail your payment immediately.
   SUMMARYOFCURRENTTERMPREMIUMSDUE

   $0.00TotalCurrentTermPremiumsDue

   If you have any questions or wish to make any changes to your policy, you can do so by calling
   your agent at (502) 451-8800.
   We appreciate the opportunity to serve you. Thank you.




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                                                                                                                                       Consumer Privacy Statement
                                                                                                                                       Safeco appreciates the trust you place in us when you purchase insurance from one of our
                                                                                                                                       companies. We are committed to protecting your nonpublic personal information (“personal
                                                                                                                                       information”) and we value you as a customer.
                                                                                                                                       To learn more about how Safeco collects and uses your personal information, please read the
                                                                                                                                       following notice.
                                                                                                                                       Safeco’s sources of information about you
 0000072DONQUI609344489201




                                                                                                                                       We collect personal information about you from different sources, including:
                                                                                                                                           ● The information you provide on applications or other forms (such as your name,
                                                                                                                                               address and Social Security number);
                                                                                                                                           ● Your transactions with us, our affiliates or others (such as your payment history and
                                                                                                                                               claims information);
                                                                                                                                           ● The information we receive from a consumer reporting agency or insurance support
                                                                                                                                               organization (such as your credit history, driving record or claims history); and
                                                                                                                                           ● Your independent insurance producer (such as updated information pertaining to your
                                                                                                                                               account).
                                                                                                                                       Safeco’s use of your personal information
                                                                                                                                       We only disclose personal information about our customers and former customers as permitted by
                                                                                                                                       law. Generally, this includes sharing it with third parties to administer your transactions with us,
                                                                                                                                       service your insurance policy or claim, detect and prevent fraud, or with your authorization. These
                                                                                                                                       third parties may include independent insurance producers authorized to sell Safeco insurance
                                                                                                                                       products, independent contractors (such as automobile repair facilities and property inspectors),
                                                                                                                                       independent claims representatives, insurance support organizations, other insurers, auditors,
                                                                                                                                       attorneys, courts and government agencies. We may also disclose your personal information to
                                                                                                                                       other financial institutions with whom we have joint marketing agreements. When we disclose your
                                                                                                                                       information to these individuals or organizations, we require them to use it only for the reasons we
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                                                                                                                                       gave it to them.
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                                                                                                                                       We may also share information about our transactions (such as payment history and
                                                                                                                                       products purchased) and experiences with you (such as claims made) within our Safeco
                                                                                                                                       family of companies.
                                                                                                                                       Safeco does not sell your personal information to others and we do not provide your information
                                                                                                                                       to third parties for their own marketing purposes.
                                                                                                                                       Independent Safeco Insurance Agents
                                                                                                                                       The independent insurance agents authorized to sell Safeco products are not Safeco
                                                                                                                                       employees and not subject to Safeco’s Privacy Policy. Because they have a unique
                                                                                                                                       business relationship with you, they may have additional personal information about you that
                                                                                                                                       Safeco does not have. They may use this information differently than Safeco. Contact your
                                                                                                                                       Safeco distributor to learn more about their privacy practices.
                                                                                                                                       Information about Safeco’s web site
                                                                                                                                       If you have internet access and want more information about our web site specific privacy and
                                                                                                                                       security practices, click on the Privacy Policy link on www.safeco.com.

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   Protecting your personal information from unauthorized access
   We maintain physical, electronic and procedural safeguards to protect your personal
   information. Our employees are authorized to access customer information only for
   legitimate business purposes.
   State Privacy Laws
   This privacy statement may be supplemented by privacy laws in your state. We will protect your
   information in accordance with state law.
   This Privacy Statement applies to the following members of the Safeco family of companies:
   American Economy Insurance Company
   American States Insurance Company
   American States Insurance Company of Texas
   American States Lloyds Insurance Company
   American States Preferred Insurance Company
   First National Insurance Company of America
   General Insurance Company of America
   Insurance Company of Illinois
   Liberty County Mutual Insurance Company
   Safeco Insurance Company of America
   Safeco Insurance Company of Illinois
   Safeco Insurance Company of Indiana
   Safeco Insurance Company of Oregon
   Safeco Lloyds Insurance Company
   Safeco National Insurance Company
   Safeco Surplus Lines Insurance Company




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   © 2011 Safeco Insurance Company of America, Member of Liberty Mutual Group. All Rights Reserved.
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                                                                                                                                                                         Information about your Policy
                                                                                                                                    Policy Number:         3617

                                                                                                                                    DALE ROMANS
                                                                                                                                    TAMMY FOX
                                                                                                                                    PO BOX 21428
                                                                                                                                    LOUISVILLE KY 40221-0428
                                                                                                                                    Like many insurance companies, Safeco Insurance considers many factors, including information based on your
                                                                                                                                    credit history, to determine your premium. You have the option to request that we re-evaluate your insurance
                                                                                                                                    policy using current credit information. If you request that we update your credit information, it may result in a
                                                                                                                                    quoted premium either higher or lower than your current premium. To submit a request, return this form to Safeco
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                                                                                                                                    Insurance, Attn: Policy Support, P.O. Box 515097, Los Angeles, CA 90051-5097 or fax it to (877) 344-5107. You
                                                                                                                                    may submit a request once every 12 months or as otherwise permitted by law. Any changes will be applied at
                                                                                                                                    your next renewal.
                                                                                                                                    By returning this form, you request Safeco Insurance to re-evaluate your policy based on your current credit
                                                                                                                                    information.
                                                                                                                                    CN-7402/EP 8/15
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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 83 of 133


                                                                                                                                                SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                                Home Office: 62 Maple Ave, Keene, NH 03431 (A stock insurance company.)
                                                                                                                                                HOMEOWNERS POLICY DECLARATIONS
                                                                                                                                    POLICY NUMBER:                                      POLICY PERIOD: FROM: FEB. 24, 2020 12:01 A.M.
                                                                                                                                            3617                                                              TO: FEB. 24, 2021 12:01 A.M.
                                                                                                                                    NAMED INSURED AND MAILING ADDRESS:                  AGENT:
                                                                                                                                      DALE ROMANS                                          OLD KENTUCKY INSURANCE INC
                                                                                                                                      TAMMY FOX                                            915 LILY CREEK RD
                                                                                                                                      PO BOX 21428                                         LOUISVILLE      KY 40243-2808
                                                                                                                                      LOUISVILLE KY 40221-0428
                                                                                                                                      Valued Homeowners Customer Since: FEB. 24, 2014
 0000072DONQUI609344489203




                                                                                                                                    INSURED LOCATION:                                      POLICY SERVICE INFORMATION:
                                                                                                                                      1812 PARKRIDGE PKWY                                    TELEPHONE: (502) 451-8800
                                                                                                                                      LOUISVILLE KY 40214-5916                               E-MAIL:
                                                                                                                                                                                             WEBSITE: www.oldkyins.com

                                                                                                                                     IMPORTANT MESSAGES
                                                                                                                                        - Your policy has renewed effective February 24, 2020.

                                                                                                                                    LIMITS OF LIABILITY
                                                                                                                                     (Policy Section I - Property Coverages and Section II - Liability Coverages)




                                                                                                                                          $590,000          $59,000         $413,000            $118,000       $500,000            $1,000

                                                                                                                                    DEDUCTIBLES.
                                                                                                                                    The following deductibles apply unless otherwise stated within the policy.
                                                                                                                                                                                                                AMOUNT
                                                                                                                                        Section I, except as noted below                                   $     1,000
                                                                                                                                        Windstorm or Hail Deductible                                             1,000
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                                                                                                                                                                                                                                   PREMIUM
                                                                                                                                    BASIC COVERAGES                                                                        $      3,150.00
                                                                                                                                    OTHER COVERAGES, LIMITS AND OPTIONAL COVERAGES                                         $        121.00
                                                                                                                                    DISCOUNTS AND SURCHARGES                                                               $       -939.32
                                                                                                                                    TOTAL POLICY PREMIUM:                                                                  $      2,331.68
                                                                                                                                        Premium Payer:      Servicing Mortgagee

                                                                                                                                    You may pay your premium in full or in installments. There is no installment fee for
                                                                                                                                    the following billing plans: Full Pay. Installment fees for all other billing plans
                                                                                                                                    are listed below. If more than one policy is billed on the installment bill, only
                                                                                                                                    the highest fee is charged. The fee is:
                                                                                                                                      $2.00 per installment for recurring automatic deduction (EFT)
                                                                                                                                      $5.00 per installment for recurring credit card or debit card
                                                                                                                                      $5.00 per installment for all other payment methods




                                                                                                                                                                                 CONTINUED                                  ORIGINAL
                                                                                                                                    HOM-7000/EP 1/09                              Page 1 of 3                     DATE PREPARED: DEC. 8 2019
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             SAFECO INSURANCE COMPANY OF AMERICA
             HOMEOWNERS POLICY DECLARATIONS
                                       CONTINUED               POLICY NUMBER:           3617
    Servicing Mortgagee                            Second Mortgagee
       CITIMORTGAGE                                   FIRST CAPITAL BANK OF KY
       ITS SUCCESSORS AND/OR ASSIGNS                  ITS SUCCESSORS AND/OR ASSIGNS
       PO BOX 7706                                    293 N HUBBARDS LANE
       SPRINGFIELD OH 45501                           LOUISVILLE KY 40207
       LOAN NUMBER: 2003755180011

POLICY LIMITS AND OTHER ADDITIONAL COVERAGES
(Unless otherwise stated, all limits and coverages are included in basic coverages)
    COVERAGE LEVEL: NEW QUALITY-PLUS
SECTION I - PROPERTY COVERAGES
COVERAGE C - PERSONAL PROPERTY - 3. SPECIAL LIMITS OF LIABILITY
a.Money, pre-paid cards...      $    250    h.Business Property
b.Rare coins and currency...    $ 3,000          On Premises...                     $   3,000
c.Securities, debit cards...    $ 3,000          Off Premises Sub-limit             $   1,000
d.Watercraft...                 $ 3,000     i.Tapes, records, discs...              $     500
e.Trailers...                   $ 3,000     j.Theft of rugs...                      $   5,000
f.Theft of jewelry, watches... $ 3,000      k.Grave Markers...                      $   3,000
g.Theft of silverware...        $ 3,000

OTHER INCLUDED COVERAGES/POLICY PROVISIONS                           Limit           Premium
Loss Assessment Coverage                                       $    5,000    $          2.00
Building Ordinance or Law Coverage ( 10%)                      $   59,000           Included
Fungi, Wet or Dry Rot, or Bacteria                             $   10,000           Included
Reasonable Repairs                                             $    5,000           Included
Fire Department Service Charge                                 $    3,000           Included
Land Stabilization                                             $    5,000           Included
Arson Reward                                                   $   25,000           Included
Criminal Conviction Reward - Item a. Information               $    2,500           Included
Criminal Conviction Reward - Item b. Property Recovery         $    5,000           Included
Credit Card, Fund Transfer, Forgery & Counterfeit Money        $    3,000           Included
Volunteer America                                                                   Included
   Section I (All Perils Coverage)                                                  Included
   Section II - Liability Coverage                                                  Included
   Section II - Property Damage                                $    2,000           Included

OPTIONAL COVERAGES                                                  Limit            Premium




                                                                                                    
    Personal Property Replacement Cost                                              Included




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    Extended Dwelling Coverage                                   Up to 25%          Included
    Escape of Water from Sump (Building/Contents)               $   10,000   $         93.00
    Refrigerated Spoilage Coverage                                           $         13.00
    Identity Recovery Coverage                                 $   25,000    $         13.00
    Additional Interest
      Section I - Property Coverages                                                Included

DISCOUNTS AND SURCHARGES                                                             Premium
    Package Auto Discount                                                    $       -764.00
    Umbrella Policy Discount                                                 $       -122.00
    Renewal Discount                                                         $        -31.00
    Advance Quote Discount                                                   $       -124.00
    Burglar Alarm Discount                                                   $        -62.00
    LOUISVILLE URBAN CITY TAX AND COLLECTION FEE                             $        124.66
    Kentucky Surcharge                                                       $         39.02

For information on other deductibles, coverages or discounts available in your state
or to review your account online, log on to www.safeco.com




                                       CONTINUED
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                                                                                                                                                 SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                                 HOMEOWNERS POLICY DECLARATIONS
                                                                                                                                                                          CONTINUED           POLICY NUMBER:           3617
                                                                                                                                    FORMS APPLICABLE TO THIS POLICY:
                                                                                                                                        HOM-7301/EP 1/09      - PERSONAL PROPERTY REPLACEMENT COST
                                                                                                                                        HOM-7300/EP 1/09      - EXTENDED DWELLING COVERAGE
                                                                                                                                        HOM-7210/EP 1/09      - SAFECO NEW QUALITY-PLUS HOMEOWNERS CVRG
                                                                                                                                        HOM-7230/EP 1/09      - WINDSTORM/HAIL DEDUCTIBLE
                                                                                                                                        HOM-7311/EP 1/09      - ESCAPE OF WATER FROM SUMP/SUMP PUMP DRAIN (BLDG AND CONT)
                                                                                                                                        HOM-7307/EP 1/09      - IDENTITY RECOVERY COVERAGE
                                                                                                                                        HOM-7305/EP 1/09      - REFRIGERATED SPOILAGE COVERAGE
                                                                                                                                        HOM-7030/EP 1/09      - HOMEOWNERS POLICY
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                                                                                                                                        HOM-7232/EP 1/09      - EXECUTION CLAUSE
                                                                                                                                        HOM-7012/EP 1/09      - ADDITIONAL INTEREST ENDORSEMENT
                                                                                                                                        HOM-7100/KYEP R1 5/09 - SPECIAL PROVISIONS - KY
                                                                                                                                        HOM-7234/KYEP 9/12    - KENTUCKY POLICY COVER SHEET
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                                                                                                                                    HOM-7001/EP 1/09                       Page 3 of 3                 DATE PREPARED DEC. 8 2019
                                                                                                                                                                                         POLICY
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                                                                                                                                                                   ADDITIONAL INTEREST ENDORSEMENT
                                                                                                                                       AGENT:                                                                    INSURED:
                                                                                                                                       OLD KENTUCKY INSURANCE INC                                                DALE ROMANS
                                                                                                                                       P O BOX 20887                                                             TAMMY FOX
                                                                                                                                       LOUISVILLE       KY   40250-0887




                                                                                                                                       AGENT TELEPHONE: (502) 451-8800



                                                                                                                                                                                                                 ADDITIONAL INTEREST
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                                                                                                                                       FIRST CAPITAL BANK OF KY
                                                                                                                                       ITS SUCCESSORS AND/OR ASSIGNS
                                                                                                                                       293 N HUBBARDS LANE                                                       TYPE OF INTEREST:
                                                                                                                                       LOUISVILLE KY 40207                                                       SECOND MORTGAGEE

                                                                                                                                                                                                                 EFFECTIVE DATE:
                                                                                                                                                                                                                FEB. 24 2014


                                                                                                                                       The person(s) and/or organization(s) listed above are considered to have an interest in the residence
                                                                                                                                       premises, subject to the following:

                                                                                                                                       SECTION I — PROPERTY COVERAGES
                                                                                                                                        X   If this box is checked, this additional interest is applicable to Coverage A — Dwelling, Coverage
                                                                                                                                            B — Other Structures, or Coverage C — Personal Property.
                                                                                                                                            Loss payments shall be made as follows:
                                                                                                                                            1st — To the Mortgagee named in the Policy Declarations or Statement of Coverage, as its
                                                                                                                                                      interest in the damaged property may appear;
                                                                                                                                            2nd — To the persons or organizations listed as mortgagees on this or other endorsement, in
                                                                                                                                                      their order of listing, as their interest(s) in the damaged property may appear;
                                                                                                                                            3rd — To all other persons or organizations listed on this or other endorsement, in their date
                                                                                                                                                      order of listing, as their interest(s) in the damaged property may appear;
                                                                                                                                            4th — The balance, if any, to the named insured.
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                                                                                                                                       SECTION II — LIABILITY COVERAGES
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                                                                                                                                            If this box is checked, this additional interest is applicable to Coverage E — Personal Liability,
                                                                                                                                            but only with respect to the residence premises.
                                                                                                                                            This coverage does not apply to bodily injury to any employee arising out of or in the course of the
                                                                                                                                            employee’s employment by the person(s) or organization(s) named on this or other endorsement.

                                                                                                                                       SECTION I and SECTION II — CONDITIONS
                                                                                                                                       If this policy is canceled or not renewed by us, all additional interests will be notified in writing.
                                                                                                                                       All provisions of this policy apply.




                                                                                                                                                                                                                                         INSURED'S COPY
                                                                                                                                       SAFECO INSURANCE COMPANY OF AMERICA
                                                                                                                                       HOM-7012/EP 1/09                                                                  DATE PREPARED:FEB. 23 2014
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                                                                                                                                                              SAFECO HOMEOWNERS POLICY
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                                                                                                                                       SECTION I — PROPERTY COVERAGES                                          1
                                                                                                                                                   COVERAGE A — DWELLING                                       1
                                                                                                                                                   COVERAGE B — OTHER STRUCTURES                               1
 0000072DONQUI609345051214




                                                                                                                                                       Building Property We Cover                              1
                                                                                                                                                       Building Property We Do Not Cover                       1
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                                                                                                                                                                             INSURING AGREEMENT
                                                                                                                                       In reliance on the information you have given us, we will pay claims and provide coverage as described in this
                                                                                                                                       policy if you pay the premiums when due and comply with all the applicable provisions outlined in this policy.
                                                                                                                                       This policy applies only to losses occurring during the policy period.

                                                                                                                                                                   SECTION I — PROPERTY COVERAGES
                                                                                                                                       BUILDING PROPERTY WE COVER
                                                                                                                                       COVERAGE A — DWELLING
                                                                                                                                       We cover:
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                                                                                                                                       1. the dwelling on the residence premises shown in your Policy Declarations used principally as a
                                                                                                                                           private residence, including structures attached to the dwelling other than fences, driveways or
                                                                                                                                           walkways;
                                                                                                                                       2. attached carpeting, built-in appliances, fixtures; and
                                                                                                                                       3. materials and supplies located on or next to the residence premises used to construct, alter or
                                                                                                                                           repair the dwelling or other structures on the residence premises.
                                                                                                                                       COVERAGE B — OTHER STRUCTURES
                                                                                                                                       We cover:
                                                                                                                                       1. fences, driveways and walkways; and
                                                                                                                                       2. other structures on the residence premises, separated from the dwelling by clear space. This
                                                                                                                                           includes retaining walls, decorative or privacy walls and other structures connected to the dwelling by
                                                                                                                                           only a fence, utility line, plumbing, or similar connection.

                                                                                                                                       BUILDING PROPERTY WE DO NOT COVER
                                                                                                                                       1. Land, no matter where it is located, including land on which the dwelling is located, except as noted
                                                                                                                                           in Additional Property Coverages, Land Stabilization.
                                                                                                                                       2. Other structures:
                                                                                                                                           a. used in whole or in part for business; or
                                                                                                                                           b. rented or held for rental to any person not a tenant of the dwelling, unless used solely as a
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                                                                                                                                                 private residence or garage.
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                                                                                                                                       BUILDING PROPERTY LOSSES WE COVER
                                                                                                                                       We cover accidental direct physical loss to property described in Building Property We Cover except as
                                                                                                                                       limited or excluded.

                                                                                                                                       BUILDING PROPERTY LOSSES WE DO NOT COVER
                                                                                                                                       We do not cover loss caused directly or indirectly by any of the following excluded perils. Such loss is
                                                                                                                                       excluded regardless of any other cause or event contributing concurrently or in any sequence to the loss.
                                                                                                                                       These exclusions apply whether or not the loss event results in widespread damage or affects a
                                                                                                                                       substantial area;
                                                                                                                                       1. freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system, or of a
                                                                                                                                            household appliance, or by discharge, leakage or overflow from within the system or appliance
                                                                                                                                            caused by freezing, while the dwelling is vacant, unoccupied or under construction, including being
                                                                                                                                            newly built, remodeled, reconstructed, renovated or repaired. This provision does not apply if you
                                                                                                                                            have used reasonable care to:
                                                                                                                                            a. maintain heat in the building; or
                                                                                                                                       HOM-7030/EP 1/09                                     -1-
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       b. shut off the water supply and drain the system and appliances of water;
   2. freezing, thawing, pressure or weight of water, ice or snow whether driven by wind or not, to a
        swimming pool, hot tub or spa, including their filtration and circulation systems, fence, landscape
        sprinkler system, pavement, patio, foundation, retaining wall, decorative or privacy wall, bulkhead,
        pier, wharf or dock;
   3. theft in, to or from a dwelling under construction, including materials and supplies for use in the
        construction, until or unless the dwelling is occupied. A dwelling under construction includes being
        newly built, remodeled, reconstructed, renovated or repaired. This exclusion does not apply if you
        are occupying the dwelling as your primary residence at the time of the loss;
   4. vandalism and malicious mischief, including fire caused by arson, or breakage of glass and safety
        glazing materials if the dwelling has been vacant for more than 60 consecutive days immediately
        before the loss. A dwelling under construction, including being newly built, remodeled, reconstructed,
        renovated or repaired is not considered vacant.
   5. continuous or repeated seepage or leakage of water or steam, or the presence or condensation of
        humidity, moisture or vapor which occurs over a period of weeks, months or years.
   6. a. wear and tear, marring, scratching, deterioration;
        b. inherent defect, mechanical breakdown;
        c. smog, rust or other corrosion, or electrolysis;
        d. smoke from agricultural smudging or industrial operations;
        e. settling, cracking, shrinking, bulging, or expansion of pavements, patios, foundations, walls,
              floors, roofs, ceilings, swimming pools, hot tubs, spas or chimneys;
        f. birds, vermin, rodents, insects or domestic animals;
        g. pressure from or presence of plant roots.
   However, we do insure for any resulting loss from items 1. through 6. unless the resulting loss is itself
   excluded under Building Property Losses We Do Not Cover in this Section. If loss to covered property
   is caused by water or steam not otherwise excluded, we will cover the cost of tearing out and replacing
   any part of the building necessary to repair the system or appliance. We do not cover loss to the system
   or appliance from which water or steam escaped.
   7. Pollution or Contamination, meaning the existence of or the actual, alleged, or threatened
        discharge, dispersal, seepage, migration, release, escape, emission, transmission or absorption of
        pollutants or contaminants at any time except as provided by Additional Property Coverages —
        Household Products Coverage under Section I — Property Coverages.
   8. Ordinance or Law, meaning any ordinance or law:




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        a. requiring or regulating the construction, remodeling, renovation, repair, or demolition of building




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              property, including removal of resulting debris, unless specifically provided under this policy;
        b. the requirements of which result in a loss in value to property; or
        c. requiring any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
              neutralize, or in any way respond to, or assess the effects of, pollutants or contaminants.
        This exclusion applies whether or not the building property has been physically damaged.
   9. Earth Movement, meaning:
        a. the sinking, rising, shifting, expanding or contracting of earth, all whether combined with water
              or not. Earth movement includes but is not limited to earthquake, landslide, mudflow, mudslide,
              sinkhole, subsidence, movement resulting from improper compaction, site selection or any other
              external forces, erosion including collapse or subsidence of land along a body of water as a
              result of erosion or undermining resulting from the action of water. This includes the channeling
              of a river or stream;
        b. erosion, shifting or displacement of materials supporting the foundation; and
        c. volcanic blast, volcanic explosion, shockwave, lava flow, lahars and fallout of volcanic
              particulate matter.
        This exclusion applies whether the earth movement is caused by or resulting from human or animal
        forces or any act of nature.
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                                                                                                                                           We do cover direct loss by fire, explosion or theft.
                                                                                                                                       10. Water Damage, meaning:
                                                                                                                                           a. (1) flood, surface water, waves, tidal water, tsunami, seiche, overflow of a body of water, storm
                                                                                                                                                      surge or spray from any of these, whether or not driven by wind, including hurricane or
                                                                                                                                                      similar storm; or
                                                                                                                                                 (2) release of water held by a dam, levee, dike or by a water or flood control device or
                                                                                                                                                      structure;
                                                                                                                                           b. water below the surface of the ground, including that which exerts pressure on, or seeps or
                                                                                                                                                 leaks through a building, wall, bulkhead, sidewalk, driveway, foundation, swimming pool, hot tub
                                                                                                                                                 or spa, including their filtration and circulation systems, or other structure;
                                                                                                                                           c. water which escapes or overflows from sewers or drains located off the residence premises;
                                                                                                                                           d. water which escapes or overflows from drains or related plumbing appliances on the residence
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                                                                                                                                                 premises. However, this exclusion does not apply to overflow and escape caused by
                                                                                                                                                 malfunction on the residence premises, or obstruction on the residence premises, of a drain
                                                                                                                                                 or plumbing appliance on the residence premises; or
                                                                                                                                           e. water which escapes or overflows or discharges, for any reason, from within a sump pump,
                                                                                                                                                 sump pump well or any other system designed to remove water which is drained from the
                                                                                                                                                 foundation area.
                                                                                                                                           Water includes any water borne materials.
                                                                                                                                           This exclusion applies whether the water damage is caused by or resulting from human or animal
                                                                                                                                           forces or any act of nature.
                                                                                                                                           Direct loss by fire, explosion or theft resulting from water damage is covered.
                                                                                                                                       11. Power Interruption, meaning the failure of power or other utility service if the failure takes place off
                                                                                                                                           the residence premises. If any Building Property Losses We Cover ensues on the residence
                                                                                                                                           premises, we will pay only for the ensuing loss.
                                                                                                                                       12. Neglect, meaning your failure to use all reasonable means to save and preserve property at and
                                                                                                                                           after the time of a loss, or when property is endangered.
                                                                                                                                       13. Loss caused directly or indirectly by war, including the following and any consequence of any of the
                                                                                                                                           following:
                                                                                                                                           a. undeclared war, civil war, insurrection, rebellion, or revolution;
                                                                                                                                           b. warlike act by a military force or military personnel; or
                                                                                                                                           c. destruction or seizure or use for a military purpose.
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                                                                                                                                           Discharge of a nuclear weapon shall be deemed a warlike act even if accidental.
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                                                                                                                                       14. Nuclear Hazard, meaning nuclear reaction, nuclear radiation, or radioactive contamination, all
                                                                                                                                           whether controlled or uncontrolled, and whether or not one of the forces initiating or contributing to
                                                                                                                                           these nuclear hazards is covered within the losses we cover in Section I except direct loss by fire
                                                                                                                                           resulting from the nuclear hazard is covered.
                                                                                                                                       15. Intentional Loss, meaning any loss arising out of any act committed:
                                                                                                                                           a. by or at the direction of any insured;
                                                                                                                                           b. with the intent to cause a loss.
                                                                                                                                           This exclusion does not apply to an otherwise covered property loss if the property loss is caused by
                                                                                                                                           an act of domestic abuse by another insured under the policy provided:
                                                                                                                                           c. the insured claiming a property loss files a police report and cooperates with any law
                                                                                                                                                 enforcement investigation relating to the act of domestic abuse; and
                                                                                                                                           d. the insured claiming a property loss did not cooperate in or contribute to the creation of the
                                                                                                                                                 property loss.
                                                                                                                                           Payment pursuant to this provision shall be limited to the insurable interest in the property of the
                                                                                                                                           insured claiming a property loss, less payments made pursuant to Section I — Property
                                                                                                                                           Conditions, Mortgage Clause.

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        e. For purposes of this provision, “domestic abuse” means:
           (1) physical harm, bodily injury, assault, or the infliction of fear of imminent physical harm,
                 bodily injury, or assault between family or household members;
            (2) sexual assault of one family or household member by another;
            (3) stalking of one family or household member by another family or household member; or
            (4) intentionally, knowingly, or recklessly causing damage to property so as to intimidate or
                 attempt to control the behavior of another family or household member.
   16. Acts or Decisions, including the failure to act or decide, of any person, group, organization or
       governmental body. However, any ensuing loss not excluded is covered.
   17. Weather that contributes in any way with a cause or event not covered in this section to produce a
       loss. However, any ensuing loss caused by a covered peril and not otherwise excluded is covered.
   18. Planning, Construction or Maintenance, meaning faulty, inadequate or defective:
       a. planning, zoning, development, surveying, siting;
       b. design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
            compaction;
       c. materials used in repair, construction, renovation or remodeling; or
       d. maintenance;
       of property whether on or off the insured location by any person or organization. However, any
       ensuing loss not excluded is covered.
   19. Fungi, Wet or Dry Rot, or Bacteria meaning the presence, growth, proliferation or spread of fungi,
       wet or dry rot, or bacteria. This exclusion does not apply to the extent coverage is provided for under
       Additional Property Coverages — Fungi, Wet or Dry Rot, or Bacteria in Section I — Property
       Coverages.
   20. Collapse, except as provided under Additional Property Coverages — Collapse in Section I —
       Property Coverages. However, any ensuing loss caused by a covered peril and not otherwise
        excluded is covered.

   PERSONAL PROPERTY WE COVER
   COVERAGE C — PERSONAL PROPERTY
   1. Personal property owned or used by any insured is covered while it is anywhere in the world. When
      personal property is usually located at an insured’s residence, other than the residence premises,
      coverage is limited to 10% of the Coverage C limit. Personal property in a newly acquired principal




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      residence is not subject to this limitation for the 30 days immediately after you begin to move the




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      property there.
      During the time the residence premises is under construction by or for the insured, our limit of liability
      for personal property other than on the residence premises shall be equal to the amount specified for
      Coverage C. Our total limit shall not exceed the policy limit for Coverage C in any one loss.
   2. At your request we cover:
      a. personal property owned by others while the property is on that part of the residence premises
           occupied exclusively by any insured;
      b. personal property owned by a guest or a residence employee, while the property is at any
           residence occupied by any insured.
   3. SPECIAL LIMITS FOR PERSONAL PROPERTY
        The following groups of personal property are covered only up to the special limit shown on your
        Policy Declarations page. The special limit is the total amount available for each group for any one
        loss and does not increase the Coverage C limit. The loss of, or damage to, more than one item in a
        group arising from the same cause or event is considered one loss.
        a. Money, pre-paid cards or passes, monetary value carried on electronic chip or magnetic cards,
             bank notes, bullion, gold other than goldware, silver other than silverware and platinum.

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                                                                                                                                            b. Rare coins and currency, medals, stamps, trading cards and comic books, including any of
                                                                                                                                                 these that are part of a collection.
                                                                                                                                            c.   Securities, debit cards, checks, cashier’s checks, traveler’s checks, money orders and other
                                                                                                                                                 negotiable instruments, accounts, deeds, evidences of debt, letters of credit, notes other than
                                                                                                                                                 bank notes, manuscripts, passports, tickets, personal documents, and records or data.
                                                                                                                                                 The dollar limit applies to these categories regardless of the medium (such as paper or
                                                                                                                                                 computer software) on which the material exists.
                                                                                                                                                 The limit includes the cost to research, replace or restore the material from the lost or damaged
                                                                                                                                                 medium.
                                                                                                                                            d.   Watercraft, including their trailers, furnishings, equipment and outboard motors.
                                                                                                                                            e.   Trailers not used with watercraft.
                                                                                                                                            f.   Theft of jewelry, watches, furs, precious and semiprecious stones.
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                                                                                                                                            g.   Theft of silverware, silver-plated ware, goldware, gold-plated ware and pewterware.
                                                                                                                                                 Silverware, goldware and pewterware include:
                                                                                                                                                 (1) plateware, flatware, hollowware, tea sets, trays, trophies and the like;
                                                                                                                                                 (2) other utilitarian items made of or including silver or gold; and
                                                                                                                                                 (3) all items of pewterware.
                                                                                                                                            h.   Business property, not excluded elsewhere, while located on the residence premises. Up to
                                                                                                                                                 $1,000 of the limit on your Policy Declarations may be used for business property, not
                                                                                                                                                 excluded elsewhere, while located off the residence premises.
                                                                                                                                            i.   Tapes, records, discs or other media in a motor vehicle or other motorized land conveyance on
                                                                                                                                                 or away from the residence premises.
                                                                                                                                            j.   Theft of any rug, carpet (except wall-to-wall carpet), tapestry, wall-hanging or other similar
                                                                                                                                                 article.
                                                                                                                                            k.   Grave markers.

                                                                                                                                       PERSONAL PROPERTY WE DO NOT COVER
                                                                                                                                       1. Articles separately described and specifically insured, regardless of insured limit, in this or any other
                                                                                                                                            insurance.
                                                                                                                                       2.   Animals, birds or fish.
                                                                                                                                       3.   Motorized land vehicles including their equipment, parts and accessories while in or upon the
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                                                                                                                                            vehicle.
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                                                                                                                                            However, we do cover:
                                                                                                                                            a. motorized land vehicles used solely to service the residence premises and not subject to
                                                                                                                                                  motor vehicle registration or licensed for road use;
                                                                                                                                            b. vehicles designed for the handicapped and not licensed for road use;
                                                                                                                                            c. up to $500 for disassembled parts of a motorized land vehicle while located on the residence
                                                                                                                                                  premises; or
                                                                                                                                            d. up to $500 for electric motorized ride-on vehicles designed to be operated by children under the
                                                                                                                                                  age of eight and designed for speeds of less than six miles per hour.
                                                                                                                                       4.   Electronic apparatus, including their accessories and antennas, designed to be operated solely by
                                                                                                                                            power from the electrical system of a motor vehicle. This exclusion applies only while such property
                                                                                                                                            is in or upon a motor vehicle.
                                                                                                                                       5.   Aircraft, including disassembled parts of aircraft. This exclusion does not apply to model aircraft. Any
                                                                                                                                            aircraft designed for carrying persons or cargo is not a model aircraft.
                                                                                                                                       6.   Hovercraft and parts. Hovercraft means a self-propelled motorized ground effect vehicle and
                                                                                                                                            includes, but is not limited to, flarecraft and air cushion vehicles.

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   7. Property of roomers, boarders, tenants and other residents not related to any insured.
   8. Property in a location on the residence premises, when the location is rented or held for rental to
        others by any insured for more than 31 days in a calendar year. This exclusion does not apply to
        property of an insured in a sleeping room rented to others by an insured on the residence
        premises.
   9. Property, away from the residence premises, rented or held for rental to others.
   10. Business property or merchandise:
       a. in storage;
       b. held as a sample; or
       c. held for sale or delivery after sale.
   11. Business documents, records or data regardless of the medium on which they exist. However, we
        do cover the cost of blank recording or storage media, and of pre-recorded computer programs
        available on the retail market.

   PERSONAL PROPERTY LOSSES WE COVER
   We cover accidental direct physical loss to property described in Coverage C — Personal Property
   caused by a peril listed below except as limited or excluded.
   1. Fire or lightning.
   2. Windstorm or hail.
        This peril does not include loss to the property contained in a building caused by rain, snow, sleet,
        sand or dust unless the direct force of wind or hail damages the building causing an opening in a roof
        or wall and the rain, snow, sleet, sand or dust enters through this opening.
        This peril includes loss to watercraft and their trailers, furnishings, equipment, and outboard motors,
        only while inside a building with:
        a. continuous walls on all sides extending from ground level to the roof;
        b. doors and windows in the walls at various locations; and
        c. a continuous roof sheltering all areas within the wall perimeter.
   3.   Explosion.
   4.   Riot or civil commotion.
   5.   Aircraft, including self-propelled missiles and spacecraft.




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   6.   Vehicles, meaning impact by, or with, or upset of, a vehicle.




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   7.   Smoke, meaning sudden and accidental damage from smoke.
        This peril does not include loss caused by smoke from agricultural smudging or industrial operations,
        including slash burns.
   8. Vandalism or malicious mischief.
   9. Theft, including attempted theft and loss of property from a known location when it is likely that the
        property has been stolen.
        This peril does not include loss caused by theft:
        a. committed by any insured or by any other person regularly residing on the insured location;
        b. in, to or from a dwelling under construction, or of materials and supplies for use in the
             construction until the dwelling is completed and occupied; or
        c. from that part of a residence premises rented by any insured to other than an insured.
        This peril does not include loss caused by theft that occurs away from the residence premises of
        property while at any other residence owned, rented to, or occupied by any insured, except while an
        insured is temporarily residing there.
        Property of a student who is an insured is covered while at a residence away from home.

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                                                                                                                                       10. Falling objects.
                                                                                                                                           This peril does not include loss to property contained in a building unless the roof or an outside wall
                                                                                                                                           of the building is first damaged by a falling object. Damage to the falling object itself is not included.
                                                                                                                                       11. Weight of ice, snow or sleet which causes damage to property contained in a building.
                                                                                                                                       12. Accidental discharge or overflow of water or steam from within a plumbing, heating, air
                                                                                                                                           conditioning or automatic fire protective sprinkler system, or from within a household appliance.
                                                                                                                                           This peril does not include loss:
                                                                                                                                           a. to the appliance or system from which the water or steam escaped;
                                                                                                                                           b. caused by or resulting from freezing except as provided in the peril of freezing below; or
                                                                                                                                           c. on the residence premises caused by accidental discharge or overflow which occurs off the
                                                                                                                                                 residence premises.
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                                                                                                                                           For purposes of coverage under this peril, a plumbing system or household appliance does not
                                                                                                                                           include a sump, sump pump or related equipment or a roof drain, gutter, downspout or similar
                                                                                                                                           fixtures or equipment.
                                                                                                                                       13. Sudden and accidental tearing apart, cracking, burning or bulging of a steam or hot water
                                                                                                                                           heating system, an air conditioning or automatic fire protective sprinkler system, or an appliance for
                                                                                                                                           heating water.
                                                                                                                                           We do not cover loss caused by or resulting from freezing under this peril.
                                                                                                                                       14. Freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system, or of a
                                                                                                                                           household appliance.
                                                                                                                                           This peril does not include loss on the residence premises while the dwelling is vacant, unoccupied
                                                                                                                                           or under construction, including being newly built, remodeled, reconstructed, renovated or repaired,
                                                                                                                                           unless you have used reasonable care to:
                                                                                                                                           a. maintain heat in the building; or
                                                                                                                                           b. shut off the water supply and drain the system and appliances of water.
                                                                                                                                           For purposes of coverage under this peril, a plumbing system or household appliance does not
                                                                                                                                           include a sump, sump pump or related equipment or a roof drain, gutter, downspout or similar
                                                                                                                                           fixtures or equipment.
                                                                                                                                       15. Sudden and accidental damage from artificially generated electrical current.
                                                                                                                                       16. Breakage of glass, meaning damage to personal property caused by breakage of glass which is a
                                                                                                                                            part of a building on the residence premises. There is no coverage if breakage of glass is caused
                                                                                                                                            by earthquake. There is no coverage for loss or damage to the glass.
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                                                                                                                                       PERSONAL PROPERTY LOSSES WE DO NOT COVER
                                                                                                                                       We do not cover loss caused directly or indirectly by any of the Building Property Losses We Do Not
                                                                                                                                       Cover. Such loss is excluded regardless of any other cause or event contributing concurrently or in any
                                                                                                                                       sequence to the loss. These exclusions apply whether or not the loss event results in widespread damage
                                                                                                                                       or affects a substantial area.

                                                                                                                                       COVERAGE D — ADDITIONAL LIVING EXPENSE AND LOSS OF RENT
                                                                                                                                       1. If a loss covered under this Section makes that part of the residence premises where you reside
                                                                                                                                          uninhabitable we cover Additional Living Expense, meaning the necessary increase in living
                                                                                                                                          expenses you incur so that your household can maintain its normal standard of living.
                                                                                                                                          Payment shall be for the shortest time required, not exceeding 24 months, to repair or replace the
                                                                                                                                          damage or to permanently relocate.
                                                                                                                                       2. If a loss covered under this Section makes that part of the residence premises you rent to others or
                                                                                                                                          hold for rental uninhabitable, we cover your loss of rent, meaning the rental income to you from that
                                                                                                                                          part of the residence premises you rent to others at the time of the loss, less any expenses that do
                                                                                                                                          not continue while the premises is uninhabitable.

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        This coverage does not apply to:
        a. The residence premises or that part of the insured location that is not rented or leased to a
             tenant at the time of the loss; or
        b. to any increase in rent or lease payment that occurs after the time of the loss.
        Payment shall be for the shortest time required to repair or replace the damage, but not to exceed 24
        months.
   3. If a civil authority prohibits you from use of the residence premises as a result of direct damage to
        neighboring premises by a cause of loss we cover in this policy we cover the Additional Living
        Expense as provided under 1., above for no more than two weeks during which use is prohibited.
   The total limit of liability available for Additional Living Expense and Loss of Rent is stated on your
   Policy Declarations page and is the most we will pay for all loss or costs under 1., 2. and 3., above.
   The periods of time under 1., 2. and 3. above are not limited by expiration of this policy.
   We do not cover loss or expense due to cancellation of a lease or agreement.
   No deductible applies to this coverage.

   ADDITIONAL PROPERTY COVERAGES
   The following Additional Property Coverages are subject to all the terms, provisions, exclusions, and
   conditions of this policy.
   1. Debris Removal. We will pay the reasonable expense you incur in the removal of debris of covered
       property provided coverage is afforded for the peril causing the loss. Debris removal expense is
       included in the limit of liability applying to the damaged property. When the amount payable for the
       actual damage to the property plus the expense for debris removal exceeds the limit of liability for the
       damaged property, an additional 5% of that limit of liability will be available to cover debris removal
       expense.
       We will also pay the reasonable expenses you incur, up to $500, for the removal of trees from the
       residence premises, provided the trees damage Building Property We Cover. The $500 limit is
       the most we will pay in any one loss regardless of the number of fallen trees.
   2. Reasonable Repairs. We will pay up to the amount stated in your Policy Declarations for the
       reasonable cost you incur for necessary repairs made solely to protect covered property from further
       damage, following a covered loss. This coverage does not increase the limit of liability applying to
       the property being repaired.
   3. Trees, Shrubs and Other Plants. We cover, as an additional amount of insurance, trees, shrubs,
       plants or lawns, on the residence premises, for loss caused by the following perils: Fire or lightning,




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       Explosion, Riot or civil commotion, Aircraft, Vehicles not owned or operated by a resident of the




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       residence premises, Vandalism or Malicious mischief and Theft.
       We will pay up to 5% of the limit of liability that applies to the dwelling for all trees, shrubs, plants and
       lawns. No more than $500 of this limit will be available for any one tree, shrub or plant.
   4. Fire Department Service Charge. We will pay, up to the amount stated in your Policy Declarations,
       as an additional amount of insurance, for your liability assumed by contract or agreement for fire
       department charges incurred when the fire department is called to save or protect covered property
       from a loss we cover.
       We do not cover fire department service charges if the property is located within the limits of the city,
       municipality or protection district furnishing the fire department response.
   5. Property Removed. We insure covered property against direct loss from any cause while being
       removed from a premises endangered by a loss we cover. We will cover this property for a maximum
       of 30 days while removed. This coverage does not change the limit of liability that applies to the
       property being removed.
   6. Land Stabilization. We will pay up to the amount stated in your Policy Declarations for the cost
       required to replace, rebuild, stabilize or otherwise restore the land necessary to support the insured
       dwelling or other structures sustaining a covered loss. This is an additional amount of insurance.


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                                                                                                                                       7. Building Ordinance or Law Coverage. We will pay for damage to Building Property We Cover
                                                                                                                                           resulting from a covered cause of loss in compliance with any ordinance or law that regulates the
                                                                                                                                           construction, repair or demolition of the property.
                                                                                                                                           This coverage does not apply unless you choose to repair or rebuild your property at its present
                                                                                                                                           location.
                                                                                                                                           We do not cover:
                                                                                                                                           a. the loss in value to any covered building or other structure due to the requirements of any
                                                                                                                                                ordinance or law; or
                                                                                                                                           b. the costs to comply with any ordinance which requires any insured or others to test for,
                                                                                                                                                monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
                                                                                                                                                assess the effects of, pollutants or contaminants. However, for purposes of Building
                                                                                                                                                Ordinance or Law Coverage, pollutants or contaminants shall not include asbestos or
                                                                                                                                                materials containing asbestos.
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                                                                                                                                           You may use all or part of this ordinance or law coverage to pay for the increased costs you incur to
                                                                                                                                           remove debris resulting from the construction, demolition, remodeling, renovation, repair or
                                                                                                                                           replacement of property as stated above.
                                                                                                                                           The limit of liability shown in your Policy Declarations is the most we will pay for the total of all loss or
                                                                                                                                           costs for Building Property We Cover, regardless of the number of locations or number of claims
                                                                                                                                           made.
                                                                                                                                           This is an additional amount of insurance.
                                                                                                                                       8. Arson Reward. We will pay up to the amount stated in your Policy Declarations for information
                                                                                                                                           which leads to an arson conviction in connection with a fire loss to property covered by this policy.
                                                                                                                                           This coverage may increase the limit otherwise applicable.
                                                                                                                                           However, we will not pay more than the amount stated in your Policy Declarations per event
                                                                                                                                           regardless of the number of persons providing information.
                                                                                                                                       9. Household Products Coverage. We cover direct physical loss to the property described in
                                                                                                                                           Coverages A and B arising out of a discharge, dispersal, spill, leak, release, escape, emission,
                                                                                                                                           transmission or absorption of household products on the residence premises. Household products
                                                                                                                                           include items currently in use or your possession at the residence premises in normal household
                                                                                                                                           quantities such as paint, paint thinners, soaps, bleach, pesticides, herbicides, motor oil, gasoline,
                                                                                                                                           heating fuel and similar items. For purposes of this coverage, household products do not include
                                                                                                                                           materials containing asbestos, lead or formaldehyde.
                                                                                                                                           We will pay up to 5% of the Coverage A limit of liability stated in your Policy Declarations for any loss
                                                                                                                                           during the policy period under this coverage after you have paid your deductible. This is an additional
                                                                                                                                           amount of insurance.
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                                                                                                                                           This coverage does not apply to:
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                                                                                                                                           a. any fee, assessment or expense of any governmental authority;
                                                                                                                                           b. loss arising out of household products possessed or used:
                                                                                                                                                (1) for business purposes;
                                                                                                                                                (2) for illegal purposes;
                                                                                                                                                (3) by contractors; or
                                                                                                                                                (4) on driveways or walkways.
                                                                                                                                           Pollution or Contamination under Section I — Building Property Losses We Do Not Cover
                                                                                                                                           does not apply to this Additional Property Coverage.
                                                                                                                                           In the event that a loss is covered under both this coverage and Additional Property Coverages —
                                                                                                                                           Building Ordinance or Law Coverage, you may elect either one of these coverages, but not both.
                                                                                                                                       10. Fungi, Wet or Dry Rot, or Bacteria. We will pay up to the amount stated in your Policy Declarations
                                                                                                                                           for:
                                                                                                                                           a. the direct physical loss to covered property caused by fungi, wet or dry rot, or bacteria;
                                                                                                                                           b. the cost to remove fungi, wet or dry rot, or bacteria from covered property;

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       c. the cost to tear out and replace any part of the building or other covered property as needed to
          gain access to the fungi, wet or dry rot, or bacteria;
       d. the cost of any testing of air or property to confirm the absence, presence or level of fungi, wet
          or dry rot, or bacteria, whether performed prior to, during or after removal, repair, restoration or
          replacement. The cost of such testing will be provided only to the extent that there is a reason to
          believe there is the presence of fungi, wet or dry rot, or bacteria; and
       e. Additional Living Expenses or Fair Rental Value loss covered under Additional Living
            Expense And Loss Of Rent.
       This coverage, 10. Fungi, Wet or Dry Rot, or Bacteria, only applies when such loss or costs:
       f. are a result of a loss we cover that occurs during the policy period;
       g. are not excluded under Building Property Losses We Do Not Cover; and
       h. only if all reasonable means are used to save and preserve the property from further damage.
       This coverage does not apply to loss to trees, shrubs, or other plants.
       The limit of liability stated in your Policy Declarations for Fungi, Wet or Dry Rot, or Bacteria is the
       most we will pay for the total of all loss or costs for Coverages A, B, C and D, and does not increase
       the limit of liability for these coverages, regardless of the number of locations or number of claims
       made.
   11. Collapse.
       a. With respect to this coverage collapse means an abrupt falling down or caving in of a building or
            any part of a building with the result that the building or part of the building cannot be occupied
            for its intended purpose:
            (1) A building or any part of a building that is in danger of falling down or caving in is not
                   considered to be in a state of collapse.
            (2) A part of a building that is standing is not considered to be in a state of collapse even if it
                   has separated from another part of the building.
            (3) A building or any part of a building that is standing is not considered to be in a state of
                   collapse even if it shows evidence of cracking, bulging, sagging, bending, leaning, settling,
                   shrinkage or expansion.
       b. We insure for direct physical loss to covered property involving collapse of the dwelling or any
            part of the dwelling if the collapse was caused by one or more of the following:
            (1) The perils under Personal Property Losses We Cover;
            (2) Decay that is hidden from view, unless the presence of such decay is known to an insured
                   prior to collapse;




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            (3) Insect or vermin damage that is hidden from view, unless the presence of such damage is
                   known to an insured prior to collapse;
            (4) Weight of contents, equipment, animals or people;
            (5) Weight of rain which collects on a roof; or
            (6) Use of defective material or methods in construction, remodeling or renovation if the
                   collapse occurs during the course of the construction, remodeling or renovation.
       c. Loss to an awning, fence, patio, deck, pavement, swimming pool, hot tub or spa, including their
            filtration and circulation systems, landscape sprinkler system, underground pipe, flue, drain,
            cesspool, septic tank, foundation, retaining wall, bulkhead, pier, wharf or dock is not included
            under b.(2) through (6) above, unless the loss is a direct result of the collapse of the dwelling or
            any part of the dwelling to which it is attached.
       This coverage does not increase the limit of liability that applies to the damaged covered property.
   12. Volunteer America
       We insure for all risks of accidental and direct physical loss to the property described in Coverage C
       — Personal Property, when the loss occurs as a direct result of acting as a volunteer. No
       deductible applies to this coverage.

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                                                                                                                                       13. Criminal Conviction Reward.
                                                                                                                                           a. We will pay the amount stated in your Policy Declarations to an eligible person for information
                                                                                                                                              leading to the arrest and conviction of the person(s) committing a crime resulting in loss to
                                                                                                                                              covered property; and
                                                                                                                                           b. We will pay up to the amount stated in your Policy Declarations to an eligible person for the
                                                                                                                                              return of stolen covered property, when the loss is caused by theft. However, we will pay no
                                                                                                                                              more than the lesser of the following amounts:
                                                                                                                                              (1) actual cash value of the stolen property at the time the property is returned, but not more
                                                                                                                                                   than the amount that would have been required to repair or replace; or
                                                                                                                                              (2) the amount determined by the loss settlement procedure applicable to the property
                                                                                                                                                   returned had the property not been recovered.
                                                                                                                                           c. This coverage applies subject to the following conditions:
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                                                                                                                                              (1) An eligible person means that person identified by a law enforcement agency as being the
                                                                                                                                                   first to provide the necessary information or return the stolen property, and who is not:
                                                                                                                                                   (a) an insured;
                                                                                                                                                   (b) a relative of an insured;
                                                                                                                                                   (c) an employee of a law enforcement agency;
                                                                                                                                                   (d) an employee of a business engaged in property protection;
                                                                                                                                                   (e) any person who had custody of the property at the time the theft was committed; or
                                                                                                                                                   (f) any person involved in the crime.
                                                                                                                                              (2) No reward will be paid unless and until the person(s) committing the crime is (are)
                                                                                                                                                   convicted or the property returned. The amount of the reward in items a. and b. above is
                                                                                                                                                   the most we will pay for any one loss to an eligible person.

                                                                                                                                                                  SECTION I — PROPERTY CONDITIONS
                                                                                                                                       1. Deductible. In case of loss under Section I — Property Coverages of this policy, we cover only
                                                                                                                                           that part of the loss over the applicable deductible stated in your Policy Declarations.
                                                                                                                                           The deductible does not apply to Coverage D — Additional Living Expense And Loss Of Rent or
                                                                                                                                          Fire Department Service Charge.
                                                                                                                                       2. Your Duties to Select and Maintain Policy Limits. It is your responsibility to select and maintain
                                                                                                                                          adequate amounts of insurance on your dwelling, other structures and personal property. To assist
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                                                                                                                                          you with this responsibility, we will suggest annual changes to your policy limits. These suggestions
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                                                                                                                                          will be made effective on the renewal of your policy and will be based on information provided to us
                                                                                                                                          by you or your agent about your dwelling’s features and may be supplemented by public record or
                                                                                                                                          inspection. Labor and material cost trends for your area supplied to us by recognized residential
                                                                                                                                          construction cost specialists will be included. Payment of your renewal is all that is necessary to
                                                                                                                                          indicate your acceptance of the new amount.
                                                                                                                                       3. An Insured’s Duties After Loss. In case of a loss to which this insurance may apply, you must
                                                                                                                                          perform the following duties:
                                                                                                                                          a. cooperate with us in the investigation, settlement or defense of any claim or suit;
                                                                                                                                          b. give immediate notice to us or our agent;
                                                                                                                                          c. notify the police in case of loss by theft;
                                                                                                                                          d. protect the property from further damage, make reasonable and necessary repairs required to
                                                                                                                                                protect the property and keep an accurate record of repair expenses;
                                                                                                                                          e. prepare an inventory of the loss to the building and damaged personal property showing in
                                                                                                                                                detail the quantity, description, replacement cost and age. Attach all bills, receipts and related
                                                                                                                                                documents that justify the figures in the inventory;


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       f.  as often as we reasonably require:
           (1) exhibit the damaged and undamaged property;
           (2) provide us with records and documents we request and permit us to make copies; and
           (3) submit to examinations under oath and subscribe the same. We may examine you
                separately and apart from your spouse, civil or domestic partner, or any other insured.
                You shall not interfere with us examining any other insured.
      g. submit to us, within 60 days after we request, your signed, sworn proof of loss which sets forth,
           to the best of your knowledge and belief:
           (1) the time and cause of loss;
           (2) interest of the insured and all others in the property involved and all encumbrances on the
                property;
           (3) other insurance which may cover the loss;
           (4) changes in title or occupancy of the property during the term of the policy;
           (5) specifications of any damaged building and detailed repair estimates;
           (6) an inventory of damaged personal property described in 3.e.;
           (7) receipts for Additional Living Expenses incurred or records supporting the Loss of Rent.
   4. Insurable Interest and Limit of Liability. Even if more than one person has an insurable interest in
      the property covered, we will not be liable in any one loss:
      a. for more than the amount of the insured’s interest at the time of loss; or
      b. for more than the applicable limit of liability,
      whichever is less.
   5. Loss Settlement. Covered property losses are settled as follows:
      a. Replacement Cost. Property under Coverage A or B at replacement cost, not including those
           items listed in 5.b.(2) and (3) below subject to the following:
           (1) We will pay the full cost of repair or replacement, but not exceeding the smallest of the
                following amounts:
                (a) the limit of liability under the policy applying to Coverage A or B;
                (b) the replacement cost of that part of the damaged building for equivalent construction
                      and use on the same premises as determined shortly following the loss;
                (c) the full amount actually and necessarily incurred to repair or replace the damaged




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                      building as determined shortly following the loss;




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                (d) the direct financial loss you incur; or
                (e) our pro rata share of any loss when divided with any other valid and collectible
                      insurance applying to the covered property at the time of loss.
           (2) When more than one layer of siding or roofing exists for Building Property We Cover, we
                will pay for the replacement of one layer only. The layer to be replaced will be at your
                option. The payment will be subject to all other policy conditions relating to loss payment.
                When more than one layer of finished flooring exists we will pay for the finish of only one
                layer.
           (3) If the cost to repair or replace is $1,000 or more, we will pay the difference between actual
                cash value and replacement cost only when the damaged or destroyed property is
                repaired or replaced.
           (4) You may disregard the replacement cost loss settlement provisions and make claim
                under this policy for loss or damage to buildings on an actual cash value basis but not
                exceeding the smallest of the following amounts:
                (a) the applicable limit of liability;
                (b) the direct financial loss you incur; or
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                                                                                                                                                      (c) our pro rata share of any loss when divided with any other valid and collectible
                                                                                                                                                           insurance applying to the covered property at the time of loss.
                                                                                                                                                      You may still make claim on a replacement cost basis by notifying us of your intent to do
                                                                                                                                                      so within 180 days after the date of loss.
                                                                                                                                            b.   Actual Cash Value.
                                                                                                                                                 (1) Personal property covered under Coverage C;
                                                                                                                                                 (2) Wood fences, outdoor antennae and awnings, all whether attached or not to buildings; and
                                                                                                                                                 (3) Structures that are not buildings under Coverage B, except driveways, walkways and other
                                                                                                                                                      structures connected to the building by only a fence, utility line, plumbing or similar connection;
                                                                                                                                                 at actual cash value at the time of loss not exceeding the amount necessary to repair or replace.
                                                                                                                                       6. Loss to a Pair or Set. In case of loss to a pair or set we may elect to:
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                                                                                                                                           a. repair or replace any part to restore the pair or set to its value before the loss; or
                                                                                                                                           b. pay the difference between actual cash value of the pair or set before and after the loss.
                                                                                                                                       7. Appraisal. If you and we do not agree on the amount of the loss, including the amount of actual
                                                                                                                                           cash value or replacement cost, then, on the written demand of either, each shall select a
                                                                                                                                           competent and disinterested appraiser and notify the other of the appraiser selected within 20 days
                                                                                                                                           of such demand. The appraisers shall first select a competent and disinterested umpire; and failing
                                                                                                                                           for 15 days to agree upon such umpire, then, on request of you or the company, such umpire shall
                                                                                                                                           be selected by a judge of a court of record in the state in which the property covered is located. The
                                                                                                                                           appraisers shall then resolve the issues surrounding the loss, appraise the loss, stating separately
                                                                                                                                           the actual cash value or replacement cost of each item, and, failing to agree, shall submit their
                                                                                                                                           differences, only, to the umpire. An award in writing, so itemized, of any two of these three, when
                                                                                                                                           filed with the company shall determine the amount of loss.
                                                                                                                                           Each party will:
                                                                                                                                           a. pay its own appraiser; and
                                                                                                                                           b. bear the other expenses of the appraisal and umpire equally.
                                                                                                                                       8. Suit Against Us. No action shall be brought against us unless there has been compliance with the
                                                                                                                                           policy provisions and the action is started within one year after the inception of the loss or damage.
                                                                                                                                       9. Our Option. If we give you written notice within 30 days after we receive your signed, sworn proof of
                                                                                                                                           loss, we may repair or replace any part of the property damaged with equivalent property.
                                                                                                                                       10. Loss Payment. We will adjust all losses with you. We will pay you unless some other person is
                                                                                                                                           named in the policy to receive payment. Loss will be payable 30 days after:
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                                                                                                                                           a. we reach agreement with you;
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                                                                                                                                           b. there is an entry of a final judgment; or
                                                                                                                                           c. there is a filing of an appraisal award with us.
                                                                                                                                       11. Abandonment of Property. We need not accept any property abandoned by any insured.
                                                                                                                                       12. Mortgage Clause.
                                                                                                                                            The word “mortgagee” includes trustee. If a mortgagee is named in this policy, any loss payable
                                                                                                                                            under Coverage A or B shall be paid to the mortgagee and you, as interests appear. If more than
                                                                                                                                            one mortgagee is named, the order of payment shall be the same as the order of precedence of the
                                                                                                                                            mortgages.
                                                                                                                                            If we deny your claim, that denial shall not apply to a valid claim of the mortgagee, if the mortgagee:
                                                                                                                                            a. notifies us of any change in ownership, occupancy or substantial change in risk of which the
                                                                                                                                                 mortgagee is aware;
                                                                                                                                            b. pays any premium due under this policy on demand if you have neglected to pay the premium;
                                                                                                                                            c. submit a signed, sworn statement of loss within 60 days after receiving notice from us of your
                                                                                                                                                 failure to do so.
                                                                                                                                            d. complies with item 3.e. of Section I — Property Conditions.

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       Policy conditions relating to Appraisal, Suit Against Us and Loss Payment apply to the mortgagee. If
       the policy is canceled or not renewed by us, the mortgagee shall be notified at least 20 days before
       the date cancellation or nonrenewal takes effect.
       If we pay the mortgagee for any loss and deny payment to you:
       e. we are subrogated to all the rights of the mortgagee granted under the mortgage on the
            property; or
       f. at our option, we shall receive full or partial assignment and transfer of the mortgage and all
            securities held as collateral to the mortgage debt as our payment, including any accrued
            interest, as it bears to the amount of the principal on the mortgage.
       Subrogation shall not impair the right of the mortgagee to recover the full amount of the mortgagee’s
       claim.
   13. No Benefit to Bailee. We will not recognize any assignment or grant any coverage for the benefit of
       any person or organization holding, storing or transporting property for a fee regardless of any other
       provision of this policy.
   14. Other Insurance and Service Agreements. If a loss covered by this policy is also covered by:
       a. other insurance, we will pay only the proportion of the loss caused by a peril insured against
            under this policy that the limit of liability applying under this policy bears to the total amount of
            insurance covering the loss; or
       b. a service agreement, this insurance is excess over any amounts payable under any such
            agreement. Service agreement includes a service plan, property restoration plan or warranty,
            even if it is characterized as insurance.
   15. Recovered Property. If you or we recover any property for which we have made payment under this
       policy, you or we will notify the other of the recovery. At your option, the property will be returned to
       or retained by you or it will become our property. If the recovered property is returned to or retained
       by you, the loss payment will be adjusted based on the amount you received for the recovered
       property.
   16. Salvage Value. Any value that may be realized from salvage will not diminish the amount owed by
       you under the deductible clause. We need not accept, but have all rights to salvage.

                                SECTION II — LIABILITY COVERAGES
   LIABILITY LOSSES WE COVER
   COVERAGE E — PERSONAL LIABILITY




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   If a claim is made or a suit is brought against any insured for damages because of bodily injury or




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   property damage caused by an occurrence to which this coverage applies, we will:
   1. pay up to our limit of liability for the damages for which the insured is legally liable; and
   2. provide a defense at our expense by counsel of our choice even if the allegations are groundless,
        false or fraudulent. We may investigate and settle any claim or suit that we decide is appropriate.
        Our duty to settle or defend ends when the amount we pay for damages resulting from the
        occurrence equals our limit of liability.
   COVERAGE F — MEDICAL PAYMENTS TO OTHERS
   We will pay the necessary medical expenses incurred or medically ascertained within three years from
   the date of an accident causing bodily injury. Medical expenses means reasonable charges for medical,
   surgical, X-ray, dental, ambulance, hospital, professional nursing, prosthetic devices and funeral services.
   This coverage does not apply to you or regular residents of your household other than residence
   employees. As to others, this coverage applies only:
   1. to a person on the insured location with the permission of any insured; or
   2. to a person off the insured location, if the bodily injury:
        a. arises out of a condition on the insured location or the ways immediately adjoining;
        b. is caused by the activities of any insured;

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                                                                                                                                           c. is caused by a residence employee in the course of the residence employee’s employment
                                                                                                                                              by any insured; or
                                                                                                                                           d. is caused by an animal owned by or in the care of any insured.

                                                                                                                                       LIABILITY LOSSES WE DO NOT COVER
                                                                                                                                       1. Coverage E — Personal Liability and Coverage F — Medical Payments to Others do not apply
                                                                                                                                           to bodily injury or property damage:
                                                                                                                                           a. which is expected or intended by any insured or which is the foreseeable result of an act or
                                                                                                                                                omission intended by any insured;
                                                                                                                                                This exclusion applies even if:
                                                                                                                                                (1) such bodily injury or property damage is of a different kind or degree than expected or
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                                                                                                                                                     intended; or
                                                                                                                                                (2) such bodily injury or property damage is sustained by a different person, or persons,
                                                                                                                                                     than expected or intended.
                                                                                                                                                This exclusion does not apply to bodily injury resulting from the use of reasonable force by any
                                                                                                                                                insured to protect persons or property.
                                                                                                                                           b. which results from violation of criminal law committed by, or with the knowledge or consent of
                                                                                                                                                any insured.
                                                                                                                                                This exclusion applies whether or not any insured is charged or convicted of a violation of
                                                                                                                                                criminal law, or local or municipal ordinance.
                                                                                                                                           c. arising out of business pursuits of any insured.
                                                                                                                                                This exclusion does not apply to:
                                                                                                                                                (1) activities which are ordinarily incident to non-business pursuits;
                                                                                                                                                (2) the occasional or part-time business pursuits of any insured who is under 23 years of
                                                                                                                                                     age;
                                                                                                                                                (3) the rental or holding for rental of an insured location:
                                                                                                                                                     (a) on an occasional basis for the exclusive use as a residence;
                                                                                                                                                     (b) in part, unless intended for use as a residence by more than two roomers or boarders;
                                                                                                                                                           or
                                                                                                                                                     (c) in part, as an office, school, studio or private garage;
                                                                                                                                           d. arising out of the rendering or failing to render professional services;
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                                                                                                                                           e. arising out of any premises owned or rented to any insured which is not an insured location;
                                                                                                                                           f. arising out of the ownership, maintenance, use, loading or unloading of:
                                                                                                                                                (1) aircraft.
                                                                                                                                                     This does not apply to model aircraft. Any aircraft designed for carrying persons or cargo is
                                                                                                                                                     not a model aircraft.
                                                                                                                                                (2) motorized land vehicles, including any trailers, owned or operated by or rented or loaned to
                                                                                                                                                     any insured.
                                                                                                                                                     This exclusion does not apply to:
                                                                                                                                                     (a) a trailer not towed by or carried on a motorized land vehicle;
                                                                                                                                                     (b) a motorized land vehicle designed for recreational use off public roads, not subject to
                                                                                                                                                           motor vehicle registration, licensing or permits and:
                                                                                                                                                           i. not owned by any insured; or
                                                                                                                                                           ii. owned by any insured, while on an insured location;
                                                                                                                                                     (c) a motorized golf cart which is owned by an insured, designed to carry up to 4
                                                                                                                                                           persons, not built or modified after manufacture to exceed a speed of 25 miles per
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                      hour on level ground and at the time of an occurrence is within the legal boundaries
                      of:
                      i. a golfing facility and is parked or stored there, or being used by an insured to:
                           (i) play the game of golf or for other recreational or leisure activity allowed by
                                 the facility;
                           (ii) travel to or from an area where motor vehicles or golf carts are parked or
                                 stored; or
                           (iii) cross public roads at designated points to access other parts of the golfing
                                 facility; or
                      ii. a private residential community, including its public roads upon which a
                           motorized golf cart can legally travel, which is subject to the authority of a
                           property owners association and contains an insured’s residence.
                 (d) a motorized land vehicle used solely for assisting the handicapped or solely for the
                      maintenance of an insured location, which is:
                      i. not designed for travel on public roads; and
                      ii. not subject to motor vehicle registration, licensing or permits; or
                 (e) electric motorized ride-on vehicles designed to be operated by children under the age
                      of eight and designed for speeds of less than six miles per hour; or
                 (f) a motorized land vehicle in dead storage on an insured location.
           (3) watercraft:
                 (a) owned by or rented to any insured if it has inboard or inboard-outdrive motor power of
                      more than 50 horsepower;
                 (b) owned by or rented to any insured if it is a sailing vessel 26 feet or more in overall
                      length, with or without auxiliary power;
                 (c) powered by one or more outboard motors with 50 or more total horsepower if the
                      outboard motors are owned by any insured.
                      However, outboard motors of 50 or more total horsepower are covered for the policy
                      period if:
                      i. you acquired them prior to the policy inception, and:
                           (i) declared them at policy inception; or
                           (ii) you ask us in writing to insure them within 45 days after you become the
                                 owner;




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                      ii. you acquire them during the policy period, provided you ask us to insure them:
                           (i) during the policy period in which you become the owner; or
                           (ii) within 45 days after you become the owner;
                           whichever is greater, and pay any resulting additional premium from the date
                           acquired.
                 (d) designed as an air boat, air cushion, or similar type of craft; or
                 (e) owned by any insured which is a personal watercraft.
           This exclusion does not apply while the watercraft is stored.
           Horsepower means the maximum power rating assigned to the engine or motor by the
           manufacturer.
       Exclusions e. and f. do not apply to bodily injury to a residence employee arising out of and in the
       course of the residence employee’s employment by any insured;
       g. arising out of:
           (1) the entrustment by any insured to any person;
           (2) the supervision by any insured of any person;
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                                                                                                                                                (3) any act, decision or omission by any insured;
                                                                                                                                                (4) any liability statutorily imposed on any insured; or
                                                                                                                                                (5) any liability assumed through an unwritten or written agreement by any insured;
                                                                                                                                             with regard to any aircraft, motorized land vehicle or watercraft which is not covered under
                                                                                                                                             Section II of this policy.
                                                                                                                                          h. caused directly or indirectly by war, including the following and any consequences of the
                                                                                                                                              following:
                                                                                                                                             (1) undeclared war, civil war, insurrection, rebellion, or revolution;
                                                                                                                                             (2) warlike act by a military force or military personnel; or
                                                                                                                                             (3) destruction or seizure or use for a military purpose.
                                                                                                                                             Discharge of a nuclear weapon shall be deemed a warlike act even if accidental.
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                                                                                                                                          i. which results from the legal liability of any insured because of home care services, day care or
                                                                                                                                              any hospice related activity provided to any person on a regular basis by or at the direction of:
                                                                                                                                             (1) any insured;
                                                                                                                                             (2) any employee of any insured;
                                                                                                                                             (3) any other person actually or apparently acting on behalf of any insured.
                                                                                                                                             Regular basis means more than 20 hours per week. This exclusion does not apply to:
                                                                                                                                             (1) home care services provided to the relatives of any insured;
                                                                                                                                             (2) occasional or part-time home care services provided by any insured under 23 years of age.
                                                                                                                                          j. which arises out of the transmission of a communicable disease by any insured;
                                                                                                                                          k. arising out of physical or mental abuse, sexual molestation or sexual harassment.
                                                                                                                                          l. arising out of the use, sale, manufacture, delivery, transfer or possession by any person of a
                                                                                                                                              controlled substance(s) as defined by the Federal Food and Drug Law at 21 U.S.C.A. Sections
                                                                                                                                              811 and 812. Controlled substances include but are not limited to cocaine, LSD, marijuana and
                                                                                                                                              all narcotic drugs.
                                                                                                                                             However, this exclusion does not apply to the legitimate use of prescription drugs by a person
                                                                                                                                             following the orders of a licensed physician.
                                                                                                                                          m. arising out of any insured’s participation in, or preparation or practice for any prearranged or
                                                                                                                                              organized race, speed or demolition contest, or similar competition involving a motorized land
                                                                                                                                              vehicle or motorized watercraft regardless of whether such contest is spontaneous, prearranged
                                                                                                                                              or organized. This exclusion does not apply to a sailing vessel less than 26 feet in overall length
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                                                                                                                                              with or without auxiliary power.
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                                                                                                                                       2. Coverage E — Personal Liability does not apply to:
                                                                                                                                          a. Liability:
                                                                                                                                             (1) for any assessment charged against you as a member of an association of property
                                                                                                                                                    owners except as provided under Additional Liability Coverages — Loss Assessment
                                                                                                                                                    Coverage in Section II — Liability Coverages;
                                                                                                                                             (2) under any contract or agreement. However, this does not apply to written contracts:
                                                                                                                                                    (a) that directly relate to the ownership, maintenance or use of an insured location; or
                                                                                                                                                    (b) where the liability of others is assumed by the insured prior to an occurrence;
                                                                                                                                                    unless excluded in 2.a.(1) above or elsewhere in this policy;
                                                                                                                                             (3) liability arising out of any written or oral agreement for the sale or transfer of real property,
                                                                                                                                                    including but not limited to liability for:
                                                                                                                                                    (a) known or unknown property or structural defects;
                                                                                                                                                    (b) known or hidden defects in the plumbing, heating, air conditioning or electrical
                                                                                                                                                         systems;

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                 (c) known or unknown soil conditions or drainage problems; or
                 (d) concealment or misrepresentation of any known defects.
       b.   property damage to property owned by any insured;
       c.   property damage to property rented to, occupied or used by or in the care of any insured. This
            exclusion does not apply to property damage caused by fire, smoke, explosion or water;
       d.   bodily injury to any person eligible to receive any benefits required to be provided or voluntarily
            provided by any insured under:
            (1) any workers compensation;
            (2) non-occupational disability; or
            (3) occupational disease law;
       e.   bodily injury or property damage for which any insured under this policy is also an insured
            under a nuclear energy liability policy or would be an insured but for its termination upon
            exhaustion of its limit of liability. A nuclear energy liability policy is a policy issued by Nuclear
            Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters, Nuclear
            Insurance Association of Canada, or any of their successors;
       f.   bodily injury to an insured within the meaning of parts (1) or (2) of Policy Definitions, 3.g.
            Insured;
       g.   bodily injury or property damage arising, in whole or part, out of the actual, alleged, or
            threatened discharge, dispersal, seepage, migration, release, escape, emission, transmission,
            absorption, ingestion or inhalation of pollutants or contaminants at any time. This includes
            any loss, cost or expense arising out of any:
            (1) request, demand or order that any insured or others test for, monitor, abate, clean up,
                   remove, contain, treat, detoxify, neutralize, or in any way respond to, or assess, the effects
                   of pollutants or contaminants;
            (2) claim or suit by or on behalf of a governmental authority for damages because of testing
                   for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, or in
                   any way responding to, or assessing, the effects of pollutants or contaminants;
            This exclusion does not apply to bodily injury sustained within a building on the residence
            premises and caused by, smoke, fumes, including carbon monoxide, vapor or soot from
            equipment used to heat that building.
       i.   liability arising from any transmission, upload or download, whether intentional or not, of
            computer code, programs or data;
       j.   liability arising out of any animal that any insured acquires, owns or keeps that:




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            (1) is of a breed or kind named by or controlled by any local, state, or federal ordinance or law




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                   because of public safety concerns;
            (2) has previously inflicted injury upon any person resulting in;
                   (a) maiming, disfigurement, mutilation, impairment, disability or death; or
                   (b) loss of work, schooling, or a loss of ability to carry on with a normal routine;
            (3) has been trained to fight or attack;
            (4) has been trained to kill;
            (5) is a wild canine or feral dog or an offspring from breeding with a wild canine;
            (6) is illegal to acquire, own or keep;
            (7) is wild by birth or by nature and the species is not customarily domesticated;
            (8) is a bird of prey;
            (9) is venomous; or
            (10) is a primate.
            Item (3) above does not apply in the event the animal is reacting to protect people or property
            from imminent harm.
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                                                                                                                                             This exclusion does not apply to any person or organization described as an insured in Policy
                                                                                                                                             Definitions, item g.(3).
                                                                                                                                       3. Coverage F — Medical Payments to Others does not apply to bodily injury:
                                                                                                                                          a. to a residence employee if the bodily injury occurs off the insured location and does not
                                                                                                                                              arise out of or in the course of the residence employee’s employment by an insured;
                                                                                                                                           b. to any person, eligible to receive any benefits required to be provided or voluntarily provided
                                                                                                                                              under any workers compensation; non-occupational disability, or occupational disease law;
                                                                                                                                           c. from any nuclear reaction, radiation or radioactive contamination, all whether controlled or
                                                                                                                                              uncontrolled or however caused, or any consequence of any of these;
                                                                                                                                           d. to any person, other than a residence employee of any insured, regularly residing on any part
                                                                                                                                              of the insured location.
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                                                                                                                                       ADDITIONAL LIABILITY COVERAGES
                                                                                                                                       We cover the following in addition to the limits of liability:
                                                                                                                                       1. Claim Expenses. We pay:
                                                                                                                                           a. expenses we incur and costs taxed against any insured in any suit we defend;
                                                                                                                                           b. premiums on bonds required in a suit we defend, but not for bond amounts greater than the limit
                                                                                                                                                of liability for Coverage E — Personal Liability. We are not obligated to apply for or furnish
                                                                                                                                                any bond; and
                                                                                                                                           c. reasonable expenses incurred by any insured at our request, including actual loss of earnings
                                                                                                                                                (but not loss of other income) up to $200 per day, for assisting us in the investigation or defense
                                                                                                                                                of any claim or suit.
                                                                                                                                       2. First Aid Expenses. We will pay expenses for first aid to others incurred by any insured for bodily
                                                                                                                                           injury covered under this policy. We will not pay for first aid to you or any other insured.
                                                                                                                                       3. Damage to Property of Others. We will pay on a replacement cost basis up to $500 per
                                                                                                                                           occurrence for property damage to property of others caused by any insured.
                                                                                                                                           We will not pay for property damage:
                                                                                                                                           a. if insurance is otherwise provided in this policy;
                                                                                                                                           b. caused intentionally by any insured who is 13 years of age or older;
                                                                                                                                           c. to property owned by or rented to any insured, a tenant of any insured, or a resident in your
                                                                                                                                                household; or
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                                                                                                                                           d. arising out of:
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                                                                                                                                                (1) business pursuits;
                                                                                                                                                (2) any act or omission in connection with a premises owned, rented or controlled by an
                                                                                                                                                      insured, other than the insured location; or
                                                                                                                                                (3) the ownership, maintenance, or use of aircraft, watercraft or motorized land vehicles. This
                                                                                                                                                      does not apply to a motorized land vehicle designed for recreational use off public roads,
                                                                                                                                                      not subject to motor vehicle registration, licensing or permits and not owned by any
                                                                                                                                                     insured.
                                                                                                                                       4. Credit Card, Fund Transfer Card, Forgery and Counterfeit Money.
                                                                                                                                           We will pay up to the limit shown on your Policy Declarations page for:
                                                                                                                                           a. the legal obligation of an insured to pay because of theft or unauthorized use of credit cards
                                                                                                                                                issued to or registered in any insured’s name;
                                                                                                                                           b. loss resulting from theft or unauthorized use of a fund transfer card used for deposit, withdrawal
                                                                                                                                                or transfer of funds, issued to or registered in any insured’s name.
                                                                                                                                           We do not cover use by a resident of your household, a person who has been entrusted with the
                                                                                                                                           credit card or fund transfer card or any person if any insured has not complied with all terms and
                                                                                                                                           conditions under which the credit card or fund transfer card is issued.

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       c. loss to any insured caused by forgery or alteration of any check or negotiable instrument; and
       d. loss to any insured through acceptance in good faith of counterfeit United States or Canadian
             paper currency.
       All loss resulting from a series of acts committed by any one person or in which any one person is
       concerned or implicated is considered to be one loss.
       We do not cover loss arising out of business pursuits or dishonesty of any insured.
       Defense:
       a. We may make any investigation and settle any claim or suit that we decide is appropriate.
       b. If a suit is brought against any insured for liability covered under this Credit Card or Fund
             Transfer Card Coverage, we will provide a defense at our expense by counsel of our choice.
       c. We have the option to defend at our expense any insured or any insured’s bank against any
             suit for the enforcement of payment under the forgery coverage.
   5. Statutorily Imposed Vicarious Parental Liability.
       We will pay the lesser of:
       a. the statutorily imposed limit; or
       b. $3,000;
       for the legal obligation you are required to pay as a result of acts of a minor child who resides with
       you.
       This coverage is excess over any other valid and collectible insurance.
   6. Loss Assessment.
      a. we will pay loss assessments charged during the policy period against you by the association of
          property owners up to the limit of liability stated in your Policy Declarations, when the
          assessment is made as a result of:
          (1) each direct loss to property, caused by a peril that would be covered under Section I —
               Property Coverages of this policy;
          SPECIAL EXCLUSION: There is no coverage for any loss assessment resulting from the peril
          of earthquake. However, loss assessment for ensuing direct loss by fire, explosion or theft is
          covered.
          (2) each occurrence to which Section II — Liability Coverages of this policy would apply;
               and
          (3) liability for each act of a director, officer or trustee in the capacity as a director, officer or




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               trustee, provided:




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               (a) the director, officer or trustee is elected by the members of the association of property
                     owners; and
               (b) the director, officer or trustee serves without deriving any income from the exercise of
                     his/her duties, which are solely on behalf of the association of property owners.
       b. DEDUCTIBLE. We will pay only that part of your assessment per unit for property insured under
          Section I that exceeds $500. No other deductible applies to this coverage. If our liability for a
          loss results from Section I and coverage under this option, only the larger deductible will apply.
   7. Volunteer America.
      a. Under Section II — Liability Coverages, the following applies:
          (1) Property Damage to Others. We will pay an additional $2,000 for direct damage caused
               as direct result of acting as a volunteer.
          (2) Medical Payments to Others. We will pay up to double the amount stated in your Policy
               Declarations for bodily injury caused as a direct result of acting as a volunteer.
       b. Under Section II — Liability Losses We Do Not Cover the following items are modified as
          follows:
          (1) Item 1.c. does not apply to activities as a volunteer.
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                                                                                                                                                 (2) Item 1.d. does not apply to professional services, other than professional health care
                                                                                                                                                      services by a doctor, performed as a volunteer.

                                                                                                                                                                    SECTION II — LIABILITY CONDITIONS
                                                                                                                                       1. Limit of Liability. Our total liability under Coverage E for all damages resulting from any one
                                                                                                                                            occurrence will not exceed the limit of liability for Coverage E stated in your Policy Declarations.
                                                                                                                                            This limit is the same regardless of the number of insureds, claims made or persons injured.
                                                                                                                                          Our total liability under Coverage F for all medical expense payable for bodily injury to one person
                                                                                                                                          as the result of one accident shall not exceed the limit of liability for Coverage F stated in your Policy
                                                                                                                                          Declarations.
                                                                                                                                       2. Severability of Insurance. This insurance applies separately to each insured. This condition shall
                                                                                                                                          not increase our limit of liability for any one occurrence.
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                                                                                                                                       3. Your Duties After Loss. In case of an accident or occurrence, the insured shall perform the
                                                                                                                                          following duties that apply:
                                                                                                                                          a. give written notice to us or our agent as soon as practicable, which sets forth:
                                                                                                                                               (1) the identity of the policy and insured;
                                                                                                                                               (2) reasonably available information on the time, place and circumstances of the accident or
                                                                                                                                                      occurrence;
                                                                                                                                                 (3) names and addresses of any claimants and witnesses; and
                                                                                                                                                 (4) in case of loss under the Credit Card, Fund Transfer Card, Forgery and Counterfeit
                                                                                                                                                     Money also notify the credit card or fund transfer card company;
                                                                                                                                            b. promptly forward to us every notice, demand, summons or other process relating to the accident
                                                                                                                                               or occurrence;
                                                                                                                                            c. at our request, help us:
                                                                                                                                               (1) to make a settlement;
                                                                                                                                               (2) to enforce any right of contribution or indemnity against any person or organization who
                                                                                                                                                    may be liable to any insured;
                                                                                                                                               (3) with the conduct of suits and attend hearings and trials;
                                                                                                                                               (4) to secure and give evidence and obtain the attendance of witnesses;
                                                                                                                                            d. under the Additional Liability Coverages — Damage to the Property of Others — submit to
                                                                                                                                               us within 60 days after the loss, a sworn statement of loss and exhibit the damaged property, if
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                                                                                                                                               within the insured’s control;
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                                                                                                                                            e. submit within 60 days after the loss, evidence or affidavit supporting a claim under the
                                                                                                                                                 Additional Liability Coverages, Credit Card, Fund Transfer Card, Forgery and Counterfeit
                                                                                                                                                 Money Coverage, stating the amount and cause of loss;
                                                                                                                                            f.   the insured shall not, except at the insured’s own cost, voluntarily make any payment, assume
                                                                                                                                                 any obligation or incur any expense other than for first aid to others at the time of the bodily
                                                                                                                                                 injury.
                                                                                                                                       4. Duties of an Injured Person — Coverage F — Medical Payments to Others. The injured person
                                                                                                                                          or someone acting for the injured person will:
                                                                                                                                          a. give us written proof of claim, under oath if required, as soon as practical;
                                                                                                                                          b. authorize us to obtain copies of medical reports and records.
                                                                                                                                          The injured person shall submit to physical examination by a doctor selected by us when and as
                                                                                                                                          often as we reasonably require.
                                                                                                                                       5. Payment of Claim — Coverage F — Medical Payments to Others. Payment under this coverage
                                                                                                                                          is not an admission of liability by any insured or us.


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   6. Payment of Interest — Coverage E — Personal Liability.
      If a notice, demand, summons, judgment, or other process is promptly forwarded to us as required
      by Liability Condition 3.b. under Your Duties After Loss and we accept the defense or agree to
      the judgment, we will pay interest on the judgment, subject to all of the following:
      a. We will pay the interest on that part of the judgment that is covered by this policy and that does
            not exceed our applicable limit of liability.
      b. We will pay interest that accrues on the judgment until we pay, tender, or deposit in court that
            part of the judgment which does not exceed the limit of liability that applies.
      c. If we appeal the judgment, we will pay interest on the entire judgment.
      d. Post-judgment interest is in addition to the applicable limit of liability.
      e. Where we are required to cover prejudgment interest, it shall be included in the limit of liability
            and is not an additional amount of insurance.
   7. Suit Against Us. No action shall be brought against us unless there has been compliance with the
      policy provisions.
      No one shall have any right to join us as a party to any action against any insured. Further, no
      action with respect to Coverage E shall be brought against us until the obligation of the insured has
      been determined by final judgment or agreement signed by us.
   8. Bankruptcy of an Insured. Bankruptcy or insolvency of any insured shall not relieve us of any of
      our obligations under this policy.
   9. Other Insurance — Coverage E — Personal Liability. This insurance is excess over any other
      valid and collectible insurance except insurance written specifically to cover as excess over the limits
      of liability that apply in this policy.

               SECTIONS I AND II — PROPERTY AND LIABILITY CONDITIONS
   1. Policy Period and Changes.
      a. The effective time of this policy is 12:01 A.M. at the residence premises. This policy applies
           only to loss under Section I, or bodily injury or property damage under Section II, which
           occurs during the policy period. This policy may be renewed for successive policy periods if the
           required premium is paid and accepted by us on or before the expiration of the current policy
           period. The premium will be computed at our then current rate for coverage then offered.
      b. Changes:
           (1) Before the end of any policy period, we may offer to change the coverage provided in this




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                policy. Payment of the premium billed by us for the next policy period will be your




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                acceptance of our offer.
           (2) This policy contains all agreements between you and us. Its terms may not be changed or
                waived except by endorsement issued by us. If a change requires a premium adjustment,
                we will adjust the premium as of the effective date of change. Additional or return premium
                of $3.00 or less will be waived.
   2. Concealment or Fraud. This policy was issued in reliance upon the information provided on your
      application. We may void this policy if you or an insured have intentionally concealed or
      misrepresented any material fact or circumstance, or engaged in fraudulent conduct at the time
      application was made or any time during the policy period.
      We may void this policy or deny coverage for a loss or occurrence if you or an insured have
      intentionally concealed or misrepresented any material fact or circumstance, or engaged in
      fraudulent conduct, in connection with the presentation or settlement of a claim.
      We may void this policy or deny coverage because of fraud or material misrepresentation even after
      a loss or occurrence. This means we will not be liable for any claims or damages which would
      otherwise be covered. If we make a payment, we may request that you reimburse us. If so, you must
      reimburse us for any payments we may have already made.


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                                                                                                                                       3. Liberalization Clause. If we make a change which broadens coverage under this edition of our
                                                                                                                                           policy without additional premium charge, that change will automatically apply to your insurance as
                                                                                                                                           of the date we implement the change in your state.
                                                                                                                                           This liberalization clause does not apply to changes implemented that involve a broadening and a
                                                                                                                                           restriction of coverage or an increase in premium.
                                                                                                                                       4. Cancellation.
                                                                                                                                          a. You may cancel this policy at any time by returning it to us or by notifying us in writing of the
                                                                                                                                                date cancellation is to take effect. We may waive the requirement the notice be in writing by
                                                                                                                                                confirming the date and time of cancellation to you in writing.
                                                                                                                                          b. We may cancel this policy only for the reasons stated below by notifying you in writing of the
                                                                                                                                                date cancellation takes effect. This cancellation notice may be delivered to you, or mailed to you
                                                                                                                                                at your mailing address shown in your Policy Declarations. Proof of mailing shall be sufficient
                                                                                                                                                proof of notice.
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                                                                                                                                               (1) When you have not paid the premium we may cancel at any time by notifying you at least
                                                                                                                                                     10 days before the date cancellation takes effect.
                                                                                                                                               (2) When this policy has been in effect for less than 60 days and is not a renewal with us, we
                                                                                                                                                     may cancel for any reason by notifying you at least 10 days before the date cancellation
                                                                                                                                                     takes effect.
                                                                                                                                               (3) When this policy has been in effect for 60 days or more, or at any time if it is a renewal with
                                                                                                                                                     us, we may cancel if there has been a material misrepresentation of fact which if known to
                                                                                                                                                     us would have caused us not to issue the policy or if the risk has changed substantially
                                                                                                                                                     since the policy was issued. This can be done by notifying you at least 15 days before the
                                                                                                                                                     date cancellation takes effect.
                                                                                                                                          c. When this policy is canceled, the premium for the period from the date of cancellation to the
                                                                                                                                                expiration date will be refunded. If the return premium is not refunded with the notice of
                                                                                                                                                cancellation or when this policy is returned to us for cancellation, we will refund it within a
                                                                                                                                                reasonable time after the date cancellation takes effect.
                                                                                                                                       5. Non-Renewal. We may elect not to renew this policy. We may do so by delivering to you, or mailing
                                                                                                                                          to you at your mailing address shown in your Policy Declarations, written notice at least 20 days
                                                                                                                                          before the expiration date of this policy. Proof of mailing shall be sufficient proof of notice.
                                                                                                                                       6. Assignment. Assignment of this policy shall not be valid unless and until we give our written
                                                                                                                                          consent.
                                                                                                                                       7. Our Right to Recover Payment. You may waive in writing before a loss all rights of recovery
                                                                                                                                          against any person. If not waived, we may require an assignment of rights of recovery for a loss. If
                                                                                                                                          not waived, we may require an assignment of rights of recovery for a loss to the extent that payment
                                                                                                                                          is made by us.
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                                                                                                                                          If an assignment is sought, the insured shall sign and deliver all related papers and cooperate with
                                                                                                                                          us in any reasonable manner.
                                                                                                                                          Subrogation does not apply under Section II to Coverage F — Medical Payments to Others or
                                                                                                                                          Additional Liability Coverages, Damage to Property of Others.
                                                                                                                                       8. Death. If you die:
                                                                                                                                          a. we insure your legal representative, but only with respect to the premises and property of the
                                                                                                                                              deceased covered under the policy at the time of death.
                                                                                                                                           b. insured shall include:
                                                                                                                                              (1) any member of the household who is an insured at the time of your death, but only while a
                                                                                                                                                  resident of the residence premises; and
                                                                                                                                              (2) with respect to your property, the person having proper temporary custody of the property
                                                                                                                                                  until appointment and qualification of a legal representative.




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                                         POLICY DEFINITIONS
   1. Throughout this policy, “you” and “your” refer to:
      a. the “named insured” shown in your Policy Declarations; and
      if a resident of the same household:
      b. the spouse;
      c. the civil partner by civil union licensed and certified by the state; or
      d. the domestic partner.
   2. “We”, “us” and “our” refer to the underwriting company providing this insurance as shown in your
      Policy Declarations.
   3. In addition, certain words and phrases are defined as follows:
       a.   “Actual cash value”
            (1) When damage to property is economically repairable, actual cash value shall mean the
                 cost of materials and labor that would be necessary to repair the damage, less reasonable
                 deduction for wear and tear, deterioration and obsolescence.
            (2) When damage to property is not economically repairable or loss prevents repair, actual
                 cash value shall mean the market value of property in a used condition equal to that of the
                 lost or damaged property, if reasonably available on the used market.
            (3) Otherwise, actual cash value shall mean the market value of new, identical or nearly
                 identical property, less reasonable deduction for wear and tear, deterioration and
                 obsolescence.
            (4) Actual cash value shall not include taxes or any expenses unless incurred following the
                 loss.
       b.   “Bodily injury” means bodily harm, sickness or disease, including required care, loss of
            services and death resulting therefrom.
       c.   “Business” means a trade, profession or occupation engaged in on a full-time, part-time or
            occasional basis, or any other activity, including civic or public, engaged in for money or other
            compensation, except for the following:
            (1) One or more activities, not described in (2) below, for which no insured receives more
                 than $3,000 in total compensation for the 12 months before the beginning of the policy
                 period; and
            (2) volunteer activities for which no money or other compensation is received other than for




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                 expenses incurred to perform the activity.




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       d.   Domestic partner means a person living as a continuing partner with you and:
            (1) is at least 18 years of age and competent to contract;
            (2) is not a relative; and
            (3) shares with you the responsibility for each other’s welfare, evidence of which includes:
                 (a) the sharing in domestic responsibilities for the maintenance of the household; or
                 (b) having joint financial obligations, resources or assets; or
                 (c) one with whom you have made a declaration of domestic partnership or similar
                       declaration with an employer or government entity.
            Domestic partner does not include more than one person, a roommate whether sharing
            expenses equally or not, or one who pays rent to the named insured.
       e.   “Earthquake” means shaking or trembling of the earth, whether caused by volcanic activity,
            tectonic processes or any other cause.
       f.   “Fungi” means any type or form of fungus, including yeast, mold or mildew, blight or mushroom
            and any mycotoxins, spore, scents or other substances, products or by-products produced,
            released by or arising out of fungi, including growth, proliferation or spread of fungi or the
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                                                                                                                                              current or past presence of fungi. However, this definition does not include any fungi intended
                                                                                                                                              by the insured for consumption.
                                                                                                                                           g. “Insured” means:
                                                                                                                                              (1) you; and
                                                                                                                                              (2) so long as you remain a resident of the residence premises, the following residents of the
                                                                                                                                                     residence premises:
                                                                                                                                                     (a) your relatives;
                                                                                                                                                     (b) any other person under the age of 24 who is in the care of any person described in (1)
                                                                                                                                                         or (2)(a) above.
                                                                                                                                                     Anyone described above who is a student temporarily residing away from your residence
                                                                                                                                                     premises while attending school shall be considered a resident of your residence
                                                                                                                                                     premises.
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                                                                                                                                              Under Section II — Liability Coverage, “insured” also means:
                                                                                                                                              (3) with respect to animals or watercraft to which this policy applies, any person or
                                                                                                                                                  organization legally responsible for these animals or watercraft which are owned by you or
                                                                                                                                                  any person included in g.(2)(a) or (b). A person or organization using or having custody of
                                                                                                                                                  these animals or watercraft in the course of any business, or without permission of the
                                                                                                                                                  owner is not an insured;
                                                                                                                                              (4) with respect to any vehicle to which this policy applies:
                                                                                                                                                  (a) any person while engaged in your employment or the employment of any person
                                                                                                                                                        included in g.(2)(a) or (b); or
                                                                                                                                                  (b) any other person using the vehicle on an insured location with any insured’s
                                                                                                                                                        permission.
                                                                                                                                           h. “Insured location” means:
                                                                                                                                              (1) the residence premises;
                                                                                                                                              (2) that part of any other premises, other structures and grounds, used by you as a residence
                                                                                                                                                  and which is shown in your Policy Declarations. This includes any premises, structures and
                                                                                                                                                  grounds which are acquired by you during the policy period for your use as a residence;
                                                                                                                                              (3) any premises not owned by you which you have the right or privilege to use arising out of
                                                                                                                                                  h.1. or h.2. above;
                                                                                                                                              (4) any part of a premises not owned by any insured but where any insured is temporarily
                                                                                                                                                  residing;
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                                                                                                                                              (5) vacant land, including that which is vacant except for a fence, owned by or rented to any
                                                                                                                                                  insured other than farmland;
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                                                                                                                                              (6) land owned by or rented to any insured on which a one, two, three or four family dwelling
                                                                                                                                                  is being constructed as a residence for any insured;
                                                                                                                                              (7) individual or family cemetery plots or burial vaults of any insured; or
                                                                                                                                              (8) any part of a premises occasionally rented to any insured for other than business
                                                                                                                                                  purposes.
                                                                                                                                           i. “Occurrence” means an accident, including exposure to conditions which results in:
                                                                                                                                              (1) bodily injury; or
                                                                                                                                                (2) property damage;
                                                                                                                                              during the policy period. Repeated or continuous exposure to the same general conditions is
                                                                                                                                              considered to be one occurrence.
                                                                                                                                           j. “Personal Watercraft” means jet skis, wet bikes or other craft, using a water jet pump powered
                                                                                                                                              by an internal combustion engine as the primary source of propulsion.
                                                                                                                                           k. “Pollutants or contaminants” means any of the following:
                                                                                                                                              (1) liquid fuels;

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            (2) lead or any materials containing lead;
            (3) asbestos or any materials containing asbestos;
            (4) radon;
            (5) formaldehyde or any materials containing formaldehyde;
            (6) electric fields, magnetic fields, electromagnetic fields, power frequency fields, electro-
                 magnetic radiation or any other electric or magnetic energy of any frequency;
            (7) carbon monoxide;
            (8) pathogenic or poisonous biological materials;
            (9) acids, alkalis or chemicals;
            (10) radioactive substances; or
            (11) any other irritant or contaminant, including waste, vapor, fumes or odors.
       l.   “Property damage” means physical damage to or destruction of tangible property, including
            loss of use of this property.
       m. “Replacement cost”
          (1) In case of loss or damage to buildings, replacement cost means the cost, at the time of
                 loss, to repair or replace the damaged property with new materials of like kind and quality,
                 without deduction for depreciation.
            (2) In case of loss to personal property, replacement cost means the cost, at the time of loss,
                 of a new article identical to the one damaged, destroyed or stolen. When the identical
                 article is no longer manufactured or is not available, replacement cost shall mean the cost
                 of a new article similar to the one damaged or destroyed and which is of comparable
                 quality and usefulness, without deduction for depreciation.
       n.   “Residence employee” means an employee of any insured who performs duties in
            connection with the maintenance or use of the residence premises, including household or
            domestic services, or who performs duties elsewhere of a similar nature not in connection with
            the business of any insured.
       o.   “Residence premises” means:
            (1) the one, two, three or four family dwelling, used principally as a private residence;
            (2) other structures and grounds; or
            (3) that part of any other building;
            where you reside and which is shown in your Policy Declarations.




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       p.   “Salvage” means property having value and included in a covered loss.




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       q.   “Volunteer” means an insured employed by an organization for a charitable purpose or in
            direct service to the general public or the community.
            Volunteer service does not include the insured’s primary employment. Volunteer Service
            includes, but is not limited to, service performed for churches, schools, hospitals, and charitable,
            arts and civic organizations.




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                                                                                                                                                   SAFECO NEW QUALITY — PLUS™ HOMEOWNERS COVERAGE
                                                                                                                                       It is agreed your policy is amended as follows:
                                                                                                                                       SECTION I — PROPERTY COVERAGES
                                                                                                                                       PERSONAL PROPERTY WE DO NOT COVER
                                                                                                                                       Under Personal Property We Do Not Cover, 3., describing motorized land vehicles and covered exceptions,
                                                                                                                                       the following is changed:
                                                                                                                                       For item 3.c., describing disassembled parts, the amount is increased to $3,000.
                                                                                                                                       For item 3.d., electric motorized ride-on vehicles for children, the amount is increased to $3,000.
                                                                                                                                       The following is added:
                                                                                                                                             e. Up to $7,500 for golf carts.
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                                                                                                                                       SECTION I — PROPERTY COVERAGES
                                                                                                                                       ADDITIONAL PROPERTY COVERAGES
                                                                                                                                       The following item is changed:
                                                                                                                                       1. Debris Removal. The amount we will pay for removal of trees is increased to $1,000. No more than
                                                                                                                                            $500 of this limit will be paid for the removal of any one tree.
                                                                                                                                       The following Additional Property Coverage is added:
                                                                                                                                       14. Locks. We will pay the reasonable expenses you incur to re-key locks on exterior doors of the dwelling
                                                                                                                                            or other structure located on the residence premises, when the keys to those locks are part of a
                                                                                                                                            covered theft loss.
                                                                                                                                       15. Golf Cart Collision. We cover accidental direct physical loss to any golf cart to which Personal
                                                                                                                                            Property We Cover under this policy applies caused by upset or impact with another vehicle or object.

                                                                                                                                       SECTION II — LIABILITY COVERAGES
                                                                                                                                       ADDITIONAL LIABILITY COVERAGES
                                                                                                                                       The following items are changed:
                                                                                                                                       1. Claim Expenses. The amount provided in item c. is increased to $250.
                                                                                                                                       3. Damage to Property of Others. The amount stated for Damage to Property of Others is increased
                                                                                                                                            to $3,000.
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                                                                                                                                       All other provisions of this policy apply.
                                                                                                                                       HOM-7210/EP 1/09
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                                                                                                                                                                 SPECIAL PROVISIONS — KENTUCKY
                                                                                                                                                                     SECTION I — PROPERTY CONDITIONS
                                                                                                                                       Item 10. Loss Payment is replaced by the following:
                                                                                                                                       10. Loss Payment. We will adjust all losses with you. We will pay you unless some other person is named
                                                                                                                                            in the policy or is legally entitled to receive payment. Loss will be payable within 30 days after we receive
                                                                                                                                            your proof of loss and:
                                                                                                                                            a. reach agreement with you; or
                                                                                                                                            b. there is an entry of a final judgment; or
                                                                                                                                            c. there is a filing of an appraisal award with us.
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                                                                                                                                                    SECTIONS I AND II — PROPERTY AND LIABILITY CONDITIONS
                                                                                                                                       Item 4. Cancellation is deleted and replaced by the following:
                                                                                                                                       4. Cancellation.
                                                                                                                                          a. You may cancel this policy at any time by returning it to us or by notifying us in writing of the date
                                                                                                                                                cancellation is to take effect.
                                                                                                                                            b. We may cancel this policy only for the reasons stated below by notifying you in writing of the date
                                                                                                                                                cancellation takes effect. This cancellation notice may be delivered to you, or mailed to you at your
                                                                                                                                                mailing address shown in the Declarations. Proof of mailing shall be sufficient proof of notice.
                                                                                                                                                (1) When you have not paid the premium, whether payable to us or to our agent or under any
                                                                                                                                                     finance or credit plan, we may cancel at any time by notifying you at least 14 days before the
                                                                                                                                                     date cancellation takes effect.
                                                                                                                                                (2) When this policy has been in effect for less than 60 days and is not a renewal with us, we may
                                                                                                                                                     cancel by notifying you at least 14 days before the date cancellation takes effect.
                                                                                                                                                (3) When this policy has been in effect for more than 60 days or at any time if it is a renewal with
                                                                                                                                                     us, we may cancel only as set forth in item 4.b.(1) above, or for one or more of the following
                                                                                                                                                     reasons:
                                                                                                                                                     (a) Upon discovery of fraud or material misrepresentation made by, or with the knowledge
                                                                                                                                                          of, the named insured in obtaining or continuing this policy, or in presenting a claim under
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                                                                                                                                                          this policy;
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                                                                                                                                                     (b) Upon discovery of willful or reckless acts or omissions on the part of the named insured
                                                                                                                                                          which increase any hazard insured against;
                                                                                                                                                     (c) Upon the occurrence of a change in the risk which substantially increases any hazard
                                                                                                                                                          insured against after insurance coverage has been issued or renewed;
                                                                                                                                                     (d) If there is a violation of any local fire, health, safety, building or construction regulation or
                                                                                                                                                          ordinance with respect to any insured property or the occupancy of such property which
                                                                                                                                                          substantially increases any hazard insured against; or
                                                                                                                                                     (e) If we are unable to reinsure the risk covered by the policy.
                                                                                                                                                     This can be done by letting you know at least 75 days before the date cancellation takes effect.
                                                                                                                                       Item 5. Nonrenewal is deleted and replaced by the following:
                                                                                                                                       5. Nonrenewal.
                                                                                                                                            We may elect not to renew this policy. We may do so by delivering to you, or mailing to you at your
                                                                                                                                            address shown in the Declarations or last known to us, written notice at least 75 days before:
                                                                                                                                            1. The expiration date of the policy, for a policy written for a term of one year or less; or
                                                                                                                                            2. An anniversary date of the policy, for a policy written for a term of more than one year or for an
                                                                                                                                                indefinite term.

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         If we mail or deliver a renewal notice to you at least 30 days before the end of the policy period, stating
         the renewal premium and its due date, the policy will terminate without further notice unless the renewal
         premium is received by us or our authorized agent by the due date.
         If this policy terminates because the renewal premium has not been received by the due date, we will,
         within 15 days, mail or deliver to you at your last known address a notice that the policy was not renewed
         and the date it was terminated.
         Proof of mailing will be sufficient proof of notice.
   The following paragraph is added to item 7. Our Right to Recover Payment:
         If we pay an innocent co-insured for a loss caused by an act of domestic abuse, the rights of that
         insured to recover damages from the perpetrator of the abuse are transferred to us to the extent of our
         payment. That insured may not waive such rights to recover against the perpetrator of the domestic
         abuse.
   All other provisions of this policy apply.




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                                                                                                                                                              PERSONAL PROPERTY REPLACEMENT COST
                                                                                                                                       1. PROPERTY COVERED
                                                                                                                                            For an additional premium, we cover:
                                                                                                                                            a. personal property under Coverage C; and
                                                                                                                                            b. awnings, carpeting, domestic appliances, outdoor antennas and outdoor equipment, whether or not
                                                                                                                                                 attached to buildings
                                                                                                                                            at replacement cost at the time of loss.
                                                                                                                                       2. PROPERTY NOT COVERED
                                                                                                                                            The following property is not eligible for replacement cost settlement. Any loss shall be settled at actual
                                                                                                                                            cash value at the time of loss but not exceeding the amount necessary to repair or replace:
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                                                                                                                                            a. antiques, fine arts, paintings and similar articles of rarity or antiquity which cannot be replaced;
                                                                                                                                            b. memorabilia, souvenirs, collectors items and similar articles whose age or history contribute to their
                                                                                                                                               value;
                                                                                                                                            c. personal property not maintained in good or workable condition;
                                                                                                                                            d. personal property that is outdated or obsolete and is stored or not being used;
                                                                                                                                            e. property not owned by any insured; and
                                                                                                                                            f. motorized land vehicles or earth moving or excavating equipment used to service the residence
                                                                                                                                                 premises.
                                                                                                                                       3. CONDITIONS
                                                                                                                                          a. We will pay the full cost of repair or replacement, but not exceeding the smallest of the following
                                                                                                                                                  amounts:
                                                                                                                                                  (1) the limit of liability of this policy applicable to the damaged, destroyed or stolen property;
                                                                                                                                                  (2) the replacement cost of the property or any part;
                                                                                                                                                  (3) the full amount actually and necessarily incurred by the insured in repairing or replacing the
                                                                                                                                                       property or any part;
                                                                                                                                                  (4) the direct financial loss you incur; or
                                                                                                                                                  (5) our pro rata share of any loss when divided with any other valid and collectible insurance
                                                                                                                                                       applying to the covered property at the time of loss.
                                                                                                                                             b. We will pay the difference between actual cash value and replacement cost only after the
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                                                                                                                                                  damaged, destroyed or stolen property has actually been repaired or replaced.
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                                                                                                                                             c. You may make a claim for loss on an actual cash value basis and then make a claim, within 180
                                                                                                                                                  days after loss, for any additional liability under replacement cost, after you have repaired or
                                                                                                                                                  replaced the property.
                                                                                                                                       All other provisions of this policy apply.
                                                                                                                                       HOM-7301/EP 1/09
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                                                                                                                                                                       EXTENDED DWELLING COVERAGE
                                                                                                                                       For an additional premium, we will settle covered losses to the dwelling described in Coverage A up to the
                                                                                                                                       additional limit of liability shown in the Policy Declarations for Extended Dwelling Coverage provided you:
                                                                                                                                       1. insure the dwelling to 100% of its replacement cost as agreed by us;
                                                                                                                                       2. accept any yearly adjustments by us of Coverage A reflecting changes in the cost of construction for the
                                                                                                                                            area;
                                                                                                                                       3. notify us of any addition or other remodeling which increases the replacement cost of the dwelling
                                                                                                                                            $5,000 or more within 180 days of the start of construction; and
                                                                                                                                       4. repair or replace the damaged dwelling.
                                                                                                                                       If you fail to comply with any of the above provisions, the limit of liability shown in the Policy Declarations for
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                                                                                                                                       Coverage A shall apply.
                                                                                                                                       From time to time we may make requests of you for updated dwelling information. If you fail to provide the
                                                                                                                                       information, or if we disagree on replacement cost, we may delete Extended Dwelling Coverage effective
                                                                                                                                       at policy renewal.
                                                                                                                                       All other provisions of this policy apply.
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                                                                                                                                                      ESCAPE OF WATER FROM A SUMP, SUMP PUMP OR
                                                                                                                                                DRAIN ON THE RESIDENCE PREMISES (BUILDING AND CONTENTS)
                                                                                                                                       1. To the extent coverage is provided by this EXTENSION OF COVERAGE and up to the LIMIT OF
                                                                                                                                          LIABILITY described below, Section I — Building Property Losses We Do Not Cover, Water
                                                                                                                                          Damage, 10.d. and 10.e. do not apply (items 3.d. and 3.e. under Section I — Personal Property
                                                                                                                                          Losses We Do Not Cover for HOM-7040/EP, Renters Policy).
                                                                                                                                       2. EXTENSION OF COVERAGE
                                                                                                                                          For an additional premium, we cover accidental direct physical loss to property covered under Section
                                                                                                                                          I — Property Coverages caused solely by water that escapes, overflows or discharges from a sump,
                                                                                                                                            sump pump, sump pump well or a drain or related plumbing appliance located on the residence
                                                                                                                                            premises.
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                                                                                                                                            For purposes of coverage under this EXTENSION OF COVERAGE, a drain or related plumbing
                                                                                                                                            appliance does not include a roof drain, gutter, downspout or similar fixture or equipment.
                                                                                                                                       3. EXCLUSION
                                                                                                                                          THIS IS NOT FLOOD INSURANCE.
                                                                                                                                            There shall be no coverage under this EXTENSION OF COVERAGE if water excluded under Section
                                                                                                                                            I — Building Property Losses We Do Not Cover, Water Damage, 10.a., 10.b. or 10.c. (items 3.a., 3.b.
                                                                                                                                            or 3.c. under Section I — Personal Property Losses We Do Not Cover for HOM-7040/EP, Renters
                                                                                                                                            Policy):
                                                                                                                                                 a. is concurrent with, in sequence with, or causes or contributes to the escape of water as
                                                                                                                                                    described in this EXTENSION OF COVERAGE, and
                                                                                                                                                 b. damages property covered under Section I — Property Coverages other than solely by
                                                                                                                                                       escape, overflow or discharge from a sump, sump pump, sump pump well, or a drain or related
                                                                                                                                                       plumbing appliance located on the residence premises.
                                                                                                                                       4. LIMIT OF LIABILITY
                                                                                                                                            Our limit of liability for this EXTENSION OF COVERAGE shall be up to the amount shown in the
                                                                                                                                            Declarations for this EXTENSION OF COVERAGE.
                                                                                                                                       5. DEDUCTIBLE
                                                                                                                                            We will pay only that part of the loss that exceeds the applicable deductible shown in the Policy
                                                                                                                                            Declarations.
                                                                                                                                       All other provisions of this policy apply.
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                                                                                                                                                                    REFRIGERATED SPOILAGE COVERAGE
                                                                                                                                       1. PROPERTY COVERED
                                                                                                                                            For an additional premium, we cover up to $500 for any one loss to covered property stored in freezers
                                                                                                                                            or refrigerators on the residence premises for accidental direct physical loss caused by:
                                                                                                                                            a. the interruption of power or other utility service; or
                                                                                                                                            b. mechanical failure of the unit storing the property.
                                                                                                                                            With respect to coverage under this endorsement, the exclusion Power Interruption in Building
                                                                                                                                            Property Losses We Do Not Cover or Personal Property Losses We Do Not Cover, does not apply.
                                                                                                                                       2. LIMIT OF LIABILITY
                                                                                                                                            The limit of liability provided under this coverage shall not increase the limit of liability shown in the Policy
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                                                                                                                                            Declarations applying to the damaged property.
                                                                                                                                       3. DEDUCTIBLE
                                                                                                                                            There is no loss payable under this option unless the amount of loss exceeds $100. No more than $100
                                                                                                                                            of the Section I — Property Coverages deductible stated in the Policy Declarations shall apply to items
                                                                                                                                            covered under this option.
                                                                                                                                       All other provisions of this policy apply.
                                                                                                                                       HOM-7305/EP 1/09
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                                                                                                                                    Case 0:22-cv-61937-RKA Document 1 Entered on FLSD Docket 10/18/2022 Page 122 of 133

                                                                                                                                                                         IDENTITY RECOVERY COVERAGE
                                                                                                                                       ID THEFT CASE MANAGEMENT SERVICE AND EXPENSE REIMBURSEMENT
                                                                                                                                       Service and coverage under this endorsement applies to any insured as defined in this policy.
                                                                                                                                       DEFINITIONS
                                                                                                                                       The following definitions are added with respect to this endorsement only:
                                                                                                                                            1. “ID Recovery Case Manager” means a person assigned by us to help an insured to recover
                                                                                                                                                 control over his or her personal identity (ID). This help may include contacting authorities, credit
                                                                                                                                                 bureaus, creditors and businesses. Such contacts will take place with the permission and
                                                                                                                                                 cooperation of the insured.
                                                                                                                                            2. “ID Theft” means the fraudulent use of the Social Security number or other method of identifying
                                                                                                                                                 an insured. This includes the fraudulent use of the personal identity of an insured to establish credit
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                                                                                                                                                 accounts, secure loans, enter into contracts or commit crimes.
                                                                                                                                                 ID theft does not include the fraudulent use of a business name, d/b/a or any other method of
                                                                                                                                                 identifying a business activity.
                                                                                                                                                 ID theft does not include the unauthorized use of a valid credit card, credit account or bank
                                                                                                                                                 account. However, ID theft does include the fraudulent alteration of account profile information,
                                                                                                                                                 such as the address to which statements are sent.
                                                                                                                                            3. “ID Theft Expenses” means any of the following when they are reasonable and necessary
                                                                                                                                                 expenses that are incurred in the United States or Canada as a direct result of an ID theft.
                                                                                                                                                 a. Costs for re-filing applications for loans, grants or other credit instruments.
                                                                                                                                                 b. Costs for notarizing affidavits or other similar documents, long distance telephone calls and
                                                                                                                                                      postage.
                                                                                                                                                 c. Costs for up to 12 credit reports from established credit bureaus dated within 12 months after
                                                                                                                                                      discovery of the ID theft.
                                                                                                                                                 d. Fees and expenses for an attorney approved by us for the following.
                                                                                                                                                      (1) The defense of any civil suit brought against an insured by a creditor or entity acting on
                                                                                                                                                            behalf of a creditor for non-payment of goods or services or default on a loan.
                                                                                                                                                      (2) The removal of any civil judgment wrongfully entered against an insured.
                                                                                                                                                 e. Actual lost wages of the insured for time reasonably and necessarily taken away from work
                                                                                                                                                      and away from the work premises. Time away from work includes partial or whole work days.
                                                                                                                                                      Actual lost wages may include payment for vacation days, discretionary days, floating holidays
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                                                                                                                                                      and paid personal days. Actual lost wages does not include sick days or any loss arising from
                                                                                                                                                      time taken away from self employment. Necessary time off does not include time off to do
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                                                                                                                                                      tasks that could reasonably have been done during non-working hours.
                                                                                                                                                 f. Actual costs for supervision of children or elderly or infirm relatives or dependants of the
                                                                                                                                                      insured during time reasonably and necessarily taken away from such supervision. Such care
                                                                                                                                                      must be provided by a professional care provider who is not a relative of the insured.
                                                                                                                                       The following Additional Coverage is added under Section I:
                                                                                                                                       IDENTITY RECOVERY COVERAGE
                                                                                                                                       We will provide the Case Management Service and Expense Reimbursement Coverage indicated below if
                                                                                                                                       all of the following requirements are met.
                                                                                                                                             1. There has been an ID theft involving the personal identity of an insured under this policy; and
                                                                                                                                             2. Such ID theft is first discovered by the insured during the policy period for which this Identity
                                                                                                                                                   Recovery coverage is applicable; and
                                                                                                                                             3. Such ID theft is reported to us within 60 days after it is first discovered by you.



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   If all three of the requirements listed above have been met, then we will provide the following to the insured:
        1. Case Management Service
             Services of an ID recovery case manager as needed to respond to the ID theft.
        2. Expense Reimbursement
             Reimbursement of necessary and reasonable ID theft expenses incurred as a direct result of the
             ID theft.
   This coverage is additional insurance.
   LIMITS
   Case Management Service is available as needed for any one ID theft for up to 12 months in a row from the
   inception of the service. Expenses we incur to provide Case Management Service do not reduce the amount
   of limit available for Expense Reimbursement coverage.
   Expense Reimbursement coverage is subject to a limit of $25,000 annual aggregate per insured. This limit
   is the most we will pay for the total of all loss or expense arising out of all ID thefts to any one insured which
   are first discovered by the insured during the present annual policy period. This limit applies regardless of
   the number of claims during that period.
   An ID theft may be first discovered by the insured in one policy period and continue into other policy periods.
   If so, all loss and expense arising from such ID theft will be subject to the aggregate limit applicable to the
   policy period when the ID theft was first discovered by the insured.
   Coverage for legal costs is found under item d. of the definition of ID theft expenses. Such legal costs are
   part of, and not in addition to, the Expense Reimbursement coverage limit.
   Item e. Lost Wages and item f. Child and Elder Care Expenses of the definition of ID theft expenses are
   jointly subject to a sub-limit of $250 per day, not to exceed $5,000 in total. This sub-limit is part of, and not
   in addition to, the Expense Reimbursement coverage limit. Coverage is limited to wages lost and expenses
   incurred within 12 months after the first discovery of the ID theft by the insured.
   DEDUCTIBLE
   Case Management Service is not subject to a deductible.
   Expense Reimbursement coverage is subject to a deductible as shown on your Declarations page. You shall
   be responsible for only one deductible under this endorsement during any one policy period.
   EXCLUSIONS
   The following additional exclusions apply to this coverage. These exclusions apply to both Case Management
   Service and Expense Reimbursement.
   We do not cover loss or expense arising from any of the following.




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        1. The theft of a professional or business identity.




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        2. Any fraudulent, dishonest or criminal act by an insured. This includes any such act by a person
             aiding or abetting an insured. This also includes any such act by an authorized representative of
             an insured. In all these cases, it does not matter whether the individual is acting alone or in
             collusion with others.
        3. Loss other than ID theft expenses. Account balances which arise out of fraudulent charges would
             be one example of loss other than ID theft expenses.
        4. An ID theft first discovered by the insured prior to or after the period for which this coverage
             applies. This exclusion applies whether or not such ID theft began or continued during the period
             of coverage.
        5. An ID theft that is not reported to us within 60 days after it is first discovered by the insured.
        6. An ID theft that is not reported in writing to the police.




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                                                                                                                                       CONDITIONS
                                                                                                                                       The following additional Conditions apply to this coverage.
                                                                                                                                       A. Assistance and Claims
                                                                                                                                            If you have questions or need help, please call the ID Recovery Help Line at 1 (800) 631-9073.
                                                                                                                                            The ID Recovery Help Line is available to provide you with the following.
                                                                                                                                            1. Information on how to respond to a possible ID theft.
                                                                                                                                            2. Instructions for how to submit a service request for Case Management Service and/or a claim form
                                                                                                                                                  for Expense Reimbursement Coverage.
                                                                                                                                            In some cases, we may provide Case Management services at our expense to an insured prior to a
                                                                                                                                            determination that a covered identity theft has occurred. Our provision of such services is not an
                                                                                                                                            admission of liability under the policy. We reserve the right to deny further coverage or service if, after
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                                                                                                                                            investigation, we determine that a covered identity theft has not occurred.
                                                                                                                                            As respects Expense Reimbursement Coverage, you must send to us receipts, bills or other records that
                                                                                                                                            support your claim for ID theft expenses. Such records must be sent to us within 60 days after our
                                                                                                                                            request.
                                                                                                                                       B. Computer Security
                                                                                                                                            Each insured has the responsibility to use and maintain security for his or her computer system. This
                                                                                                                                            includes the use of personal firewalls and anti-virus software. This also includes the proper disposal of
                                                                                                                                            used hard drives.
                                                                                                                                       C. Services
                                                                                                                                       The following conditions apply as respects any services provided by us or our designees to you or any
                                                                                                                                       insured under this endorsement.
                                                                                                                                            1. Our ability to provide helpful services in the event of an ID theft depends on your cooperation,
                                                                                                                                                  permission and assistance.
                                                                                                                                             2. All services may not be available or applicable to all individuals. For example, insureds who are
                                                                                                                                                  minors or foreign nationals may not have credit records that can be provided or monitored. Service
                                                                                                                                                  in Canada will be different from service in the United States and Puerto Rico in accordance with
                                                                                                                                                  local conditions.
                                                                                                                                             3. We do not warrant that our services will end or solve all problems associated with an ID theft. We
                                                                                                                                                  do not warrant that our services will prevent future ID thefts.
                                                                                                                                       All other provisions of this policy apply.
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                                                                                                                                                                     WINDSTORM OR HAIL DEDUCTIBLE
                                                                                                                                       We will pay only that part of the total applicable loss for all SECTION I — PROPERTY COVERAGES that
                                                                                                                                       exceeds the windstorm or hail deductible stated on the Declarations. This deductible applies in the event of
                                                                                                                                       direct physical loss to property covered under this policy caused directly or indirectly by windstorm or hail.
                                                                                                                                       Such deductible applies regardless of any other cause or event contributing concurrently or in any sequence
                                                                                                                                       to the loss. No other deductible provision in the policy applies to direct physical loss caused by windstorm or
                                                                                                                                       hail.
                                                                                                                                       All other provisions of this policy apply.
                                                                                                                                       HOM-7230/EP 1/09
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                                                                                                                                       This policy is signed on our behalf by our President and Secretary.




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                                                                                                                                                                      KENTUCKY POLICY COVER SHEET
                                                                                                                                    Your policy is a legal contract between you and us. PLEASE READ YOUR POLICY CAREFULLY. This cover
                                                                                                                                    sheet provides only a brief outline of some of the important features of your policy. This is not the insurance
                                                                                                                                    contract and only the actual policy provisions will control. The policy itself sets forth, in detail, the rights and
                                                                                                                                    obligations of both you and your insurance company. IT IS THEREFORE IMPORTANT THAT YOU READ YOUR
                                                                                                                                    POLICY.

                                                                                                                                                                          MAJOR POLICY PROVISIONS
                                                                                                                                    The persons and property covered under this policy are listed in the Declarations. The coverages and limits of
                                                                                                                                    liability which apply are also listed in the Declarations.
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                                                                                                                                    SECTION I
                                                                                                                                    A. Building Property We Cover
                                                                                                                                       1. Dwelling
                                                                                                                                       2. Other Structures
                                                                                                                                    B. Building Property We Do Not Cover
                                                                                                                                    C. Building Property Losses We Cover
                                                                                                                                    D. Building Property Losses We Do Not Cover
                                                                                                                                    E. Personal Property We Cover
                                                                                                                                    F. Personal Property We Do Not Cover
                                                                                                                                    G. Personal Property Losses We Cover
                                                                                                                                    H. Personal Property Losses We Do Not Cover
                                                                                                                                    I. Additional Living Expense and Loss of Rent
                                                                                                                                    J. Additional Property Coverages
                                                                                                                                       1. Debris Removal
                                                                                                                                       2. Reasonable Repairs
                                                                                                                                       3. Trees, Shrubs and Other Plants
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                                                                                                                                       4. Fire Department Service Charge
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                                                                                                                                       5. Property Removed
                                                                                                                                       6. Land Stabilization
                                                                                                                                       7. Building Ordinance or Law Coverage
                                                                                                                                       8. Arson Reward
                                                                                                                                       9. Household Products Coverage
                                                                                                                                       10. Fungi, Wet or Dry Rot, or Bacteria
                                                                                                                                       11. Collapse
                                                                                                                                       12. Volunteer America
                                                                                                                                       13. Criminal Conviction Reward
                                                                                                                                    K. Property Conditions
                                                                                                                                       1. Deductible
                                                                                                                                       2. Your Duties to Select and Maintain Policy Limits
                                                                                                                                       3. An Insured’s Duties After Loss
                                                                                                                                    HOM-7234/KYEP 9/12
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    4. Insurable Interest and Limit of Liability
    5. Loss Settlement
    6. Loss to a Pair or Set
    7. Appraisal
    8. Suit Against Us
    9. Our Option
    10. Loss Payment
    11. Abandonment of Property
    12. Mortgage Clause
    13. No Benefit to Bailee
    14. Other Insurance and Service Agreements
    15. Recovered Property
    16. Salvage Value
SECTION II
A. Liability Losses We Cover
   1. Personal Liability
   2. Medical Payments to Others
B. Liability Losses We Do Not Cover
C. Additional Liability Coverages
   1. Claim Expenses
   2. First Aid Expenses
   3. Damage to Property of Others
   4. Credit Card, Fund Transfer Card, Forgery and Counterfeit Money
   5. Statutorily Imposed Vicarious Parental Liability
   6. Loss Assessment




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   7. Volunteer America




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D. Liability Conditions
   1. Limit of Liability
   2. Severability of Insurance
   3. Your Duties After Loss
   4. Duties of an Injured Person
   5. Payment of Claim
   6. Payment of Interest
   7. Suit Against Us
   8. Bankruptcy of an Insured
   9. Other Insurance
SECTION I AND II CONDITIONS
   1. Policy Period and Changes
   2. Concealment or Fraud
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                                                                                                                                        3.   Liberalization Clause
                                                                                                                                        4.   Cancellation
                                                                                                                                        5.   Nonrenewal
                                                                                                                                        6.   Assignment
                                                                                                                                        7.   Our Right to Recover Payment
                                                                                                                                        8.   Death
                                                                                                                                        This policy may be terminated for any of the following reasons:
                                                                                                                                        1. When you do not pay the premium.
                                                                                                                                        2. When the policy has been in effect for less than 60 days, we may cancel for any reason.
                                                                                                                                        3. After the policy has been in effect for 60 days, we will cancel only for:
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                                                                                                                                             a. material misrepresentation of fact which if known to us would have caused us not to issue the
                                                                                                                                                  policy; or
                                                                                                                                             b. if the risk has changed substantially since the policy was issued.
                                                                                                                                    Policy Definitions

                                                                                                                                                                             MANDATORY FORMS
                                                                                                                                        The following Mandatory Form(s) are attached to your policy:
                                                                                                                                        1. Special Provisions

                                                                                                                                                                           OPTIONAL COVERAGES
                                                                                                                                        The following Optional Coverages are available:
                                                                                                                                        1. Extended Dwelling Coverage
                                                                                                                                        2. Personal Property Replacement Cost
                                                                                                                                        3. Scheduled Personal Property
                                                                                                                                        4. Refrigerated Spoilage Coverage
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                                                                                                                                        5. Equipment Breakdown
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                                                                                                                                        6. ID Recovery Coverage
                                                                                                                                        7. Earthquake Coverage
                                                                                                                                        8. Mine Subsidence Coverage Endorsement
                                                                                                                                        9. Special Personal Property Coverage
                                                                                                                                        10. Theft of Building Materials
                                                                                                                                        11. Landlord’s Furnishings Coverage
                                                                                                                                        12. Landlord’s Furnishing Coverage (Scheduled Personal Property)
                                                                                                                                        13. Escape of Water from Sewer/Sump (Building/Contents)
                                                                                                                                        14. Escape of Water from Sewer/Sump (Building Plus)
                                                                                                                                        15. Short Term Vacancy Coverage
                                                                                                                                        16. Actual Cash Value on Roof Surfacing Repair or Replacement for Windstorm or Hail Losses.



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                                      Package Endorsements
    1. Home Business Package
    2. Valuable Articles Coverage
    3. Incidental Farming Package

                                       Other Policy Forms
    1. Windstorm or Hail Deductible
    2. Additional Interest




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                                                                                                                                       Ask yourself: Do you have
                                                                                                                                       enough insurance coverage?

                                                                                                                                       How much would it take to reconstruct your home?
                                                                                                                                       Surprisingly, it has been estimated that 58% of American homes are underinsured by an average of 21%*.
                                                                                                                                       Make sure yours isn’ t one of them.
                                                                                                                                       Each home is unique. You know your home best. It’s your responsibility to make sure you’re “fully insured”
                                                                                                                                       and “insured to value.” That means you need to have enough insurance coverage to rebuild your home and
                                                                                                                                       replace all of your personal belongings in the event of total loss.
                                                                                                                                       How can you determine your needs? Ask yourself the questions below. If you need help answering
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                                                                                                                                       them, call your agent and discuss your insurance needs with them.
                                                                                                                                       They will assist you in determining how much insurance would be needed to fully protect your home and
                                                                                                                                       belongings.

                                                                                                                                       How much would it take to reconstruct your home at today’s prices?
                                                                                                                                           Things to consider:
                                                                                                                                           ● Your home’s age (older homes tend to be more expensive to reconstruct) and style (contemporary,
                                                                                                                                               colonial, ranch, etc.)
                                                                                                                                           ● Features — fireplaces, cabinetry, built-in features, vaulted ceilings
                                                                                                                                           ● Flooring — hardwood, tile, natural stone, carpeting
                                                                                                                                           ● Finishes — crown molding, window and floor trim, faux paint, wall paper, wainscoting, chair rails,
                                                                                                                                               staircases, etc.
                                                                                                                                           ● Recent improvements you may have made (remodeled bathroom or kitchen, recessed lighting,
                                                                                                                                               built-in cabinets)
                                                                                                                                           ● A basement you may have finished or a room you may have added

                                                                                                                                       How much is enough to replace the structures surrounding your home at today’s prices?
                                                                                                                                           Things to consider:
                                                                                                                                           ● Your fence, detached garage, gazebo, barn or storage shed
                                                                                                                                           ● If you have an in-ground swimming pool or just repaved your driveway or sidewalk

                                                                                                                                       What would it take to replace your personal belongings at today’s prices?
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                                                                                                                                           Things to consider:
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                                                                                                                                           ● All your basics (furniture, rugs, linens, kitchenware, tools) and every electronic gadget
                                                                                                                                           ● Your entire wardrobe, your jewelry, medicines and personal effects
                                                                                                                                           ● Have you made any big purchases lately?
                                                                                                                                           ● If you have a garage full of tools, are passionate about the latest gadgets or collect just about
                                                                                                                                               anything, you should seriously consider getting more personal belongings coverage than the standard
                                                                                                                                               policy provides.




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   Let’s make sure you’re “fully insured.”

   Your agent uses replacement cost estimation tools to establish a starting point for your insurance coverage.
   But you know your home best. And we look to you to give your agent the most complete, up-to-date
   information in order to protect your home and lifestyle. Here are two quick things you can do today:

   1. Look critically at your coverage statement page (also known as the policy declarations page,
      which comes after the opening letter in this package). Do you believe you have enough Coverage
       A? (This is the amount you’d get for reconstruction of an as-close-as-possible replica of your home in the
       event of total loss.) If you’re not sure, call your agent for help.

   2. Take inventory. Compare the value of your personal belongings to the Coverage C amount on your
       coverage statement page. Safeco has created a form that can help you get started. You’ll find it at
       Safeco.com/homeinventory.

   It’s important to know: your home’s market value is totally different from what it would cost to
   reconstruct. Today’s market value reflects economic conditions, taxes, school districts, the market value of
   land and many other factors that have nothing to do with how much it would cost to reconstruct your home
   from scratch.
   Reconstruction cost — the amount needed to get you back home quickly — is based almost exclusively on
   the cost of materials and labor as well as demand for contractor services. In the event of total loss, a properly
   insured Safeco policyholder can rebuild with the same quality of materials and workmanship in their current
   home (unless a functional replacement cost policy was deliberately selected). Of course, we hope you’ll never
   need these services. But we’ll all sleep better knowing you’re fully insured.
   Thank you for trusting Safeco with your home insurance needs.




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                                                                                                                                                                         Information about your Policy
                                                                                                                                    Policy Number:         3617

                                                                                                                                    DALE ROMANS
                                                                                                                                    TAMMY FOX
                                                                                                                                    PO BOX 21428
                                                                                                                                    LOUISVILLE KY 40221-0428
                                                                                                                                    Like many insurance companies, Safeco Insurance considers many factors, including information based on your
                                                                                                                                    credit history, to determine your premium. You have the option to request that we re-evaluate your insurance
                                                                                                                                    policy using current credit information. If you request that we update your credit information, it may result in a
                                                                                                                                    quoted premium either higher or lower than your current premium. To submit a request, return this form to Safeco
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                                                                                                                                    Insurance, Attn: Policy Support, P.O. Box 515097, Los Angeles, CA 90051-5097 or fax it to (877) 344-5107. You
                                                                                                                                    may submit a request once every 12 months or as otherwise permitted by law. Any changes will be applied at
                                                                                                                                    your next renewal.
                                                                                                                                    By returning this form, you request Safeco Insurance to re-evaluate your policy based on your current credit
                                                                                                                                    information.
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